                    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 1 of 160
                                            UNITED A ATES DISTRIW O URT
                                         SOUTHERN'DISTRIW COURTOFFLORIDA                      FILED B
                                                                                                           . ..p
                                                                                                                           D.:C.
                                                                                                                              '




                                                                                                  SEF 22 22
                                                                                                          .23      .
            MAURICE SYM ONEA'TE PLAINTIFF                                                          cANGEL
                                                                                                    LE A E. NonuE
                                                                                                      RK U.s.Dl67'::c'r
                                                                                                 s.D.OF FLA.- F'f:LAUD.      .,    .

            VS.
                                                                          C NSE NO'
            USBAXK NATIONALASSOCIATION,AS'TRUSTEE                          23-cv-61804-AHS
            FOR R/SCZOûSAHLt.3,J.P.MORGAN CHASE BANK,
                                                                                     LAI
                                                                                      k' ISES. OF
                                                                                         .,
                                                                                               . AG. ION:
            NAOIX UXYHEBANK NATIONALTRUSTCOMPANY                                                            2

            ASTRUW EEUND/RTHEPX LINGAND SERVICING                           1. ItICO CONSPIRACY
            AGREEM ENT SERIES RAST 2006zA8(CSFB)(%'Dm AK')                                            .
                                                                                                                       *

            AND DEUTSCHE BANK NATIONALTRUSTO M PANY,                       2.JUDGES AND OIT ICIALS ;
            ASfRUSTEE OFTHE RESDENTIALASSET                                   CONFLICTS ()F INTERXST
            SECURITIZA NON TRUST 2006.A8 M ORTGAGE
            M SSTHROUGH SEkVICINGAGREBMENI'ISVDB-CI*S'
                                                     )                     3.VIOLATION 0F FL.STAT.823.1!
            ,   HSBC BANK USA,NATIONALASSUCIATION,AS                                AND 705.101
                                                                                     1
            TRUSTEE FO1trI'llE CERTIFICAIY HO LDERS OF
                                                                           4.BANKRUPTCY VIOLATION.
            NOMUG HOME EQUWY O AN,HOME EQUITY
            LOAN,HOMB EQUIW LOAN TRUSX SERIES2007.1,                       5.VIULATION OF THE 14TH
                                                                                '
          LANCAS'/BR M ORTGAGE BANKERS LLC,                                  AM ENDM ENT
        '
          HOM ECUM INGS FINANCIAL LLC.JVDGB                                 *

          CARLOS LOPEZ,JUDGE ALAN FINE#JUDGE                               6.TURNING OFF ELEG ICAL POW ER
          M ONICA GORDQ,JUDGETHOM AS IV BULL,                                TO DISABLED IY RSON.
:           .   .
    .
          JUDGE VALERIE M JLNNO SCH URR,JUDGE
                                                                           7 CONSPIRING LAWYERj NBVER
    *       JOHN SCHLBSINGER,JUDGEA ELAO,                                       BROUGHT IN NOTE
            JUDGE VERONICA DL< JUDGE.SAM ANTHA
                                .
                                                 *'

            COHBN,JUDGE VIVIANNE DEL RIO.JUDGE â                           8,VIOLATION OFFL.SXW.45.(431-(:)
            BARBARA ARECESyA PPELLAI' E JUDGE BROW NW YN                            PROPERTY SOLD SO LOW IT
            C.M ILLBR,APPELLATE JUDGE KEVIN                                     SHOCKSel'llE CONSCIENCE '
            M ICHAEL BM AS,APPELLATE JUDGE EDW IN
            SCALES,BANKRUPTCY JUJIGE LAURBL                                9.VIOLATION OFFDCPN 15 U.S.C.
            IjICYFF,BANKRUPTCY JUDGE MINDY MORA,                            j1692a(3)(5).AND FCCPA FE.STAT.
                                                                             9589.55
            FEDERALJUDGB M ARCIA COOKE,C(' )U#TY
            OF DADE CY UNTY,(RECOIUM ,DEPT,CLERK DEP'r.,                  10-VIOLATION OFRESPA 12D.S-d
            CODBENFORCEMENX POI.1Ck DEPT..SHERIFFSDEPT).                        2605(QWF)TILA LAWS
        .   COM M ISSIUNER RENE GARCIA,NORTH MM M I,CITY
            M ANAGER LARRY SPRING',ATTY.EIRM BROCK & SCOT'1',
            A'ITY.FIRM BLANKkOM E,
                                                                          11.ILLEGAL CONSUM E COLLECTION
            DEFENDANTS,
             @
                                                                                1.
                                                                                 5U.S.C.j1492a(3),15U.S.C.
                                                                                jl492a(5)AND FL.STAT 9559.55
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 2 of 160



         'property 15020 South R.DrJM iam iFI.33167.
                                                   'U.S BANK VS M ACK W ELLS

         .2010-61928-CA01 DA DE CO U NTY FL.




*
                           %

                                        *                '-




                                            M AIJR ICE SY M ON ETTE
                                            300 N E 29th St. Apt. B
                                             Pom pano B each F1. 33054

                           @




                           @
         Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 3 of 160
                                                                                       19

*.

                                                        12.FLORIDA DECEPTIVEAYD UNFAIR
                                                           TRADE PRACTICE ACT AS T0 SOM E 0F
                                                           THE DEFENDANTS IN VIOLATION OF
     @
                                                           FL.STAT.5.501.20491 (2005).60ANI?
                                                           FL.STAT.j501.201

                                                        13 SLANDER OFTITLE IN VIULATION OFFL.STAT*
                                                           65.011,65.021,65.031,65.061.
                                                                                .




                                                       14.N O CONTM CT IN VIOLATION OF FL.
                                                          STAT.697.10

                                                       15.VIOLATION OF TIM ELY ASSIGNM ENT

                                                       16.M ONEY M UST BE GIVEN TO A SSIGN A
                                                          NOTE.FL.STAT.701.02(1)(2)

                                                       17.KEEPING NOTEACTIVE FOR FAlc
                                                          FORECLOSUREAFTERNOTEISSOJ,D
                                                         ON Tlv M ARKETAND DESTRUYED!
                                      d                  AS GOVERNED BY THE SEC AND TJIE
                                                         US DEPT.OF THE TREASURY IN
                                                         VIOLATION OF GA AP FASB FA S 140AND
                                                         FEDERAL2CFR SECTIOY 200.49
                                                      18.W RON GFU L FORECLO SURE DUE TO .
                                                         UN SIGNED M ORTGAGE NOTE IN Vm .
                                                         VIOLATION OF FL.STAT.695.14

                                                      19.FLORIDA DECEPTIVEAND LTNFAIR
                                                         TRADEPM CTICEACTVIOqATIONS
                                                         OF FL.STAT.5501,20491(2005).60,FL.
                                                                          ..

                                                         STAT.j501.201,FL.STAT.j501.202(1)
                               e
                                                         AND FL.STAT.501.203(7)
                                                      20.D AM AGESAN D DECLAR ATORY RELIEF
                                                         PURSUANT TO FAN NIE M AE,DsurrscllE
                                                         BANK AND tisBANK,THE LPsENTIIIES
                                                         ANo sF.Iy VIOLATION oy FEDERAL
                                                         CODE 18 U .S.C.1962 AND 18 U .S.C.1964,
                                      d
                                                         J8U.S.C.1961(B)SECTION 201,ASTO
                                                         BRIBING JUDGES.
     *
                                                     21.DAMAGESAND DECLM ATORY RELIE?
                                                        PURSUANT TO 18 U .S.C.1961 18U .S.C.
                                                        1962Ar 18U.S.C.1964ASTO FANNIE
                                                        M AE,USBANK,DEUTSCHE BANK LP:
                                                        ENTITIES THE JU DGES,CLERK S Ar          '
                                                        I-AwVSRi.               .
    @
            Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 4 of 160
                                                                                           19




              9UIkT TITLE CONSTRUCTIVE FRAUD W ITH NO NEED TO. PROVE
              INAENT (W OM ATIC) RICO CONSPIRACY AND VIOLATIONS FEDEM L
              AND STATE LAW S AN D RU LES TO TA K E PR O PERTY BECA USE TH E
              BANK S PAID THEM FOR IT AND COM PLAINT FOR FL.RULE 9.130 TO
              ADD CLAIM FOR PUNITIVE DAMAGES
@
                                          PA RTIES AN D JURISDICTIO N




             PlaintiffMaurice Symonette whose address is 300 Nà 29th St.Apt.B Pom pano
                                                    â

             B each F1. 33054 is now and at a1l tim es relevant to this action and a resident of Dkde
                                                                                                       *
                                                                                     ''
                      ,

             county and a holder of title to this said prope'rty plaintift-w àose address is 300 x'
                                                                .                                 E

             29th si.Apt.B pompanoBeacà F1.33054 i
                                                 s now,at and atalltimeg relevantto
             thisaction,a resident of the County of DADE, Stàte of Florida.And a holder of t.he
                          *
                  .
             Title to this said property Plaintiff M atlrice Symonette is now ank at al1times relevant
             to this action and a resident of Dade County and holder of title to this said property.

             M aurice Sym onette is inform çd and believes, and there on alleged that, Defendant

             Lancaster M ortgage Bank LLC Defendant,who may have interestin the subjectProperty.
                 *                        w                                      .



             Lancaster M ortgage Bank LLC5 is a cbrporation, doing business in the Colmty of bade, .



             State ofFlorida and is purported Sponsor for Securitized Trtzstand/or pup orted participl t

             in the ip perfect securitizatipn of Note and/or the Deed of Trust as m ore particularl#
        .    Described in this Complaint. W hqse address is 1794 Oregon PIKE LANCASTER P.A.
             17601. D EUTSCH E BA NK N ATION AL TRU ST COM PA N Y A S TRU STEE, UN D ER

             Tlv POOLING AND SERVICING AGREEW NT SERIES M ST 2006-A8 (CSFB) who
                                                         <
                                      .

             in this Complaintwillbe refefred '
                                              to as (DBNT),who claimsto own the subjectProperty
  Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 5 of 160

                                                                                    19

      as C/.O OCW EN :Vault D ept.w hose address is 1761 East saint Andrew s Place Santa Ana

      California 92705 The U.S. TREASURY/IRS whose address is 1500 Pennsylvania A#e.,

      !4.5V. svashhngton, D .C .20220. The UN ITED STATES Treasury m ay have interest in this
                                           p                                        .               ,

      because the note w as sold 'iq RIM IC w hich by 1aw had to destroy the N ote to turn it
                               $                                                                -

      into k Bond or a stock bêcause the No
                                         :
                                           t.e carmot exist at the sam e time as the Bond,

      Yecause that would be called dquble-dipping and because the N ote was destroyed Ahe
                   .                                                          '
                                               .      *

      U.S.lnternalRevenue (U.S.Treasury) gave Deutsche Bank NationalTnlst Company As
      Trustee,'Under The Pooling And Servicing AgreementSeries Rast2006-A8 (CSFB)a Tax
           g                                               *

      W right off from the U .S. Treasury as a loss w hich gives The U .S. Treasury interest in
       .                       @


      the property if found to be Fraudulent, so therefore the title must be Quieted conceming
                       .                                                                        '
                                                                                            w

      The U.S. Treasury. Quite Titlg is the reason that I am suing the SEC who in REM IC
      Facilitated the sale of the BON D on the'M arket w hich m ade it possible for the U S dept.
                                           @


      ofTreasury/lRs in this çomjlaint.SECURITY AND EXCHANGE COMMISSION whose
               *                   x

      address is 801 BrickellAVE.#1800 M ininîFl.33131.ATTORNEYS TITLE IN SU RAN CE

      FUN D is a business 6545 Com prate Centre Blvd Ste 200, Orlando, F1. 32822. Dade
                           '
                   .
      County 'Clerk of Courts Located at 73 W . Flagler Street M inm i, Florida 33130. D ade
  '

      County Records Departm ent Located at Courthouse East 22 N W 1St Street, 2nd Floor            .
                                               *           *
           .



      DADE COUNTY EVICTION SHERIFFS Located at9105NW 25thSt.Doral,FL.33172.
      N orth M iam i Police Departm ent Located at 776 N E 125 St. N orth M iam i F1. 33161.
                                       *                              .                                 ,



      The city of N orth M iam i located .at 776 N E 125th St N orth M iam i F1. 33161.N ORTH
                                                               .




      MIAMICITY M ANAGER LAV Y SPRINGER islocatedatMiamiRiverSideCenter(MRC)
- 444 SW 2ndA ve'M iam i,Flx,33130..BlankRome Atty's LLP located at 500 E Broward Blvd

      #2100,Ft.Lauderdale,FL.33394 owxïst-HIJRTES LocA-rso AT Broward financial .
      Centre 500 East Broward Boulvurd Ft. Lauderdale. FL 33394,Brock & Scott PLLC Afty.
                                                      .
                                                                              '
             Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 6 of 160

*.   -
              ForPlaintiff2001NW 04th)Suite 130 Ft.Lauderdale,FL 33309 SOU THERN DISTRICT
                                                  -
                                                                                                 19




              JUDGE M ARCIA CO OK E located at W ilkie D . Ferguson,Jr.United jtates courthquse -
              400 Nprth M iam i Avenue, DAo E JUDGE u NDY M ORA islocated atUnited staies
                                                                   ,



              B anknm tcy Court1515 N .FlgglerDrive Courtroom A ,room 801W estPalm Beach F1.33401.

         e    Bankruptcy Judge LaurellsicoF islœ ated atC.ClydeAtkinsUnited StatesCourthouje301N.

              M iam iAvenue COUN TY 'JU D GE A LLEN FIN E located At 73 W est Flagler St,M iam i.FL

              33130 Dade County Judge RODOLFO RUIZ,JUDGE MONICA GORDO located at J23
              NW 1stAve, M iami FL. 33128.'Judge cARl,os Lopsz islocated at73 westrlaglerst.
              M inmi,F133130 1.DefendK t,Axiom Financial SERW CES,doing business in the County
              of Dade,State ofFLORIDA Plaintiff is further informed and believes,and thereon alleges,
                                                  *                                                   .
                                                           ,
                                                       :       .

              that Axiom Financial SERW CES is the Originator of the loan Filing # 142386698,E- -
             Cl                       .




              Filed 0.
                     1/21/2022 09:30:09 A M Defendant, RESIDEN TIA L FUN D IN G CO.LLC,(herein

              after knpwn as RFC.LLC''),Plaintifr is informed and believe,and thereon allege that,
              D efendant is doing business in the County of DA DE, State of FLORIDA and is the
                                          @   .
              purported M aster Servicer for Securitized Trust and/or a purported participant in the

              im perfect securitization of theN ote and/or the D eed of Trust as m ore particularly described

              in this Com plaint. U S Ballk N ational A ssociation as Trustee for RA SC 2005 AH L3,

                 R.s I
              H p:   xV -
                        I'
                         SR Itxowx.wk
                             e     .
                                      us BAXK Trust,'l.plaiatifris informed and believe,and
                                          :                                .                              -
              thereon allege that. D efendant U S Bank N ational A ssociation as Trustee for RASC 2005
                                                  .
                                                                                         .
                                                                                                      *
                                                       j                                     '

             'A HL3, doing business in the County of DA DE, State of FLORID A and is the purpoRed

              TRUSTEE for Secudtized Trust and/or a jurported participant in the imperfect
              securitization of Note and/dr the Deed of Trust as more particularly desqibed in this

              coiplaint 5.DefendantdAM OM bANK.Plaintiff is'informed and believe,and thereon
                                                                       '
                                          .
              allegç that, Defendant is a Corporation, doing business in the Cotm ty of DA DE, State of
             Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 7 of 160
                                                                                                              19

             FLORY A and is the purported sponsor for securitized Trust and/or a purportdd particlyant
         P


             in the imperfect securitiration of the Note and/or the Deed of Trust as more Particularly
             described in'this Com plaint. 6.M ortgage Electronic Registration Sysfem s,1NC.,aka M ERS
                                                 ï                                      '      .                   ,




             (1$MERS''), Plaintiff is informed.and beliève, and thereon allege, that MERS i.
                                                                                           sa
             corporation duly organized and existing under the law s of DA D E, w hose last known

        * address is f818 Lil ary -street, suite 300m, Reston, Virgina 20190; website:
             http//wwm mersinc.org.M ERS is doing'business in the County ofDADE,state o?Florida .                  *


             Plaintiff is further inform ed and lbelieve, and there on allege, that D efendant M ER S'is  '
                             .




             the puliorted Beneficiary under the Deed or Trust and/or is a purported participant in
             the imperfect securitization of the Note and/or the Deed of Trust, as more.partjcujarjy
                 o
                         -                             ''           >




             described in this Quiet Title Complaint.


                                                 .
                                                     CLAIM FoA RELIEF

                                             *
                                         .


        ' CL;IM FOR .RELIEF tbr tliis Complaintbrings this action against, U S BAN K N A'

'
              (GM AC),for trying to sellPlaintiffs Property Ata Foreclosure sale to and seeklng to
!
             evict us at a hearing O ct. 14 2015 until now to Deprive Plaintif of his Residencc

             Without àny law ful claim yo theProperty and forusing M CISM and DLSCRIM IVATION
                                     .




             by U S Bank lying to the Police ,saying w e are not allow ed in the house and evicted
                 g
                                                       *            *
                                                                                               j
                                                                                               i                       .
             us out of the house withouj a Cèurt Order,before lt was foreelosed on and while we
                     '
             were in Banknmtcy because se are BIA CK, and Foreclosing:witàout and Interest in
                                                                                               I
             the N ote w ith Fake docttm ents doing Fraud on us the B ank ând Federal G overnm ent
                                                                           i
             (SEC) CLM M FOR RELIEF for Lancastor Bank PlaintiFs Brings this action against
    ê             @.             .           '
             LAN CASTER BAN K A d DEUTSCHE BANK NATIONAL TRU ST COM PAN Y AS
    (
    '                                                       :   .
                                                                        -   .   -- -- -.----       .---                    6:   '
                Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 8 of 160
            *

                                                                                                 19

                 TRU STEE, UN DER TH E POO LING AN D SERVICIN G A GREEM EN T SERIES R AST
'



    *            2006--A8 (CSFB).And jas sold Plaintifr's property at é Forçclosure sale to Deprive.
                         *                  w

                 plaintiF ofhis Residence withoutany àalfulclaim to the Property because the closing
                 for their M ortgage N ote w as never signed nor did any W arranty Deed, M ortgage ot
                                                    .           e

                 Note at a11 éet sir ed with PlaintiFs or Defendants. Because Leroy W illiam s and
                 Defendaùts didn't do the closing with LAN CASTER BANK who falsely. used an

                 unsir ed Promissory Note and M ortgage to Assign to DEUTSCHE BANK NATIONV
                                        @
k                                                                      .

                 TRU ST CO M PAN Y A S TRU STEE, U N DER TH E PO OLW G AN D SERW CW G

                 AGREEM ENT SERIES P-AST 2006-A8 (CSFB)from now seen as DEUTSCHE BANK
                 N ATION A L TRU ST so therefore this is fraud and thievery of a hom es using m oney
                                                d
    *
                 conflicted Judges like tke 1)1 fed. Judges fotmd gttilty,Exh. the FB1 calls Home.
                         *                  w

                 Title theftas seen on T.V.(hömetitleblôck.com) which has now been handed over to
                 the FB1 therefore were asking for the quiet Title and m oney as relief.



                                  INTRODUCTIOX JURISDICTION M '
                                                              D VENUE

                 The transactions and evçnts which the subject matter of this Complaint all occurred
            *    w ithin the County of DA DE, State of Florida. ln the United States. The property ij
                             .




        -        located within the county ofbade'
                                                 ,state ofFlorida with the address of 1977 NE 119*
    '
                 RD M IAM I FL.33181and 1.5020 s.RiverDr.M iam i#1.33167.Plaintiff lives in the State
    *


                 of Florida and the Defendqnts/Respondents are citizens of States in Oregon, CA, DC,
                                                        â   .

                N ew York and Florida.Petitioners seek to quiettitle to Petitioners Property.The am otmt
                 in controversy exceeds $75,000.04..



                     .                                                                     .   . . ..   .e.   s.
               Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 9 of 160
                                                                                                         19
                                                               (
                                                             JU RY TR IA L DEM AN D

                                .   PLAINTIFF Requests a jury trial on alI issues.
                                                             BA C K G RO U ND FA C TS


              Overall'U S BAN K , DEU TSCHE BA NK , AN D J.P.M O RGA N a11 put in docum ents w ith
      @                     .


              incorrect Verifications such as .the .Assignm eùts that don't.have witnessçs, no N otary

              Stamp, no Com m ission num ber, po Printed nam es lm der the Signature, the wrong Bank
                                *
                                                         .
          *                             :
              on D ocum
                     *
                        ents, no N otaly no. Seal, no Preparer and they filed the Com plaints before the-
                                                                    :       .
              Foreclosure Com plaint date w as filed in Violation of M clean M JP A4organ yvhich says
                                                                                                                  *

              you can't.file a Com plaint before you own the M ortgage and N ote which'can't be fxed

              in ab initip (means you can't'startover from the beginning and is void) and they have
              à4ougàges that don't have the sam e'things no stam p,'no seal, no Com m ission num ber
                                        >        .

              and Altonge signed by a Jerson With the wrong quali/cations like an Assistant Secretary
                                                                        '
                            .

              this is illegal according to FI. Stat.692.01 which says only a President, Vice Presidepf,
                                            .




              or Executive Oftk er can sign an A llonge and F1. Stat.692.101 (3)(4)saysthata Secretary

          *can't iign an Allonge oa Assi'
                                        gnment all of these lllçgat Filings are fraudulent, and.
I .

              foreclosing on the N ote by Operation of'Law w ithout the Ow nership of N ote on record
                                                                                                              *



              at a11 such which .
                        .
                                TP M organ did in Violation of t1.Stat.(
                                         '''*'
                                                     .                          *
                                                                                            and FDIC Rules whic:
                                                                                            .
                                                                                                     '




              says the FDIC m ust assign th# N ote to the Bank in Order for them tg Sale, A ssign or

              Foreclose because only the FDIC can.ow n a N ote by Operation of Law. W hile the Clerks

              help hide the documents by Destroying Dockets and allowing unsigned fraudulent and

      -       blacked out Signatures onto doèumepts onto the Record. And éfter these M otions for

              Recusal from these M oney Conflicted of Interest Judges those w ho w ould Recuse

 *                 '@           .                                                       -        .   -
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 10 of 160
                                                                                      19

    them selves w ould not m ention the fact that a11 of their Judgem ents are Void and Reverted

    back to the OriginalFl.Rule i.160'(H) (I) (J) fotmd on Supremecourt.tlcourts.gov and

    the Judges who didn't answrr.th8 M otion to Recuse by 30 days are considered Recused
                    *         .
*                                      $
    and all'their M otions Void and R çverted back to the Original according to Fl.Rule 2.160

    (H) (1) (J) but these RICO Racketeering Conspiring Judges A11 of these yctions makb           *



    these fraudulent Cases void giving the fraudulent Banks no standing. But w ith the help

    ofthe RICO Conspiring paid oF Apellate Judges,CircuitCourtJudges,Banknzptcy Judges,

    C lerks of the Courts, Police, Eviction Sheriff's 'D epartm ent, Conflict of lnterest.

    C On1nAijsioners and Code Enforcem ent O x cers a11 side with ihe Banks because they're
                                                                          '
                                           .
    paid off by the Banks so that no m atter how crooked or Illegal they are found to be
'



    they hold them selves not guilty, a ch. 11:5 and Just take your Property because the banks
                              *
-                                                     .

    are paying them offwhicv is very honible Conflicts of Interest.Like the 131 Federal
                                                *

                                                                      $         '
    Judgeswho iustMot fotmd guilty of ConflictofInterestwhich effected 685 Cases and
         * '-   .       *''       '-           *'''       <   .

                                                                                                  *


    were punished these judges are being Punsished with Jail tim e and Sanctions the m ost
    money the# m ade is one hundfed thousand dollars and yetthese Circuit Judges like Judge
    *'                                                            .

    Schlesinger made twenty eight M illion dollars from US Bank two years in a row and
    Judge Valerie.M anno Schurr m ade Eleven M illion dollars while ruling in favor of U S

    Bank Judge's A llen Fine,M onica Gordo,John Schlesinger,Vivianne D elRio and Snm antha

    Cohen and D e La O didn't answer our M otion to Recuse them selves w ithin 30 days

-after it was filed m aking their'Orders Void and al1 the wother Judges Orders after theirs.
                                                *


    Void F1.Rule 2.160 (H)(J).And Judge Vbronica Diaz had avery horrible inoney Conflict,     *
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 11 of 160
                                %                                                          19
                                    *

    of Interest and she refused to R ecuse herself in Violation of F1.Code of Judicial Conduct,
                                                                                                   *



    Canon 3E(1) and Fl. Stat. 112,312 '
    (8) Lawyers have been taking.t'urns stealing peoples properties which is RICO Conspiracy
    and are creating gaudulènt docum eats these Banks thereof based on one or m ore of the

    groundsmentioned in subsection or ifa defaultis eniçred againstdefendants (in which csse
    no evidence need be taken),the courtshallenterjudgmentremoving the alleged cloud from
    the title to the land        .                  -
                            and forevdr qûieting the title in Plaintiffs and those claim ing under

    him or her since the com m enqem ent of these actions and adjudging plaintiffto have a good
                                        *
o

    fee sinp le title to said land Pr the interest thereby clearèd of cloud
                                                     â.

                                        VACTCAL W LEGATIONS
                                                                                     '
                                                              a

     on or about JUN E 30, 2005 concem ing US Bank Nati
                                                      onal, (V reinafter referred to as
     ûGclosing-Dates'') Plaintiff entered           credit transaction with by obtaining a .$4485000.00
                                                *
          .

     M ortgage loan secured by Plaintiffs principalresidepce,(SubjectProperty).This Note qas
                                @


     secured by a First Trust D eed on the Property in favor of A xiom Financial SERV ICES.

     In w hich w e w ere m aking the a11 the paym ents on tim e then one day w hile checking on

     another house in a dow ntow n Courthouse inadvertently we tind out that our hom e at

      15020 S. River Dr. is iv Foreclosure even though we wdre m aking the payments so on
     June 6* 2007 we did a writkten 'requestJoo alprotest and dispute of that debt M ysterious

     threat from an unknow n Bank that w as Foreclosing on our Property in whom W e did not

     sign our M ortgage or N ote w ith w e w ere never served and w as trying to get a hearing

     with no 'response until we suddenly find out that they were getting ready'to sell our

     property w ithout even allow ing us to respond or defend ourselves therefore 9/12/2007 w e

     did ah Em ergency M otion to cancel the sale so that the Judge éan see that w e w ere
                                                                          '
                                            .
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                                                                                           19

            m aking the paym ents and for that Bank (US BANK NA) who is unknown.to us werep't
                                     @
                                                             .        '
                                     .

            able to show us that they ow ned the N ote and w e pointed out to the Judge in front of

            about 50 w itnesses Tea Partier! and Republicans thatU S BAN K N A never brought in the

            N ote, M ortgage, and A ssigm nent and no letter of indebtm ent and no proof that w e w ere
                                                     4

    .       not lhaking the paym ens and we pointed out to the Judge that they only have a Lis
                 *                       *

            Pendens on record w ith no Cofnplaint tö .
                                                     be seen and no M ortgage or N ote Attàched to
                                                                                                          *
              Com plaint as Required by .                         '
                                             F1.Stat.702.015,(4) and F1.Rule Civ. P.130 a. when Judge
            ZABFX realized that there wasno M ortgage and no Note put in and that she did a Final
            Judgem ent w ith no ORIG INA L N O TE or M ORTGAGE DOCS at al1which '
                                                                                is a Perjury
            Felony and in Violation of Florida Stat.702.015 (4)(5)(C). So the JUDGE PANICKED
                                     @   .


            and Ordereb US Bank'sAttorneys to bring in the OriginalNotes and Mortgage and Zabel
            Cancelled the Foreclojure Sale SCHED U LED FOR 9/12/2007 until they brought in the

            OriginalNote and Mortgage.Rut aAer the JUDGE (ZABEL) Cancelled the Foreclosure
            sale set for 9/12/2007 xmehbw those triclty Lawyers got the Clerk to do the SALE
            anyway against Judge ZA BEL'S Order 'so.w e had to rush back to the Court to get an
                                                                                                          *


            Em ergency H earing to tell Judge ZA BEL that the LAW Y ERS and the Clerk did a SA LE

            anyw ay a
                    'gainst her Order and the Judge w as very upset and Ordered.the Attom eys For

        @   US BANK NA to do a M otion to. Cancel the Sale qnd then the Judge sir ed an order
            to Cancelthe Sale 9om their M otion to Cancelthe jale.And then Judge ZABEL Orderid
            and bemanded that they bring in the OriginalNote and Mortgage j)ecause now juage
            ZABEL W as now in pojition'io 'get in trouble for doing a Final Judgement without
            Certified Copies of the N ote and M ortgage and w ithout the Original N ote and M ortgage
l                                            '
                                                 *                          .

            thatis required by Florida Statute,Florida Stat.702.015 (4),in other words these CloWns
            were just Illegally going to take our Isopèrty butgpt caught! 131 Federal
                                                         .                                 . .. - ...-.
                                                                                                              @
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                                                                                            19
                                                d
            Judgqs have alyeady been caught and went to jailfor Conflict of lnterest,they failed to
                                    %
            Recus-e them selves from 685 law suits from 2010 to 2018 involving firm s ip w hich
                                                .
                                                        g       ''                      .


            them selves or relatives held shares,these Evil Judges are going down! This Judge ZA BEL
                                                                                '
                                                                                                       .


            Ordered the Atty's to go get the Docs that they'said they had,then Judge ZABEL took

            a Courtkecess and during the break from the Courtroom US Bank Lawyer! Refused to
        *                                           .

                o bàck into the Courtroom thisupsetthe Judge b/ Judge ZABEL gave them time to
            bring 4in the N ote and thè M ortgage but they w öuld not so therefore w e put in a M otion

            to Dismisg with Prejgdice we went back and Forth Fith the Judges and the Bqilks
            Attorneys but they w ould not follow the Judge Sarah 1. Zabel's Order to bring in the
                                                d

            Note-and Order and ther$efof ludge ZABEL Dismissed the 'Case with Prejudice,the tent
                                                                                               -
                                                                                                 h
            line c;f thç 2007 Case Callbd Case Nltmber 2007.12407-CA01 of the Docket.And then


            O
            AN D THE STARTER OF                                          .          '
                                            jHE RACIQETEERING CONSPIRACY CONCERNING OUR
                                            .


        @                                           .


            HOVE R TO THE ADMINISTRATIVE JUDGE BAILEY W110 APPOINTS JUDGES TO
            cAsss,GovERxoR ok so Tls,THE JQc,THE BAR,THE us ool,'r1-IE FBI,THE
'


            FLORIDA STATE ATTORNEY AND M EDIA FOR OBW OUS M CIST MISCONDUOT,
            BY TOTALLY IGNOIUNG FLORIDA STATUES-RULES AND FOR CRAZY UBVIOUS
    .                                           d

    *       CONFLICTS OF INTEV S because something strange happeped out of nowhere!Judge
                   '

            valerie Manno Schurr's SIdNA'I'URE qnd NAME shows up on the DISMISSAL WITH
                                                            .

                                                                     ,                             *

            fREJIJDICE from Judge ZABEL THE YEM t AFTER sHE BECOMES JUDGE RIGHT
            BEFORE SH E m ysteriously takes over our Case to sate U .S.BAN K FRO M U S and save
                                                                                    *
                                        .




.                                                                                                          ?
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                                                                        19

 JUDGE /ABEL,THEIR LAFYERS FROM THE W RATH OF THEIR 'BOSS GMAC (US
PBANK)W HO IIAD ALREADY PAID THEM TO SAVE U.S.BANK ?ROM US JUDGE
 VALERIE M.A% 0 SCITURR is who we'rejustnow finding outthatTHE BANKS PM b
 H ER TO TW CK U S ECTO BELIEV IN G TH AT Mœ W ERE SAFE FROM U S BAN K

 MRTH TH E D ISM ISSA L MRTH PREJUD ICE AN D TH EN TH REE M ON TH S LATER

 JUDGE
     .
     r
       VALERIE M ANNO
                   '
                      SCHURR CHANGES IT TO DISM ISSAL W ITHOUT
                               *
     g


 plkw polcs Ix Ax Itstsc)xl- sxpu 'rs usAluxciwlwuou'
                           *
                                                    r us Kxowlxo jo
 THAT U S BAN K    COULD COME VAOK AND START THE SAME CASE OVER '
 WITHOUT NOTICE TO US!W Y D1D GMAC (US BANK)PAPY JUDGE VALEZE
         '                                              .
               ,


 51YNN0 SCHURR TO TAKE OVER OUR CASE WAS BECAUSE JUDGE 4ABEL
         *
                                                                               .



'D ISM ISSED W ITH PREJU DICE U S BAN K S CA SE 04/07/2009 A S SEEN ON THE

 DO CK ET CA SE N UM BER 2007-12407-CA 01 LIN E 10, Exh. 2.1 pg.2. AN D            Foéo
 M OTOR CO . M CM LOWAY SAYS A JUDGE CAN 'T CHANGE ANOTHER JUDGV'S

 oRoER so, JuoGs vAt.km é v xxxo scuu>                      Fltzo HER oupl-lcv s
 DISM ISSAL m TH LIKE JVDGE ZABEL'S ORDER WAS FILED 04/07/2009, AND
                       :           *
 JUD GE SCHU RR 'S DU PLICATE ORDER FILED 04/07/2010 A S SEEN             ON        THE
                                       :   .

 DO CIQET CA SE N UM BER 2007-12407-CA 01 LIN E 10 AND 11, N OT REM EM BER

 JUDGE VALMW E SCHURR IS A JUDGE Mœ NEVER MET NEVER SEEN AND
 NEVER D1D A HEARDCG IN FRONT OF AND ACCOiDING TO THE
 A DM IN STM TIV E JUD GE, JUD GE BA ILEY SM D THAT SH E DlD N O T A SSIGN

 JUDGE VALERJE SCI-IURV THIS IS A JUDGE THAT SHE D1D NOT ASSIGN TO
 OUR CASE ALL DONE SO TILIAT SHE COULD IN AN ILLEGAL EM W RTE FIEARING
 IN W OLATION OF FLORIDA STAT. 702.07 W ITH THE PLAW TIFF U S BA NK

 cltxw s uslè ow x oltssé To olsvlssv wlTuou'r pu luolcs. To Hst,p
                       :           *
Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 15 of 160
                                                                              19

 GM AC (US BANK).STEAL S'
                        O THEY CAN ALL M AKE M OVEY OFF OF HELPLESS
 BLA CK S U SING BlG BAD JUD GES AN D LAU            ERS! The proof that JUD GE VM ERIE
                                         d                                                   .
 M AN NO SCHU RR m àde M opey to help thelh is on her Form 6 FIJLL AN D PUBLIC
                        %                                                                -

 DISCLOSURE OF FINAN CIAL INTEREST
                              g .
                                   SW ORN AFFIDAW T OATH
                                                      '
                                                         of 2008 .that
 bhows on partC.Liabilities section thatshe has $995,000.00 and $91,498.00 from GMXC
 which is the Servicer and owner RESIDENTIXL FUNDING CORPORATION in their
 notice of transfer said they w ere controlling our paym ents as Servicer from at least

 1/1/2407 on the M ortgage PaymenlCoupon atthe bottom of the Transfer Letter,Exh 109.
 and $129,000.00 from W ells Fargo which is US BAN K N ATIONM         A SSO CIATION A S

 TRUSTEE FOR RASC 2905 M 1L3,then in 2009 form 6 it shows GM AC M ORTGAUE
 of $410,000.00 and Credit line with GM AC,and $128,000 W achovia which is W ells Fargo

which is US BANK, arjd tLen she allows an Illegal Ek Parte Hearing with US Bapk
                                                               .


      *                          .

National Attomeys to change 'her Or/er which is really Judge Zabel's Order from
 blsM lssEo w ITH PREJUDICE in April6*,2010 to change the Dismissed with Prejudjce
          '                          .       .   *

 3 m onths later in June 27th, 2010, into DISM ISSED W ITHOUT PREJUDICE in this Ex
                                                                      ''
                             .



 Parte Hdaring. W hlch is only supposed to be done with only the Defendants that are
about to lose their hom e to .the Foreclosure Sale and this m ust be done before the sgle
                        @        .       '
                         .



of the Houje according to F1. Statue 107.07, ( during the interim GM AC also had a
Florida D efault Letter as.the . seryicer) and'after that wopderful gift Judgement to US

Bank N ationalA ssociation and helping Judge Zabel out of the m ess for doing a Judgem ent
                                         @

withdut a Dodketed Cv plaint, Note, Allonge, M ortgage or an Assignm ent from the
Records yvhich yvas literally Crfminal, Thievery of our house. Then suddenly in her 2010
                                                                                     q


Form 6 D isclosure of Financial Interest, Exh. (8.1), it shows a $400,000.
                                                                         00 gift frem

                   $1,000,000.00 from W ells Fargo w hich is U S Bank,A 1l of this is pay
            Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 16 of 160
                                                                                                           19
                         *   ,
                                                                      *

                to Play RICO Conspiracy to steal B lack.People's Houses w hich they're also doing to
                                                                                                                    *
        '


                W hite European Gentiles! U S BAN K 'S only law ful Rem edy w as to Appeal the D ism issal

                with Prejudice within 30 days according to Florida Appellate Rule 4 (a)(1)(A).But npw
                                                              o
                                                                                                                '
                                 .


            *
                a case that was Dismissed with Prejudice was given life again by Judge Va'lerie 'M anno
                                                                          .           .



                schurr a Judge w e had tw w r m et never seen or ever had a hearing in front of cam e-in
                                                                                  '
                                                  .



                and gismissed the Case with Prejudice exactly one year after Judge Zabel Dismissed it
                with Prejudice to avoid 'Calloway Vs. Forà which says .another Judge cannot change
                another Judges Order from the ,sam e Circuit Court they m ust A ppeal to a higher Court
            '
*                    o                                '
                                         .,

                but Judge VALERIE                         O SCHU RR did it anyw ay by havîng a hearing three m onths
                         *                                k


                later in an illegalEx Parte hearing and LhO ging the Dism issalwith Preju'dice to Dismijsal -

                without Prejudice which allowed US BANK to secretly tile another Foreclosure Câse
                agaihst the House at 15020 S. River Dr. M iam i Florida 33167 and 'U S Bank did tile

                another Case which was a continuance of the same Qase from 2007 w hich is called Case
                 ;   *



                Number 2007-12407-CA01 that was Dismissed with Prejudice and secretly changed -to
                Dismissed without Prejudice and without any notice to us in 2010 called Case number
                2010-61928-CA 01 this 2010 W as àlso done w ithout the Original M ortgage, A ssignm ent

    '
                and D ocs. Original of the Npte,pAllonge to the Note, and the second Allonge 9om Fannie
                                              .
*                                        .
                                                  4               *                                                     -
                M ae pr indemnification lnf? that indemnises Fannie M ae and there must be the Loan
                                                                              g                    '
                number, Date and the printed name of tiw Signer as required by Federal Fannie M ae -
                Rules 88-3-04 for Fannie M ae of which none.of this is on $he copy of the A llonge

                recorded On the Docket, And JUD GE VA LERIE M ANN O SCH URR has taken my new
                                 *
                                                                                                                .



                Case.again to finish w hat she started by Ruling in favor of U S BAN K and GM A.
                                                                                               C w ith
                                                                                                       .                *

%
                w orst Conflicts of lnterek that she's trying to hide so that she can Rule in the Bank's
                                     '
                         g


                favor to illegally Foreclose.Because in her FORM 6 -2019 and 2020 FinancialDisclost
                                                                                                  ure
         Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 17 of 160


                                                                                                '
                         .


        *
              Affidavit she has over $11,192,000.00,plus on line 5 she statesthat she has a'$400,000.00
                                                .



              M ortgage with City Natipnal Bank that is Royal Bank of Canada, which is W ells Fargo,
              And W ells f'argo is US Bank JLJD GE VALERIE M ANNO SCHU RR is helping to illegally
                             .                                                                      *
               .


              Foreclose on us.The other cov ict.is Schurr's $400,000.00 M ortgage Holder City Natiönal
              Bank that is Royal Bank of Ca
                                          d
                                            nada which is M organ Stanly/.
                                                                         p M organ, w hich is U S

              BANyORPJUS.BANK.And Al1this is CITY NATIONM BANK,who .
                                                                   Me'rged with
                                          *

              W achovia Bank w ho adm itted they w ere .SLAVE M ASTERS OF BLACK PEOèLE,
                                                                                                    *



              just take CRIPLE HELPLESS BLACK PEOPLE'S H OM ES. I w ill investigate how this
                     -
                                                .             4


              Judge acéumulated $11 m illion dollars on a JUDGE'S SALARX I dem and to see w here

        t:p
              a11 that monev
                           -
                             is gom.This is the Bnnk that served my law suit by an of11c
                                                .                     .
                                                                                       'ia1 jervicer
              acknow ledged by U S BANK which by Florida Stat
                                                            ie they had only 20 days to answir
                                                                  '
                                      .



              but tlky never answered fbr sjx months while we,re trying to oefaultthem the whole
              tim e, yet JUD GE VA LERIE M M N 0 SCH URR w ith her m illions of dollars Conflicts of

              Interest helped U S Bank by not ever D efaulting them no m atter what the law s and rules
*

              say I really don't stand %,cha'
                                            nçe in this fightbecause the referee (-TUDGE SCHURRI is
              being paid by my Opponents to Rule orlly'in their (US BANK'S-GOLIAYH'S favor 1 AM .
              DESTROYED and CRUCIFIED by these wicked Animals who break al1 the Laws Jnd
                                                                                           '
                         .


              kill BLACK PEOPLE and hold them selves not GUILTY by these 'CROOKED EVIL
        .     JUDGES like JUDGE VM TRIE M ANNO SCHURR and 1 know they are Plotting to
              KILL m e right now,K .JTV.BIBLE=ZECHARIM I 11:5!!




    @
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                                                                                       19


e
                           FIR ST CA U SE O F A C TIO N CIV IL CO N SPIM CY

                             ABUSE OF (EGAL PROCESS/RICO CONSPIM CY
                                .
                                    '
                                            @
                                .

                                        :       *


         AS TO LANCASTER,MERS,DECT%CHE BANK,tJ.s.BANK,THk sEc,Iu o:
                                                                                                *
         A'rTopxEvs TITLE l'
                           NscltxNcE Fcxo,cprx'
                                              rv clwEltx oF THE cocRTs,
         owoE cotixTv REcoa s DEPU TM ENT, DADE colN v Evlczqox
         SH ERIFFS, NORTH M IAM I POLICE DEPARTM ENX COM M ISSIONER RENE
         G AR CIA , TH E C ITY O F N O RTH M IAM I, BLA NK R OM E ATTO R NEY S LLP,
         ATTORNEY DANIEL JIURTZE,DADE COUNTY JUDGE ALLEN FINE,JUDGE
         RUD'OLFU RUIZ, JUDGE M ONICA GORDO, M ARCIA COOIfE, VALERIE
         M ANNO SCHURR, VERONICA DIAZ, VIVIANNE DEL RIO, JOHX
         SC H LESIN G ER , JO SE R O DR IG U EZ , R E Em ERTO D IA Z, SAM AN TH A RU IZ,
         JOSE PEPE,SALLY A.qEYM AN,EILEEN HIGGINS,REBECA SOSA,SEN.
                                        $       *
                                                JAW ER D . SO UTO


         Plaintiff realleges and avers paragraphs as if fully set forth herein and further statesl

         This is qn action for injunctive and declaratory yrelief and for dam qges bas'
                                                                                      ed upon

    th
         these Defendants abuse of the l
                                       .
                                        egal process in connection w ith the féreclosure

         lew suits. From the filipg of the 2007 action to present, LANCASTER, M ERS, an4

         DEUYSCHE BANK as successpn did not have sufficient docum entation to establish
         it is the proper party to bring this action and the docum entation upon w hich it

         relied on for standing w as im properly m anufactured by Defendants,individually or
             @'        .

         jointlyrrhese Defendantj crea-ted and/or used false docum ents in an effortto obtain-
                  .
              *                             *


         a foreclosure finaljudgm ent against (hé homeownen These documen'ts include thp

         âforem çntioned,
     Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 19 of 160



       Judgem çnts,AOM S,Affidavit of Indebtedness,'fake M ortgages # Prepaym ent Riders.
       Pronnissory Notes, Fake V7arranty Deeds, Fake kVitnesses Trusts, fake Com plaints,

       M otlons, Fake Notary Illegal Evictions, Clerks Destroying Records, Burning the
                                                                                           ,   *
                              @


       Original Notes, Sinking/stealing my Yachts, Stealing Gun, Stealing Propettyk Fake
       Arrests, Clerks Selling 0ur House w hile w e are in Bankruptcy and Fake Illegal

       Foreclosure Sales. How they did this vvas easy everybody vvas against us and.on
                                      @

       the Conspiracy Rico Te#m from allthe Judges on this House dow n.The Judges are

       a11 in Conspiracy w ith the Bank, Ihe Dade County Police Dept., Dade Cbuflty
                                                 .




       Com m issioner w ho are a11 involved w ith the properties 15020 S. River Dn M iam i

       FL. 33167 and 1977 Ne 119th Rd. M iam i Fl. 33181. Exh. 174. 1.AJl the Judges on

       this Case were being Paid and were benefitting from the Foreclosing Bahk this is

       very Serious CONFLICT; 0F INTEREST.W e never jtood a chance from the top dowa
       the (T
            leck was stacked againsy here's proof of each of the four Judge's CONFLICTS
       OF INTEREST even tikeAdministrativeJudgeJenniferBaily who when JUDGE Thomas
       W illiam s Recused him self frn,
                                      m this case sighting CONFLICTS 0F INTEREST this
          *         .

    * Administrative Judge wjao al
           *
                                 'so has the sam e CONFLICTS 0F INTEREST appointed
                                  w

                                             g   .                           '
       Judge Allen Fine w ho also has the sam e CONFLICTS 0F INTEREST,in this case,Exh.
       175.




                  CIVIL CONSPIG CY AS TO AEL DEFENDANTS

         Plâintiff realleges and incorporates paragraphs 1-58 as thoukh fully setforth in this
      paragraph.PlaintiffallegesthatDefendantseùtered into an agreementts),with each other
      to defraud Plaintiffby providinj false testimony regarding her alleged default on
*         @         .
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                                                                                               19

                thê promissory note securing the mortgage on her house and false 21 docum entary
>'


              evidence to the Court to support.their LAN CA STER M ORTGAG E BAN K ER S, LLC

              m ay have or claim an interestd i
                                              n the property that is the subject of this Foreclosure
                  e                        .
     *
              action by virtue of a fâke V ortgage recorded in official Records Book 23966, Page'

              3483, or m ay otherwise claim an intbrest in the propeo . First Cominercial CORP,
                                                                                              Q
         '


              may have or claim an interest in the property that is the subject of the foreclosufd
                           .
                               '
                                                         .       #



              action t;y Virtue of A Fake M ortgage. The interest of each Defendant are subject,
         @ Subordinate and inferior to the right,title, interest and lien of plaintiff's m ortgage w ith
                                                         .           .
                  *                                  ,



              the exception of any special assessm ents that are superior Pursuant to Florida Statuese
                                       '
                      <j

                                             2006),SEC M ay have an inteyest in the property as
              159 (2006),and Fl.Stat.170.99 (.
              evidenced by D EU TSCH E BAN K N ATIONA L TRU ST CO . A S TRU STEE UN DER
     '

              THE POOLING Ar                   SERVICING AGREEG NT SERIES M ST 2006-A8 (CSFB),
     '
              c/o ocw Ex ATTN: 'ault bept. 5720 rremier Park Drive, west Palm Beach Fl.'
                      *                          w
                                                                                       '
                                                             g
              33407 plan to obtain Plaintiffs homestead. The agreement between the Defendants tp
              provide evidence they knew w as tinauthenticated and therefore inadm issible and in m any-
                                   .                                                       $


              instancey outright perjury çomprises the underlying tort or wrong '
                                                                                Defendants have
         .    comm itted against PlaintiF in furtherance of their own financial goals.The overt acts
              in furtherance of the conspiracy w ere the follow ing:the preparation and recordation of

              the'N ovem ber 5, 2007 A OM ,.the October 31, 2007 A OM , the tsling of the ttoriginal

              Prom issory N ote'' via a Septdm bek 3, 2007 N otice of Filing in the 2007 case w here

              an Affidavit of Lost Instrulpent frum Deutsche Bank or Lancaster's servicer and US
                                                                         ;
                                                                                '
                                                     .                                              .
     o
              sankl w as sled in 2007$and. neverw ithdrawn;the fillihg and re.llance upon uae Am davit-
                                                             â
              of Indebtedness executed by these BnnksAttorneys can't have any of the data containe;
              in the Fake Original M ortgage V d Note ofthq fake AOl which w as used to prove
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 21 of 160
                                                                                          19

        m aterial facts in the 2007 Toreclosure nam ely, am ount allegedly in the default and to
                                                    :   .                        .'


        w hom the debt is ow ed. Because the Closing of the Lancaster M ortgage and N ott
                                                                                                 @

        never took place so the A OI does not exist and the U S Bank A OI which was used
                                                                                      '   '
                .




        to prove. m aterial facts in th'
                                       e 2007 foreclosure nam ely, am ount allegedly in the default

        and 'to w hom the debt is ow ed w às a1l pertaining tti Hom ecom ings Financial Services

        according to the U S B ank A ttom ey's AO l Exhibit list w hich a11 cam e from a Fake

        H om ecom ings Exhibit list according to their adm ission in their Corrective A ssignm ent
                                                            '
                                    .



        from the correct Bank w hich is Axiom Bank in 2012 w hich said that H om ecom ings is
                                            J
        the Frong Bapk and thatAxiom Bank is the Correct Bank, Exh.(176), so the AOl
                                :       *
        from 'Hom ecom ings used '
                                 t0 Foreclose does not exist. Compounding the afqresaid
                                            .




        m isdeeds,of Defendants behavior towards Plaintiff regarding the setting and re-settinj
                                                y                                                *
        of ççforeclosure sale'' of his of his property fof'multiple years evidences catlous and
        blatant disregard for the good faith and fair dealing that form s the basis for cpmm ercial
    *
        enddavors. At the tim e SF tiled 111'the 2007 Cases, iheir client did not have sufficient

        or any docum entation to establish it w as the proper party to bring these actions and

*       the docum entation upon which those Plaintiff relied upon for standing w as im properly

        m anufactured by SF, as Plaintiffs counsel in both cases and acting on Plainti/ s behalf
                                            @
        as its so-called authorized agqnt.ln other words D efendants created false docum ents to
                      .




        m akd it appear that D eutsphe .Barlk or Lancaster and or U S Bank w ere the proper
                                                    :   .                         '


        parties to bring the respective actions.Plaintiffwas sued once for Deutsche Bank anà     *


        twice foy U S Barlk for foreclosurè of these prbperties without tirst allowing my the
        right to .pursue the federally required pre-foreclosure loss m itigation opportunities. In

        addiiion, Deutsche Bank or Lancaster and US Bank and SF proceeded to pretend to

        engage in loss mitigatiùn/forbearance with Plaintiff who justifiably relied upon thek
 Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 22 of 160



   multiple'promises and untold numbers of other homeowners,in addition to Plainti
                                                                                 ff,in
   this country who reasonably relied upon ', the prom ise of ûçw orking out'' the alleged

   defaulted debts so the property owner could resolve the m atter w ithout foreclosure.A s

   a directand proximate resultofthe acts setforth in this Count,PlaintiF has sufferej
   dam ages including but not lim ited to psychological and physical pain and sufering,

   damâge to his erudite Jejutation and credibility and the w4y you know they were.
   w rong is that Leroy W illiam s the So-qallçd sipzor for both Lancaster and U S Bank's

   M ortgage and N otes Credit w as never dam aged for having late paym ents on those

   Notes and M ùrtgage.The expense of retaining counsels and working Pro Se defending

   these Fbke Hom e Title Fraud Foreclosures and other reasonable foreseeable'dam ages.

   Plaintiff has also had to hire undersir ed counsel at tim es or m ostly w orked Pro Se.
                           @



   and geeks damages forthe litigation fees and costspursuantto F1.Stat.()and Fedéral
   j57.105. W HEREFORE Plaintiff prays that this honorable Court award him damages
   for the claim s set forth herein including litigation fees and costs PlaintiF realleges

. and incom oratès al1 paregraphs as though fully set forth in these paragraphs. Plaintiff
                               *       .

   allegesthatoefenkantsentered lnto an agreementts),with each otherto degaud Pl'
                                                                                aintiff
   by providing false testim ony regarding her alleged default on the prom issory note
   securing the m ortgage on m y house and false docum entary evidence to the Court to
                                                                           .




   support their plan to obtain Plaintiffs hom estead.The agreem ent betw een the Defendants

   to provide evidence they knew was unauthenticated and therefore inadm issible and in.
              *
        .
   many instances outrightperjury comprisesthe underlying tortor wrong Defendantshave
                       .
                                   '




   com m itted against Plaintifr in .furtherance of their own financial goals. The overt acts

   in furtherance of the conspiraq were the following:the preparation and recordation of
                  '
- the kovember 5,2007 KOM,'the October31,2007 AOM ,the filing ofthe Gtoriginal'
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 23 of 160
                                                                                               19

             Prom issory N ote'' via 'a Septem ber 3, 2007 N otice of Filing in the 2007 case w here

            an AG davlt of Lost Instrum eni frum Deutsch Bank or Lancaster's servicer,U S Bank,

            was filed May 23, 20$7 withput the Note Allonge or an Assignment and neve/
                *                           p



            w ithdrawn;the filling and reliance upon ihe Affidavit of lndebtedness executed by tNe
            LAW U RS,who completely lacked personally knowledge ofany ofthe data containej
            in the AOI w hich w as used to prove m aterial facts in the 2007 foteclosure nam ely,

* am ognt allegedly in default and to w hom the debt is ow ed by lying saying Hom ecom ings

            w as who the D ept w as Ow ed to but w as the W rong Bank. Com pounding the aforesaid

            m isdeeds by U S Bank w ho used this w rong info to Foreclose to Eviction on a N otç

            not Owned by Us Bank,al1befen'dants behavior towards Plaintiff regarding the setting
            and re-setting of lûforeclow re dsale'' of his property for m ultiple years evidences a
                                    $           .                                                     -
            callogs and blatant disregq d for the good faith and fair dealing that form s the basis
                                                            6   .

            o- -------i-l -d--.--- at u,- ti-- th- s-nk- ,ud th- 2(j(,, --d ti- 2e1()-----,
                                                    -                                                 *

            their client did not have doçum entation to establish it is was the proper party to bring

            this action and the docum entation upon w hich those Plaintiff relied u'
                                                                                   pon for stapding

            was.improperly manuikctured by the Banks, as Plaintiff's counsel in b0th cases and
            acting on Plaintiffs behâlf as its authorized agent. ln other w ords, D efendants created
                         '
                 .


            false docum ents to m ake it appear that D eutsch Bank or Lancaster and/or U S Bank

            w ere the proper party to bring the respectite actions. Plaintiff w as sùed tw ice for

            foreclosure of his Prop'erty wit/out lirst allowing him the right tp pursue the federally-

            required pre-foreclosure loss m itigation opportunities. ln addition, D eutsch Bank or
        '
                                                            â   .

            Lancaster,or U S BAN K , SF proceed to pretend to engage in loss m itigation/forbearanœ
'



            with Plaintiff who justifiably relied upon theirmultiple promises that untold numbers
                                                                                    ''
                                        .

            of other homeowners, in addition to Plaint@ in this cozfnfq çeasonably relied upon',
                     *
                                                                                          g.

    *                                                   .           .                               t
-
    @
        Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 24 of 160
                                                                                                19

                1he promise of çtworking out''the alleged defaulted debts so the property owner coulà   @


                reso1ve $he m atter w ithput foreclosure.A sa dire'
                                                                  ct and proxim ate result of the acts set

                forth in. this Count, Plaintiff has su/ered damages including but not limited to
                Psychological and physical pain and suffering, dam age to his erudite reputation, the
                expense ofwretaining counsel and defending the foreclosures.


            '


                H ER E'S H O W    TH E SE JU D G ES PLAY TA G TEA M A ND C O N SPIRE W ITH
                EACH OTHER TO TAKE UUR H OM ES BECAUSE US BANK PAID TH EM
                ANliM EDIA '
                           FOR OBW OUS M CIST M ISCONDUCT,BY TOTALLY IGNORING
                FLO R IDA STATU ES-R U LE S A ND FO R C R AZY O BW OU S
                                                *                           .
                                                                                     C ON FLICT S* O F
                IN TER EST.

                Because som ething strange happened out of now here! Judge Valerie M anno Schurr'g

                SIGNAYURE and NAM E shows up on the DISM ISSAL W ITH PREJUDICE from
        @ Judge ZABEL THE YEAR AFTEF SHE BECOMEj JUDGE RIGHT BEFöltE SHE

                m ysteriously takes over.our Cpse to save U .S. BAN K FR OM U S and save JUD GE'
                                         .
                                                 '                   '




                ZAB/L,TI-IEIR LAG ERS rRoM THE wRATH oF THEJR Boss Gv xC (us
                BANK) W HO HAD AEREADY 'PAID THEM TO SAVE U.S. BANK FROM U S
                JUDG E VALERIE M m           0 SCI.
                                                  IIJRR is who we're just now fmding out that THE
                Bu lts PAID HER Td Tz clt us INTO BELIEVING THAT WE WERE SAFE 1'
                willhwestigate how thisJudgeaccumulâted $11 million dollarson aJLY GE'S SALARX
                I demapd to see where a11 that l oney is from . This is the Bank that served my laW

                suit by gn oG cial Servicer >cknow ledged by U S BAN K which by Florida Statue they

        .       had only 20 days to answ er but thçy never answ ered .for six m onths while w e're trying

                to Default them the wM le time,yet JUDGE VALVRIE M ANNO SCHURR with hef

                millions of dollars Conflicts of Intelyst helped US BaA by not ever Defaulting them
                no m atter w hat the law s and rules say I really don't stand a chance in this fight
 Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 25 of 160
 @                                                                                   19

     because the referee IJUI
                            JGJ! SCHURIQ is being paid by my Opponents to Rule only'
     in Yeir (US BANK'S-GOLIATH'S favor I AM DESTROYED and CRUCIFIED by
     these wicked Anim als who break.a1l the Laws and kill BLACK PEOPLE and hold
     them selves not G UILTY by thçse CRO OKED EVIL JUD G ES like JUDG E VA LERIE

' M xxxo sclitm           and I fnow they are Plotting to KILL m e right now, K .J.M
     BIBLE=ZECHA RIA H     11:5!!Had six ludges on this Case Judge VALERIE Mixxo          *



     SCHURR who dismissed theCase,withoutPrejudice lllegally.Then Judge SCHLESINGE
     w ho gave them the right.to foreclose even though they didn't have .the standing but

     then told us that w e can com e back in 10 days to pp ve it.Then in 10 days w e cam e
                                             *
         .



     back in tim e to give the answ er to the Judge giving them the right to
                                                                          1

     Foreclose but Judge SCHLESINGER was no longer the Judge op our Case, it W aS nOW

     Judge De La O who alsù had the sam e Contlict of lnterest and then Judge D e La O

     said he couldn't change the Jv ge's O rder even though he saw that we had ten days
                   *                    .,
     to respond and then he'gave us a rehearing and then w e cam e back to ask in fronf
             *                  x


     of Judge DE LA O but he was no lo11gei'the Judgr it was now Judge Veronica Div
     and shç said that she could not change Judge Pe La o's Order.And she gave a datl
     for the foreclosure Sale and she had the sam e Conflict of Interest then w e had the
                                    .




     Pandem ic w hich stopped everything now all of these.Judges had the sam e Contlict of

     Interest and they were l'unning away from m e by passing the Case to another Judgd

     so that w e could never catch up w ith Judge SCHLESIN GER 'S 10 day Ruling and his

     Fraudulent Case w here he gavb thèm the right to Foreclosd but us the right to respond

     an w e never got to respond* beeause the Judges kept passing the Case from one Judge
                                                             .      '
         .
                            $                                                                 -
     to thg nextand would've bqen Foreclosed on butthe Pandemic stopped al1Foreclosures
                                                 j                             '
     and then 1 filed a Quiet Title which was ten years after VALERIE              O SCHURR
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 26 of 160
                                                                                      19
                                          d
        had f led a Fraudulent Dism issal without Prejudice to give those Judges the right to

        keep 'them passing the Cast to each other until they w ere getting ready to Fom close

        Dn us and then l showed here that she didn't have the right to do that beçause shL
        received $995,000.00 to change th: Judge's Ordèr and then she Recused herself after I

        shosed ùerthatshe Recuseé herselfofmy 2021 Case.In the meantime the rake 7010
        Casé was still going on and in t1
                                        )e 2010 Case af'ter
                                                          ' the Pandemic was over another
                                *

        Judgç nam ed Sam antha Cohen w as asked to R ecuse herself because she had the sanae

        Contlicts bf lnterest but she ruled in Favor of the Bank then when we were goinj
        back to Court to tell her to D ism iss the w hole Case because VALERIE M AN NO
                      $                   p

1. SCHURR Recused herselfadd w e w anted to stop the Foreclosure sale then they changed
                                     .
@                               $                     '   '
                                                          *'                                   -

        it to 'another Judge Viviannb De1Rio vho had the exact same Conflict of Interest and
        Would not listen to us in Cotirtand she gave them a Foreclosure Sale even though iq
                                                                                          *

        Courtwith Judge Rodriguez whosi studying the Case to see that VA LERIE               O

        SCX M       w asn't even supposed to be our Judge and got $995,000.000 to chang: the
                                              *                    *
            s

        Dismissal with Prejudice to Dismissal without Prejudice so their trying to Foreclose.
                                e

        and sell the house and Vvict us before we can show why Judge VALERIE M ANNO
    '



        SCHURR Recused herself. A11 six of these Judges a11 have the same Conflicts oY
                                      *       *                        ..
                                                               .



        Interest and being paid by the Banks to play on their team ! Check out these JUDG ES

* wHo wROTE Ax oàlllXFFIDAW T TO THE STATE CAPITAL AND ACTUALLY
        suok THAT THESE BA&Ks.PAY TI-IEM w ow l!!In a hearing with JudgeRodriguez
        b.s.Bank attempted to Dismiss my Quiet Title Case by saying we've been taking
                '                                 '

        long time and trying to slow down the Case but if you cjeck the 2007 Docket
        Exh.(176 ) You'll see that it was U.S. Bank that refused to bring in a Ordered
        D ocllm ent by Judge Zabel to show that they ow n the N ote, the M ortgage, the A llonge
                                @
     Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 27 of 160
                                                                                      19

       and the A ssignm ent and U .S. Bank never w ould bring it in after a year of w aiting w e
                                                                              ''
                                      .,




       asked f6r a Dismissalwith Prejudice in 2008 and in 2009 the Judge finally signs a
       Dismissalwith Prejudice because U.S.Bank refused to follow her Order and then U.S.
                                 @             .
                                                                                        .
                                                            .                                  '
                                  .


       Bank'w aited a year and in 2010 Judge VALERIE M AN NO SCHURR inserts herself in

       the Case withoutbeing appointed qr evçr meeting the Defendants and se did a Dism issal

       with Prejudice also and then 3 months later instead of appealing thatwhich they had
    * 30 days to do 'they had pn Ex Parte H earing w ith Judge VAI,ERIE            O SCIIURR
             *                                 v

       illegally and she changed her Order which intern changed Judge Zabel's Order illbgally

       9om Dismissalwith Prejudice to.Dismissalwithout Prejudice and then 6 months lates
       U .S. Bank found another Case for Foreclosure and U .S. Bank kept pot folloW ing the

       Judges Urder or Notifying us until finally the Judge D ism issed the Case agaih for lack
       of Prosecution because I@J.S. Bank w ould not ùotify 'us and threatened to close out the,
                                   .


       Case'then U .S.Bank finally noticed us and then they set a H earing for 2017 N ovem ber,

       29th in front of Judge SCHLESINGER al1'
                                             that tim e was taken because of them and

       then Judge SCHTE SIN G ER gave them 10 days to answ er they did not answ er so I
                                           .       d

       did       M otion 'for Defawlt alld then U .S. Bank answ ered by saying that U .S. Bank.

       needed more time the Judge gake them more tim e withoutnoticing us we didn't'know
       that they did that and w e asked for Case to be D ism issed so the Pandem ic hit and

       then whùn the Pandem ic hit its what delayed the Foreclosure and during the '
                                                                                   interim I
                                                                                           .       %'

       did a Quiet Title Suit that Quite Title Suit is now in Court. So it w asn't Torturöusly
       a long tim e because a1l of us a1l of the tim e wasted w as by B lank Rom e Attorneyp

       for U S Bank so we didn't waste the tim e U.S.Bank did so l need the tim e for the
*      Judge to rule on the fact that their A llongé is no good, that U .S.
                                                                            Bank's A ssignm ent

       is no good that U.S.Bank doej nothave the N ote in its record of Notes according to
                                 :,
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 28 of 160
                                 @                                                      19

        the Xdgar search and that accprding to the Trustee of the Cupisone Cusip numbers the
        M ortgage has only been'sold'to Fidelity Sirategic Real Retum Funds not U.S.Bank
        and they have untilthis day 2921 which I was referred to them by the lady that runs
            *
                      .

        the SEC at 801 Brickel? Ave.'downtow n M iam i so this is the point w ere at right now

        they don't own the Note never have Io we need to stop the Sale for them to comg
        prove they own the Note instead ofjustgiving our house away that we were makinj
                                                                                         -
                 .

        al1 the paym ents on at the tim e. They a1l m ust be A rrested for Crim inal Conspiracy to

        steal, Blac
                 ,
                   k People's H om es and W hite G entile's H om es! Christ is Jew s and Gentiles
                          -                          ''               '   '




        1Cor.12:12-14 they Are rrucifying and 1.Plaintië ts now,and at al1times mentioned
        in this Co-owner of and in the possession of a11 the realproperty described in paragraph
                                             .




          above, said real propeë to be'hereinafter referred to as the Property described in
        Paragraph 5 above, said real property to be hereinafter referred to as the Property .

* This is a quiet title etc$ case.which requires that U S B ank show a f'ull chain '
                                .                                                  of title-
             .                       x           '



        which is extrinsic evidence according tJ 2005 Florida code civilpractice and procedurç.
        In BroFard County ourcase forthehome 2920Ne 55thP1.Ft.Lauderdale33308W ashingto;
                                                     .            *



        M utualBank triedto sueusbçcausethey'reclaim ingthatthey havetherightfulownership of
                 *
                                                                                             .


    .   the N ote w hen by Operation of law JP M organ can't even obtain the N ote.Furtherm ore JP

        M organ isOwned by theClC (ChineselnvestmentCorporation)(Exh.433) which isowned
        byChinawhich isaViolation ofF.A.R.A (ForeignAgentskegistrationAct),so J.P.M organ
        Chase Bank and it'sA ttorney Rbprejentatives a11need to have'a Foreign A gentRegistration

        License to hold CourtIn State and County proceediagsand can'tForeclose Evictor Sale
                                         *
*                                                                                                .

        propsrties in America (?2 u.s.c,j310s).The Judge on this case is Juoos AAIUXA
                                                          :   .
        GAR CIA W OOD who has a horrible conflictofinterestW ith M organ Stanley Chase Bank

        accordipgtoher2022Form 6FULLAND PUBLIQ DISCLOSURE QF
            Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 29 of 160
                '

*                                                                                                       19

                    FINANCIAL INTEREST page3 line 1shehas$471,247.00 from J.P.M organ ChaseBynk. '
                                                                      g   .

                    .
                        On ourCaseforthehomeat12050NW 4thCt.Plantation 33325 Thedefendants(Deutschk
                    Banklareattemptingtoperfecttheirforeclosure,transferredTitleandEvictedplaintiffsfrom their
                              .
                                                                                                        '




                    property .àt 12050 N W 41 ct. Plantation F1.33325.D eutsche Bank National TrustCom pany as
            *
                    ldentureTrustee forlmpacRealEstate.AssetTnlstSeries1006 SDIknowingly filed a fraudulent

                    foreclgsurecomplaint06/06/13 case#CACE-13-û14193seeexh.Athesaidpropelty wasillegallyForeclosed
                    on ifwelook further,In Aë davitm itten by VicePyesidentofJ'
                                                                              PM organ ChaseBank see exhibit#Bl
                                                  *
                                          .


                    & B2,claimed to have losttheN ote Orm aybe som e how itw as destroyed only three daysafterit

                    wasallegded to have Bebn recôrded in the County CourttheA x davitwas signed by JpM organ
                                   .
        @                                     &       *                                                             -

                    VicePresidentTinaRichard on Q4/02/2013,butin courtfileson the firstforeclosurec@sefor
                                                                      g   .                      '


                    tlmpacLendingGroupwhich wasoriginally 06-12451CACE seeExb.83beforeitwaschanged mQ
                                                              q                                                     *

                    J'
                     PM orgân opened up thenew casewhich isnow 13-b14193CACE,SeeExb.84butatthetime

                    Octoberj9,2007adocumentwa
                                            -senteredintotheFilebyAttorneysfrom
                                                                              ' SmithHiatth Diaz,P.A.
                                                                  '

                    inthètsrstcaseasseenonexhibitC Attornèyssaidontheèocumentthattheyrepresentedlmpact
                                                                              .
                                                                                                                        '




                    Fundtng Corporation and they Ferecancelling thesaledatefor 10/24/2007 on thehouse because
                                                          '                           .

    @               the loan hasbeen sold to another client,so itisseen here the property Has already been sold tô

                    avoid having to show ownership of Note,therefore by the show ing of the evidence in the files

                    thatDeutscheBank triedto hide by opening up a new case whiuh isnow 13-014193 CACE,and
                                                      .
        *                                     %                                                                     -.
                '


                    creatihg afaulty %signmentthatoould notâhavehappened on 3/25/13 see exb.b5 Because the
                                                                          .

                                                                                                                *

                    Note wasalready sold,thisisproofthatM ERS neverhad any standing Inthiscase,thenew cass
                    thatwasstarted wasinvalid from the startand according to the 3.1standing rule standing can be

                    broughtup atanytim e even on Appeal,the Suprem e CourtH as m ade itclear Thatburdèn of

                    estaglishingstandingrestonthePlaintiff,thePlaintiffmustcarry theburden,standingmustekist
                    on the date thatThe compla'intisfiled in which standing could nothave existed even on the date
        Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 30 of 160
                                                                                               19
                                                   '
                     .

            Thatthe new com plaint wastsled becausethe N ote wasalready sold in 2007.This isin violation

            of Fl.Stat.817.5354e)5(?)(a)unlawfulfilingoffalseDocumentsorrecordsagainstRealor-
            persohalproperty.U ltim ately along with a11thesefraudulentCrim inalActsDeutscheBank like J.P.
@           M organChaseBankisownedbyzheC1C (ChinejeInvestmentCorporation)(EA .434) whichis

            ownedbyChinawhichmeanstheyyealsoviolatingF.A.R.A(ForeignAgentsRegistrationAct)and
            noneoftheseeniitieshave.ForeignAgentRegistrationLicensetoholdCourtin StateandCounty.
                                                   '
                 o


            ProceedingsandCan'tForecloseEvictorSalePropertiesinAmericatlzU.S.C.j3105).TheJudge
            on thiscase isSandra Perlman she hasa Conflid ofInterestof$415,620.00 from Bankof

            America which is BlackRock (Exh.430),And BlackRock isDeutsche Bank (Exh.431)that'sa
        p   HorrificConqictofInterestl.ThisJudge has no business.on thisCase-n isAlso appliesto our

            property at 10290 Sw 58thst. M iamiF1.33173whereintheljankHSBC refusedto show Extrinsic

            evidencewhen askedby theJudgethatthey owntheNoteHSBC isownedby theCIC (Chinesg
            InvestmentCorporation)(Exh.4j4)wh
                                           * ich isowned by Chinaa-violation ofF.A.R.A (Foreign
            AgentjRegistrationAct).TheludgeonthisCaseisBarbaraAreceswhogot$90,000From HSBC
                g;
                                                                                '
    .                                      *

            aHociticConflictoflnterest.Andat3320Ne165*stM iamiF1.33160address.
                                                       :   .




            SAR A.
                 H 1. ZA BEL 4/7/09----------u---------------------m ade 9 M illion from U S BA N K
                                                                                               .




        2. VA LERIE M AN N O SCHU RR 1/21/22----m ade alm ost 12 M illion from U S BAN K
        @                                                           .
        3.JOIIN SCHT,ESINGER 12/19/201#----------made almost29 M illion from US BANK
                                     e

        4. SAM ANTHA RUIZ COHEN 5/12/2021--------made over 2 M illion from US BANK
            M IGUEL D E LA O J/9/2019------------------m ade alm ost lM illion from U S BAN K
                                                               -
                                                               .




        6. V EROM CA DIAZ 6/2/2020-------------------m ade alm ost % M illion from U S BAN K
                                               ë
        7. VIVIANNE DEL RI0 5/4/2022----------------m ade alm ost'2 M l
                                                                      illion from U S BAN K
                                           .
    *                                $
                                           C1

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            8.JOSE E.               T   Z------------------------------made Over $250,000.00 from US BANK
            9.JUDGE CARLOS LOPEZ-x----ë
                                      -------------------made over $2 million from US BANK
                                           $                                                                -
            j0.M INDY M OM --------------x------=-----------------m ade Over $100,000.00 from US BANK
                                                          %   .

                BR O C K A ND STO CK ATTO RN EY JU STIN E K ELLY 'S CO N FLICT O F IN TER EST '

            1. W O EUNTO YO U,LAW YERSFOR YOU HAVETAKEN AW AY THE KEY OFKNOW LEDGE:YEENTERED NOT IN YOURSELVES
                 (LUKE11:52)                                                                       '
        '



                 JUD G ES W ITH A C O NFLICT O F INTEREST FR O M DEU TSCH E BA N K
            @                                         .                 .
                       .


            1. JUDGE THOM AS REBULL
                                > .
                                    10/30/19-m ade $656,000.21 from DEUTSCHE BANK

            2.JUDGE M ARCIA COOIQE 1/17/20------made $15,000.00 from DEUTSCHE BANK

            3.JUDGE M ONICA GORDO 8(31/17--made $1,035,472.00 fmm DEUTSCHE BANK
I
            4.JUDGE SANDRA PERLM AN---d------------m ade $415,620.00from, DEUTSCHE BANK
    *
        @ JUD'GESW ITH A CONW ICT OFINTEREST FROM J.P.M ORGAN CHASE BANK
                           %                    u

        1. JU D GE M AIUNA GARCIA W OOD-------r--r-- made$471,247.
                   .                                             00 from CHA SE BANK

        2.JUDGE W ILLIAM W .HAURY JR.-------------m ade$1,500,000.00 from CHA SE BANK
        3.JUDGE JOEL T.LM V US------------------------------m ade$320,000 9om CHA SE BANK

                 JUD G ES W ITH A CO N FLIC T O F IN TEREST FRO M H SBC BAN K

                JUDGE BARBARA ARECES---------------------------m ade$90,000.00 from HSBC BANK

                JUDGE BARBARA ARECES Bank according to her2022 Form 6 FULL AND PUBLIC
                DISCLOSURE OF FINANCIAE lN-fEltEsr
                                                 l-page3 line3 got$90,000 from TD Bank Exh.D

    *
                whichisBlackrockExh.E,whichaisHSBC Exh.F,
                       *       w.
I
                 JUD G
                     .
                       E M ARINA GA RCIA W OOD hasa horrible contlictofinterestW ith M organ Stanley
i
                                                          ? .u.
                Chase Bank according to her2022 Form 6 FULL AN D PU BLIC DISCLO SURE O F

                FINANCIAL INTEREST page 3 line 1shehas$471,247.00 from J.P.M organ ChaseBank.
     @

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                                                                                                  19

     3. JUDGE W ILLIAM W .HAURY JR.has a honible conflictofinterestwith M organ Stanley
              chase Bank on his 2022 Form 6 FULL AND PUBLIC DISCLOSURE OF FINXNCIAL
              INTEREST page2 line 1hehas$1,500,000.00 9om J.P.M organ ChaseBank.

     4.JUDGE JOEL T.LA ZARU S hasa Tenible Conflictoflnterestwith M organ Stanley Chase
                         '
                   .
              Bank on hisFORM 6 FULL AN D PU BLIC DISCLO SU RE OF FIN AN CIA L IN TEREST Page
                                               '                           .,
*'                                                                                                        w


              1line7 hehas$320,000frèm J.P.M organ ChaseBank.
     APPELLATE JUD G ES W ITH A dCO N FLICT O F IN TER EST FR O M DEU TSC H E

     *BAN K                            &       *

     1. 131:()         55J?/1q (2.M 1LLER----------------
                                                        '---'
                                                            ------M ade $95,000 from DEUTSCHE BANK
               Com es now M ACK W ELLS acting Pro-se here states Judge Brownwyn M iller, says that W ellg

              Fargo on his 2012 Form 6 Full and public D isclosure of Financial O f Interejt is a Ba
                                                                                                   'nk doing

                                                     ng business with US B ank and helping them
              Businesj with U S Bank because he's doi'
         *


              naake nnoney so that he can naake naoney by Foreclosing and taking our property while.

              acting as the Judge to take the property not on his M erits but for to m ake him and
              them money lllegally.Here's proof,Judge Brownwyn C.M iller is doing business with

              W ells Fargo Bank as seen on his Form 6 page
                                                   p
                                                                         line 4 he got $95,000.00 âom
              Tallahassee called FullA nd Ptlblic D isclosure O f Financial form 6 Exh.A ,W ells Fargo.
                   *                       h

              is U s Bank Is DEUTSCHE bANK .,'
                                             rhat is a contuct of Interest against uk and
              there's m ore, EA .J. I have found that our case w as directed to him in this Pool, So

              he m ust recuse him self and vacate his Order, Exhibit B so Brownwyn M iller you m ust
                                                                                         .




         @'
              Recuse VOUR SELF and VACATE YOUR ORDER against us, EA .F. ORD ER OF
                                                       .


              D ISM ISSA L W A S PU T @ IN JUN E 6, 2019

         APPELEATE zuoGEs w ITH A CONFLICT OF INTEREST FROM US BANK
                                                             .                               t

     2.TCTIA?III AJIIZI4/ïI!I- E< S-------------------------------M ade $225,310 frorn IJS I3ZVI;IC
      Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 33 of 160

          '

          comes now M Aclt W EELS acting Pro-se here states Judge K evin M ichael Em as, says
               )   *

          that W ells Fargo on his 2012 Fbrm 6 Full and public D isclosure of Financial O f Interek
                                                  * .         *                              .

          is a Bank doing Business w ith U S Bancorp because he's doing business w ith U S
                                                      @           .
          Bancpm and helping them naake naoney so that he can naake m oney by Foreclosing

          and taking our property w hile açting as the Judge to take the property not on his M erits
                                                                      #


          but for to make him and them money Illegally. Here's prootl Judge Kevin M ichaël
          Em as is'doing.business w ith W ells Fargo as seén on his Form 6 page 1 linç 4 from

          Tallahassee called FullAnd Public Disclosure OfFinancialform 6 Exh.A,A ells Fargo
      *
          is US Bancorp Exh.B.And US éancorp is US BpA Exh.C That is a Conflict
          lnterept against us and there's m ore, Exh. J. l have found that our case w as directed
@'
          to him in this Pool, So he m ust recuse him self and vacate his Order, Exhibit B sô

          Kevin M ichael Em as you must Recuse YOUR SELF and VACATE YOUR ORDER

          against us, Exh. F.

                                                                      #


     3. IyI)hà;I)q.sty      Es...................... . . . - . . . . . . . . . . - - . - . . . . M ade $22,543 frorn IJS IIJVI;IC
                                                          .




              Comes now M ACK W ELLS acting Pro-se here states Judge Edwin Scalesà says that
              Chase B ank on his 2012 Form 6 Full and public D isclosure of Financial O f lnterest is
     @

              a Bank doing Business w ith U S Bancorp because he's doing business w ith U S Bancqrp

              and 'helping them m ake m oney so that he can m ake m oney by Foreclosing and taking
              our property w hile acting as the Judge to take the property not on his '
                                                  .           .
                                                                                      M erits but for to

              m ake him and them m oney Illegally.H ere's proof, Judge Edw in Scales is doing business

     . witli Chase Bànk as seqn on'his Form 6 page 1 line 4 from Tallahassee called FullAnd

              Publié D isclosure Of Financial'form 6,Exh.A , Chase Bank is U S Bancorp Exh.'B .A nd
                                                                                                                                    *


              U S Bancorp is U S Bank Exh.                        That is a Conflict of Interest against us and there's
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                                                   :                                      19

            m ore, Exh.J.'I have f@und that our case w as directed to him in this Pool, So he m ust
                                                                  .

                *                      w
    '

            recuse himself and vacate hisörder,ExhibitB so Edwin Scalesyou mustRecusé YOIJR              .

        *                                                                         .

            SELF and VA CATE Y OU R ORDER against us, Exh. F.O rder of D ism issal on JAN . 23,

            2023 Com es now M ACK W ELLS acting Pro-se here states Judge.Brownwyn M iller,

            says that W ells Fargo on his 2012 Form 6 Full and public Disclosure of Pinancial Of

            lnterest is a Bank doic Musiness with U S Bank because he's doing business with U S

            Bani and helping them makç money so that he can make money by Foreclosing and
            taking our property w hilè acting as the Judge to take the property not on his M erits but

            for to malte him and them mqney Illegally.Here'sprootl Judge Brownwyn C.M iller is
            dohy business with A lls fargo Bank as seen on his Form 6 page 1 line 4 he éot
            $95,000.00 from Tallahassee called FuflAnd Public Disclosure Of Financialform 6 Exh.
            A ,W e1ls Fargo is U S Bank. That is a Conflict of lnterest against us and there's m ore,

            EXh.J. I have found that ollr case w as directed to him in this Pool,'So he m ust recuse

p           him self and vacate his Order, Exhibit B so Brow nwyn M iller you m ust Recuse YOU R

            SELF and VACATE YOUR ORDER against us,EG .F. 15020 S.R.DR.M IAM I 331%7
                      '
                o

            AND 1977 NE 119* RD.M IAM l FL.33181.EXIX.A. These Judgeshave m ade M illipns
            of dollars with U.S.Bank taéing '
                                            Black People and W hite European's homes illegally for

            gifts of M oney Exo. 23:8, D eut. 16:19. W hich says Judges can't take gifts because
                                           .
                          *                    .
                                   $
            blinls the eyes ofJudgemçnt!!Here are these Judges examples.
                                                       1




1.FIRST WE HAVE JUDGE VAV RIE MM NP SCHURR WHO STARTED THIS
        HORRIBLE DISCRIMINATW G CONSPIM CY < SS éECAUSE IN HER FULL AND
* PUQLIC DISCLOSURE OF FW ANCIAL INTEREST AND SHE RECUSED HERSELF

        01/21/22 BECA U SE Sl-fE GO T CAU GH T G ETTIN G M ILLION S TO ILLEGM LY
        Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 35 of 160

                                                                                  19

            TA KE OU R PRO PERTY W ITH $ CONFLICT OF INTEREST UP TO $11 M ILLION
        @




            BEUAUSE IN HER FORM 6 FINANCIAL INTEREST SW OFN
            A FFID AV IT O ATH

            N ow som ething strange happ= ed out of now here! Judge Valerie M anno Schurr's
i           SIGNATURE and NAME sïows up on the DISMISSAL WITH PREJUDICE from
                *                               w


            Judge ZABEL THE YEAR N 'TER slm .BEcoM Es JUDGE RIGHT BEFORE SHE*
            mysteripusly takes over our Casé to save U.S. BANK FROM US and save JUDGV

            ZABEL, THEIR LAW YERj FROM THE W M TH OF THEIR BOSS GM AC (US
            BANK) % 0 HAD ALREADY .
                                  PM D THEM TO SAVE U.S. BANK FROM US
            JUDGE vAcém E MANxo scHuRa is who we're just now fmding out that THE-
                      *
                g


    *
            BAN K S PAID H ER TO TRICK U S IN TO BELIEV IN G THA T W E W ERE SA FE

            FROM US BANK W IT2 Tlv DISM ISSAL W ITH PREJUDICE AND THEN THREE
            M ONTHS LATER JUDGE dVALERIE M 4* 0 SCHURR CIIANGES IT TO
                                    -   4           '                                     .
            DISMISSAL WITHOUT PREJUDICE IN AN ILLEGAL EM WRTE HEARING
            M/THOUT US KNOWW G SO TH%T US BANK COULD COME BACK Axp
            START THE SAME CASE OW R WITHQUT.NOTICE TO US!W HY DID GMW
            (US BANK) PAID JUDGE VALERIE M 0            0 SCHURR TO TAKE OVER OUR
            CASE W AS BECAUSE JUDGE ZABEL DISM ISSED W ITH PREJUDICE U S BANKS
                                                                                              '
                                                                                          .
            CA SE 04/07/2009 A S SEEN ON THE D OCK ET CA SE N UM BER 2007-12407-CA 01

    @       LINE 10,Exh.2.1pg.2.AND FORD M OTOR CO.M CALLOWAY SAYS A JUDG:
                                '
                                            .

            CAN'T CHANGE ANOTHEX JUDGE'! ORDER SO, JUD G E VA LERIE M M 1N 0

            SCI-IURR FILED HER DLW ICATE DISM ISSA L W ITH LIIQE JUD GE ZA BEL'S
                                        $           *
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     ORDER W AS FILED 04/07/2009, Exh. 80.AND JUDGE SCHURR'S DUPLICATE

     ORDER FILED 04/07/2010AS SEEN ON THE DOCKET CASE NUMBER 2007-
     12447CA01 EINE 10 AND 11,Exh.).1 pg.2.NOT REM ENIBER JUDGE VALERIE
     SCHURR IS A JJDGE W E'NEVER NG T NEVER SEEN AND NEVER blD A
     H EARIN G IN FRON T OF M D A CCORDING TO TH E A DM IN STR ATIV E JUD GE;

     JUDGE BAILEY SAID THAT SHE DID NOT ASSIGN JUDGE VALERIE jCI-RJRR
     THIS li A RJDGE THAT SHE DlD NOT ASSIGN TO OUR CASE ALL DONZ SO
     THAT SHE COULDN'@
                     T 90 AN ILLEGAL EXPARTE HEAIUNG IN VIOLATION'
     OF 'FLOR'
             IDA STAT. 702.07 W ITH TH E PLAIN TIFF U S BAN K CHA N GE H ER

     0%       ORD ER TO DISM ISSA L W ITH OUT PREJU DICE, Exh. 4.1 TO H ELP GM AC

     (US BANK). STEAL SO THFY CAN ALL StXKE M ONEY OFF OF HVLPLESS
          *
                   .

     BLACKS U SING BI@ BAD JUDGES AND LAW YERS! The proof that JUDGE
  VALERIE M A> 0 SCHURR made Money to help them is on her Form 6 ?ULL                %


  AN D PUBLIC DISCLO SU RE OF FIN AN CIM             IN TEREST SW ORN A FFIDAV IT

  OATH of 2008 that shows on partC.Liabilities section that she has.$995,000.00 and
 '



     $91,498.00 from GM AC which is the Servicer and ownerRESIDENTIAL fuxblxG
          p
                                    ''




  CORPOR ATION in their notice of transfer said they w ere controlling our paym ents ase

  Servicer from at least 1/1/2097 on the M ortgage Paylent Coupon at the bottom of
                                            .                           '
                            .

  the Transfer Letter, Exh 100..and'$129,000.00 from W ells Fargo which is U S BANK

  NATIONAL ASSOCIATION AS TRUSTEE FOR RASC 2005 AHL3,Exh.(6.1) then
  in 2009 form 6 it shoMs GV AC MORTGAGE of $410,000.00 and Credit line with'
  GM AC,and $128,000 Wachoviawhicllis'WellsFargo which isUS BAKK,Exh.(7.1).
  and thsn she allows an IllegalEx Pade Heariny with US Bank NationalAttorneys td
  change her Order which         really Judge Zabel's .Order from DISV SSED W ITH
         Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 37 of 160

                                                                                                  19
                                                       :   .
                 PREJU DICE in April 6th, 2010 Exh. (4.1) to change the Dismissed wi
                                                                                   th Prejudice 3
                                                                                .             .         *

                 m onths later in June 27th, 2010, into DISM ISSED W ITH OU T PREJU DICE in this Ex

                 Parte H earing Exh. 2.1. W hich is only supposed to be done w ith only
                                                                                      ' the D efend>nts

                 that are about to lose their hom e to the Foreclosure Sale and this m ust be done before

                                                          ue 107.07,(during the interim GM AC also
                 the sale ofthe House Jccotding to F1.Stat'
                 had a Florida DefaultLetter us the Servicer) and after thatwonderfulgiftJudgemenl
                 to U S Bank N ational A ssociation and helping Judge Zabel out of the m ess for doing
             '


                 a Judgementwithout a Docketdd Complaint,Note,Allonge,M ortgage or an Assignment
                    e         .
                                        :     *
                 from the Records which w as literally Crim inal, Thievery of our house.Then suddenly
                                                       >                              '

             .   in her 2010 Form 6 Disclosure of Finâncial Interest,Exh.8.1,it shows a $400,000.00

                 gift from GM AC and shows $1,000,000.00 from W ells Fargo which is US Bank,Exh.

                 (9.1).Al1 of this is pay to Play RJCO Conspiracy to steal Black People's Houses
         *
                 which they're also doing to W hite European G eàtiles! U S BAN K 'S only law ful

                 Remedy Fas to Appeal the Dismissal with Prejudice within 30 days according to
                 Florida Appellate Rule 4 (a)(f)(A).Butnow a case thatwas Dismissed with Prejudice
                 w as given life again by Judge Valerie M anno Schurr a Judge we had never m et never

                 seep oreverhad a hearing.:1Sontof came in and Dismissed the Case with Prejudice
                              *               .
     *                                  $
                 exaetly one year after Judge Z abelDismissed i
                                                  .           twith Prejudice to avoid Calloway Vs.
                                                       $   .

                 .Ford which says another Judge cannot change another Judges Urder from the samb

                 Circuit'Court they must Appeal to a higher'Court )ut Judge VALERIE M ANNO
                 SCI-IURR did it anyw ay by'having a hearing three m onths later in an illegal Ex Parte

                 hearing and changing the Dismis'sal with Prejudici to Dismissal without Prejudice
                 w hich allow ed U S BA N K to secretly tile another Foreclosure Case against the H ouse

*'               at 15020 S.River Dr.M inm i Florida 33167 and U S Bank did file another Case w hich
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 38 of 160
                                                                                    e
                                                                                        1g

         w as a continuance of the sam e Case from 2007 w hich is called Case N um ber 2007-
                               @


         12407-CA0'1 that was bismissed with Prejudice and secretly changed to D ism issed

         without Prejudice and without any notice to us in 2010 called Case num ber 2010-
         61928-CA 01 this 2010 w as also done w ithout the Original M ortgage, A ssignm ent and

         Docs.OriginaloftheNote,Allonge to theNote,and the secpnd Allonge 9om Fannie.
                '

         M ae or indemnification irdo that indemnities Fannie M ae and there mustbe the'Loan
                                                                                             *

         num ber, D ate and the printed nam e of the Sir er as required by Federal Fnnnie M aq
                    '
                                               .

         Rules 8 8-3-04 for Fannie M ae of which none of this is on the copy of the'A llonge

         mcorded on the Docket,Exh (15.1).And JUDGE VALERIE M ANNO SCHURR has
            @                                                  .


         taken m y new Case again to fm ish w hat she startçd by Ruling in favor of U S BAN K.
                               @


         and 'GM AC with worst Contlicts of lnterest that she's trying to hide so that she can
         Rule in the Bank's favor to illegally Foreclose. Because 1 her FO RA4 6 -2019 and
                                       .




         2020 Financial Disclosure Ax davit she has over $11,192,000.00,plus on line 5 she
                                           d
*
         statês that shU has a $400,000.00 M ortgage with City National Bank that is Royal.
                *                  w

         Bank of Canada,which is W ells Fargo,.Exh.(10.1).And Wells Fargo is US'Bank
                                                   '
     o

         JUD GE VA LERIE M AN N O SCH IJRR is helping to illegally Foreclose on us, Exh.

         (11.1).The other conflictis Schurr's $400,000.00 M ortjage Holder Ciyy NatioùalBank
         that is koyalBank of Canada which is M organ Stanly/lp M organ,Exh.(12:1),which
         isUS BANCORP/US BANK,Exh.(13.1).and Exh.(14.1)A11this isCITY NATIONAI-
                               @


         BAN K Exh. 16.1, w ho M erged w ith W achovia Bank who adm itted they w ere SLAV E

         MASTERS OF BLACK PEOPLE,.EV .(17.1)tojusttake CRIPLE HELPLESS BLACK
         PEOPLE'S HOM ES.Iwillinyestigate how this Judge acclzmulated $11 million dollars
            *           .
         on a JUDGE'S SAI,ARX l dem and to see where al1that money is from .This is the.
         Bank that served my law Suit by an.oftkial Servicer acknowledged by US éANK
*
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                                                                                     19

      which by Florida Statue they dhad only 20 days to answer but they never answered
                             $       *                               .                        -
      for .si
            x months while wq're tiying to Default them the whoie time, yet JUDGE
      VA LERIE M 0      0 SCHU R R w ith h : .                                '
                                          er m illions of dollars Conflicts of lnterest helped
                                                                                              *

      U S Bank by not ever D efaulting them no m atter w hat the law s and rules say 1 really

      don't staùd a chance in this fight because the referee (JUDGE SCFIURR) is being
      paid by my Opponents to Rule only in their (US BANK'S-GOLIATH'S favor I AM
                                                                                                  '
                                                                                              .

      DESTROYED and CRU CIFIED by these w icked M im als w ho break a1l the Laws and

      kill BLA CK PEOPLE and hûld them selves not GU ILTY by these CROOK ED EVIL

      JUD GES like JU D GE VA LERIE M AN N O SCHU RR and l know they are Plotting to
      '


      KILL
         e
           m e right now , K .J.V BO LE=ZECHA RIM I 11:5!!
                   .




           Check out Judge zoux scut-EjlxcElz the worst connictof them all.In
                                                                                              *

     this Crim inal Conspiracy because in his Final ,ludgem ent Order, of D ec. 19th, 2017.

     Judge SCHLESINGER review ofthe record and Exh.(63).Mustbe Arre
                                                                  'sted and Recuse
     him self and void a11 of his Orders for an OPCn obvious Conflict of Interest and the
                                                       .




     w orst of them a11 becauke he's doing a1l his business w ith U S Bank and is now w ith

     $28,000,000.00 9om U.S. Bahk and their Bankster Partners and helping them and

     himself make money by Foreclosing and taldng (stealing) our and probably others
     property for U.S. Bank while :cting as theJudge on the U .S. Bank's Cases like our
                             $
     property, not on the Case's.M erits to m ake him and U .S., Bank m oney lllegally. H ere's
                                             :   .

     proof Judge JOl-lN      SCHT,
                                 E SIN GER is doing business w ith U S Bank Judgt

     SCHLESECGER and has the worst record of all the m pney Contlicts of Interest that I
                                                                             *
                                 .

     have folmd out about.Because in his 2016 and 2017 (E* .64 and Exh.65) he got
     $28,000,000.00 in Assets because öf U .S.Bank as s:en on page 2
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                                                                              19

3. O n his Form 6 Full and Public D isclosure of Financial Interest page 2. See line

    4 he gotwith Santander ùank $750,000 and Santander is SBA,Exh.66.Which ig
    Us bank, Exh.(2 and 74).on his Form 6 Iine 5 SCHLESINGER did with First
    Citizens Bank $624,000.00 And tirst Citizens Bank is the Royale Bank of Scotland,
    VG .(V VYG iS ZC ROYale Bank OfCanada,Exh.68 W hich isUS Bank.Exh.(69).-
    CR 11iS VOZX 6. tzille 6 I-
                              IC gOt $5,236,472.00 from M organ Stanley Brokerage
                                   d

    Account which is J.P.M$ov an Bank,Exh. 118.W hich is U.S.Bancom Exh.70.And
                              <'                                      'œ                 '



    U S 'Bancorp is U .S. Bbnk,'Exh. y1. Judge SCHLESINGER           on line 7..Got
    *$286,148.68 with State of Florida Deferred Compensation, which is Voya and AlG,.

    Exh.     and Voya and AIG is U .S. Bank, Exh.12. On Iine 8 he got $523,843.91
    w ith Federal thrift Savings W hich is the SBA Exh.73. W hich is U.S.Bank,Exh.
                                                                                 (74).
@

    And on Iine 9 he got $11,019,286.66 w ith Evensky and K atz w hich is the A dvisor
                          *


    side ofUs Bank,Exh.i5 and Exh. 64 page 2. During the m onths of our 2017 Trial
    against Uj Bank and got over $19 M illion two years in a row 2016 and 2017 from
    U S B ank, through U .S. Bank and its Bankster Partners. Judge SCH LESIN GER a11
                                   d

    whilë presiding over ov Case has m ade m illions and m illioss'of Dollars from US

    Bank.

4.A nd w e have Judge M iguel M . D e La O who ruled on our Case in 01/09/2019 Exh.

    114 and is doing bùsiness w ith CITIBAN K as seen in his FORM 6 From Tallahassee

    FU LL Ar     PU BLIC DISCLO SURE O F FINA N CIAL form 6, he got on line

    $300,000.00 from CITIBANK Exh. 16.And on his 2018 Form 6 page 3. On line 11.
                          @


    he got Disùover Savings Account with $111,432.71 and Discover Savings Account is
    CITI BA NK is CITY GRO UP Eyh. 17, CITI GROUP is M ORGAN STA R EY Exh.

    18, and M OR GA N STAN LEY is U S BAN CO RP, Exh.19, and U S BAN CORP is U S
                                   d
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                                                                                   19

      BAN K Exh. 5. W hich is a major Contlict of lnterest.W ho he has ruled in favor oj
                                   '

      Exh.23.That is a Conflict of Inierest against us so he naust be H ested and recuse
      him self and vacate his Order, Exh.24.5. so D e La O m ust be Arrested and overturned

      or Recuse HIM SELF and YACATE HIS ORDERS against us, Exh. 23.
      A nd w e have Judge                : .                           '
    5..                   Veroniva D iaz who ruled against us 06/02/2020 Exh. 115 but

      says that W ELLS FA RGO BAN K on her form 6 full and public D isclosure of Financial

      Interest is a B ank she's deing business w ith, because she's doing business w ith J.P.

      M organ and helping them to m ake'm oney so that she can m ake m oney by Foreclosing

      and taking our property wliile acting as the Judge to take the property and m otion on

      the M erits of the Case but för her and them to m ake money lllegally: Here's Proof:

      In her Form 6, from Tallahassee called FU LL A ND PU BLIC D ISCLO SU RE O F
                                       d
      FINANCIAL INTEREST E* .24. Says lines
                     *             .
*                            $



    6.'ludge Veronica Diaz is doing Business with W ells Fargo as an Asset of $174,312.00
                                           (                                               *

      A nd W ELLS FA RG O BAN K IS U .S. BAN K ,'Exh.35 And 36. U .S. Bancorp which

      is J.P.M organ.1.Her ICM A 401K has an Asset of $180,296.00.And her ICM A 401K
      is Wells Fargo,E* .45,46,47,48,49 and 50.Her$10,300.00 Audicar and her $4,800.00
      A udi.Financial Asset is either A udiFargo or W achovia,which is why I am Subpoenaing

      her record Exh.58, 59.A nd 60.W achovia is Audi, Exh.54 and W achovia is W ells Fargô

      Exh.51,52,53 and W ells Fargo is US Bank,US Bant is U.S.Bancop which
                                       d

    7.is J.P. M om an Exh.3à and'46 Her Navient Student loan 'is W ells Fargo and W ells
e                -
                 '           $                                                              -
          .                                                   e
      Fargo is U S Bank,E% .35 knd.36.Nayient is also JP M organ,Exh.61 and JP M organ
     'is M organ Stanley, E% .33 and 34.A nd M organ Stanley is U S Bank, Exh. 55 and 56;

      1.on 11/19/19 Defendant Judge vtxoxlcA DIAz issued an order Exh.62.There was
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*
                                                                                             19

                 and ls nù hope to win aghinst the M O: RTGA GE BANVSTERS when these JUDGES
                                                            .

                 '
                 are their M ON EY M AK IN G PARTNERS.

            8.And we have Judge SAM ANTHA RUIZ COQEN who ruled in favor ofU.S.Bank
                 in our Case 05/12/2021 also has the sam e Contlict of lnterest, On her 202.
                                                                                           1 Form 6

                 FufL AND pusLlc olscLosuRE oF FIN AN CIAL INTEREST w ith W ells Fargo
                                        @

                 whick is U.S. Bank. ön line 3 she got $162,130.00, line 4. $32,695.84, line 5
    *
                 $896,316.85 Exh. 10, all.w ith W ells Fargo .and W achovia ow ns Wells Fargo which is
                                                                        . L
                                                                          '

                 U .S.BAN K, Exh. 11 and Exh.4 A nd on the Form 6 for 2021 she got on line 2. For
                                                    d


                 Voyâ Retirement$221,116.57..and Voya RetirementUS Bank,Exh.12.And 2021 Form.
                 6 on line 6. BM W Financial éot $10,152..00, and BM W Financials is US Bankf Exh.
                 13.Ard on the Fonn 6 of 2022. She got with W ells Fargo on line 4. $137,506.36,
                                                        .           œ


                 line   $153,à55.04, line 6. $54,410.00, line 7. $6,208.70, line 12. $874,506*
                                                                                             .74 Exh.
                                                                                                  '
                        .
                 14, A 11 w ith W ells Fargo and W achovia ow ns W ELL FARG O w hich is U .S. BAN K,

                 Exh.11.And on her20?2 Form 6 she gotVoya Retirement line 8.$251,663.08.ani
                 Voya'Retirem ent is U S Bank, Exh. 12. And on her 2022 Form 6 on line 13 she got
        '


                 with BM W Financial $4,512.00 and BM W The Financial is US Bank, Exh. 13.A11
                                                                                                      :
                 adding up to $2,804,727.01:Judge Samantha Ruiz Cohen is Doing Business with U .S.
        ' BANK, US éANCORII WACHOVIA, W ELLS FARGO, VOYA FINANCIAI,AND
                                                                         *
                                                s

                 BM W FFNAN CIAI,W I-IICH IS AI,L U .S'
                                                      . Bank w hich m eans U .S. Bailk is Sam antha
                                                                                                      *


                 Cohens w hole w ay of m aking m tm ey other than her Judge's Salary this is W hy she -
                                                                '
                                                                                     .


            9.has ruled in favor of US BANK Pursuantto Fl
                                                        orida Stat.112.131,Florida Fule 2.160
            @'                              .           .
                 (H)'and FederalRules of CivilProcedure Rule 60,plaintiff M AURICE SYM ONETTE             .
                                                                                                              '




                 hereb.y fles this M otion for Relief & Recusal and supporting M em orandum regarding
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    @   the 05/12/2021 Sam antha Ruiz Cohen review of the record and Final Judgem ent Order,

        Exh. 15.

'


    9.Next,we have Judge Vivianne DeIRio because she just did the last Order to do i.
                                           e       *
                                                                              '



        Foreclosure sale on our property 06/21/2022.But m ust be arrested for an open obvious
                                 '


        conflictofInterestto fo flome Title Fraud.Because she's doing businesswith US
              *                      .1

        Bank w ho's doing a11 the fraud to steal H om es and helping them to m ake m orfey so
                                                       .




        that she can

    10.           make money by foreclosing and taking (stealing) our property.while acting as
        the Judge on the Case on our Property, not on the Case's M erits but for to m ake her

        and them m oney Illegally.Here's Proof:

lnSCLOSUAE
DI her Form OF
            6 AFG
               flidavit OL
                   ANCG  atI
                           hNTERST
                             from Tal
                                    salys
                                       ahassee
                                         :     called FULL AND PUBLIC
                                                                          *
                                                                .
                                                                    . .


1. Form 6 for 2019 on line 2., 0. She got $750,215.00 w ith FRS w hich is Financed By
   the SBA . Exh. 1. W hich is U JS. Bank, Exh..2.

        Exh..(0).On line 3 she gqt $15,403.00 and on line 4 she got $5,691.Doing business
        W ith AIG , which is J.P. M organ, Exh. 6, 6A , 6B , 6C, 6D , 6E, 6F, .
        .                                                                     TP M organ w hich

        Is U .S..Bancorp, Exh. 4,19. And U .S. Bancorp .is U .S. B ank Exh. 5 and 5B.

3.Exh.(0).And on line 4 jhe has $44,000 with E-Trade which is M organ Stanley
        Exh:3 and M organ Stanley is J.P. M organ, Exh. 87 ànd Exh. 118, 118A , 118B, 118C

            A nd 118 D Page 1-and Page 2. W hich is U.S. Bancom, (Exh.4,19).And U.S.
                      '
              .



        Bancorp is U .S. Bank Exh.5 ànd 5B. W hich m eans U .S. Bank is JU DG E W VIAN N E

        DEL RIO according to her Form 6 Signed by her Aftidàvit of Financial interests whole
                                               d
        w ay .of w ealth m aking m oney and w ho partners with her in alm ost a11 assets she owns
                          *               .,



        othep than her Judges salary is U .S. Bank.This is why éhe has ruled in favor of U .S.
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                                                                                     19

        BAN K to give a date to sale our house 06/21/2022, Exh. 120. A gainst the Rule of
                                         d

.
        Law'and without allowèg ùs to talk and present our M otion to Rescue and Revert
        back to OriginalOrderin tàe Zoom hegripg 05/04/2022,see Exh.7.(Video ofHearing
                                                                                              Q

        godsz.com Video#l),and we know she heard ustrying to speak because the Transcribez
        of the Transcript could hear us and could hear her and the Transcriber wrote in the

        Transcrijtwhat we were saying as the Judge and U.S.Bank's Lawyer acted like they
        couldn't hear us, but the Transcriber w as in a different location from the Judge and.
                               *


        froin'us in the Zoom H earing and he could hear the Judge and us and U .S. B ank's
                                                                                              '
                 .                                                                                w

        A ttom eys. And the Judge could eyen hear the Transcriber that m eans the Judge could
                                     .




        hear us. So the Judge deliberately ignored us to give the Sale D ate as if w e m issed
.       the e
            hearing uhtil w e r ream ed out loud to listen to our M otion to D ism iss and.

        Reconsider and revertthis Casé back tg the OriginalDismissalwith Prejudice thâtwms

        on the D ocket, Exh. 8A and 8B. before U .S. Bank's M otion to Reset the Sale of otul

        Property.See kxh.8.Butinstead oflistening to ourM otion on the Rçcord which was
        done because The Judge didn't yvant it heard on the record because it expbsed themn

        for quickly trying to taky us out byArmed Eviction Sheriffs even though they're actinp
        illegdlly. That's why Judge Vivianne De1 Rio quickly referred us to her Assistant and

        would not hear our M otion..See.Exh. 9 (Video on Gpdsz.com //2 Video              of her
        assistanttalking to us),W HICH@ IS ALL DONE FOR U.S.BANK.W ho has ruled in
        favor of US VANK. Tl:s is 'a Horrible Conflict of Interest.This Crim inal Conspiracy
        Case al1 started w ith the honible Judge.VA LERIE M AN N 0 SC  '
                                                                                  by illegally
                                                                                              .


        inserting herself in this Case H ere:is The Proof that Judge VAI,ERIE M AN N O SCH URR

        started this and made M ONEY to help them steal our propery Rule 1.540 (b) says
    *   (-2)
           - Newl-y discovered Evidence (-3)
                                           ' Fr
                                             .
                                               aud and M isconduct(4) JudgementOrdèr isvoid;
                                                            .
                                $
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                                                                                        19

        (5) Take the case back to the Prior Judgement (Judge Zabel's last Judgement of
        Dismissal with Prejudice decfeé, ordet, of proceeding for the following reasons (2)
        Newly discovered evideùce (We dijcovered her Fonp 6 Fulland Public Disclosure of
        Financial lnterest and the Partnerships and ow nerships of the Banks hw olved to w ork
                   '
                                                        .

        the éonspiracy by giving JudgeVALERIEM ANNO SCHU RR gifts of M onies to take
        the property 9om Hom eoW ners w hich by due diligence çould not have been discovered

        in time to move for a new trial of rehearing;because we just got the records from
                       *                    .

        the State. (3) This shovs M isconduct and Fraud by showing that in 2008 on the
             *                      s                             '



        DocketM ack W ells fmally putin a M ltiun to Dismiss with Prejudice because Lawyqs
        w ouldn't follow the Judges Ordeis to bring in *the N ote Exh. (106) we also saw thaf
                                                .




        Judge Zabel did a D ism issal with Prejudice in 2008 and three w itnesses w ith A o davits
                                        .



        have sNvorn to have seen this and it w as on the reçord w ith Judge Zabel's signature
                                                .




        that typed up saying the Case is Dismissed          with Prejudice 04/07/2009 as indicated
        on the D ocket of which I now have the Red Stam p Certified Copy of the D ocket see

        Exh.(106) line number (10) ànd We now found Fraud and M isconductusing Honible
    '

        Conflict of Interest ip violation of F1. Rules 2.160 That in 2008 Judge VAT,ERIE
            e          .
                                $                                        .                       -
        M AN N O SCHU RR received M illions of dollars to change a Judgem ent Order so
                                                    j
        therefore a11 of her Judgement Orders aré Void because in 2010 on the Docket Judpe
                                                                                                 *

        VM ERJE M ANNO SCIIIJRR wlpm we have pever m et did a Prior Judgem ent over

        again in the same year three months later did a DismigsalwithoutPfejudice with our
.       D ocgm ent that w e prepared for Judge ZA BEL to sign and w e w atched her sign that

        Orderof Dismissalwith-prejudice,Exh.80 and Exh.109 Ax davits.By erasing Judge
        ZABEL'S sir ature and signing her own (VALERIE                  O SCHURR) signature ip
        place of Judge ZABEL'S sig'natire which is why the Clerk who's a11 in on the
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                                                                                           19

     Conspiracy destroyed theD ocket so as to hide the fact that there are two Judges Order'k
@
     For D ism issal w ith the snm e fonts Preparçd by M ack W ells w ith Jvdge VALERIE
                                      .
                                                          '-




                 O SCIIU ItR 'S signed Judgem ent being last,to superjede Judge Zabel's D ism issal
                                              ë

     with,Prejudice.so that'she dopld Dismiss itwithout Prejudice three months laterwhich
     would getrid of Judge ZABLE'S Orde$r o.f Dismissalof the Case with' Prejudice Exh.
     .
     480) as seen on the Docket line (11) this was done because the Law says that no
     Judge of the sam e Circuit Court cah change the 'Order of the Judge in the sam e Circuit

     Court(Ford M otor Co.% Calloway).So she madeherown Orderthatdid nptChange
                                                      *        *
         .

     Judge Zabel's Order exactly one year after Judge Zabel'ssame Dismissalwith Prejudice
                                  @

     hoping w e .w ould not chèck this, so that she can then therefore change only her Order

     Of Dismijsal with Prejudice to Dismissal without Prejudice in an illegal Ex Partè
                                                                       '
                                                                   .

     H earing so that she w ouldn't appear to be Crim inal. This w as done to save Judge

     ZABEL7 the Lawyers and' JJ.S. BaA GM AC BAN K from being caught in the                       -
                                  %

     Consp
         'iracy to steal the prbper.ty concgrning Judge Zabel doing a Judgem ent against
     uomeowners without an acmal complaint or èertified copies of the Note,Allonge:
     M ortgage and Assignm ent or as Ftorida Stam esstates:N o Judgments can be .rendered

     until after the Original N ote,A llonge, M ortgage and A ssignm ent and a11 other D ocs on

     the record yet they did that while the H om eow ners where m aking paym ents to A xiom

     Bank.on time,Exh.108.This is a Felony and a Conspiracy.Rule (1.540(b) that says
     thatif The Judge Recused herself any Judgements or Oydersthatthey putin are voidl
     This w as a Conspiracy to steal the Property and gd out of trouble from Federal S.E.C
                                              d

     Fraud and cri
                 mes againjttbe.Courtand the property ownertp hide the MERS Fraud                 .



             :                            *                                            N
     oflymg aboutselling Noteson'the M ar#etasproven by the Cusipone ExpertsAffidavit
     show ing that U .S. B                                                                  *
                              ank N ational Association As Trustee never had any ownership of
                                                  .
o
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                                                e
                                                            d                                   19
                    a.                     .            '

                the Leroy Wi1iiams MoAgage'because Axiom Bank sold ,the Note to Fidelity Strategic'
                                                                        '
                                                                            .                        4

                Fund which is on the M arketuntiltodby,'Exh.(89) and when you do the SEC Edgar           *


                search under U S Bank N ational A ssociation as Trustee there is no ktxionx lqote in theif

                PoolofNotes Exh.(117).A1lOF JUDGE VALERIE                       O SHURR'S DISM ISSALS
                A RE       VOID AND M UST REXERT TO THE ORIGINAL DISMISSW                            WITH
                PR EJU DICE AN D SllE .M U ST BE ARRESTED .JUD GE VA LERIE M AN N O SCHU RRT

                adm its to these crim es by R ecusing herself from G URICE SYM ON ETTE'S Case who
    *
            '



                asked her to Recuse for Urim es of l isconduct,Exh. 11û..And Conflicts of lnterest see

                Exh.(77).According to Rule 1.540 (b) (c) (d) (e) Thatthe Judgement,or Order has
                a prior Judgement of lsismis'sal with Prejudice on the Docket of Case Number 07-'
                       *
                                            x



                12407-CA01line (10 and 11) and thatJudgement of Dismissalwith Prejudice mustbp
                returned to Dismissalwith Prejudice and void apd orstrike the 2007- 12407-CA01 anJ
                2010-61928-CA 01 Case becguse Judge VA LERIE M AN N O SC                'Recused herself

        p       becquse I brought this to her attention that she did this Crim e and Schem e.This title

                m ust be cleared and also because she did not default them when it took them 6 m onths-

                to answ er m y Law suit that m ust be D efaulted but w asn't Defaulted because Judge

                VALERIE           O SC21-
                                        11G helled them because as stated in her form 6 Ao davit
                of FINANCIAL INTERESTj,kine 6.City NptionalBank gave her $400,000 which is
                                                    *
                                                                                                             .

                busiqesspartnerswith O.S.Bank, GM AC, Royal Bank of Canada, w hich is W achovia
                                           .

                                                                1   .
                O d W ells Fargo, w hich is U .S. Bank are a11 Business Partners and one big happy

                Fam ily this is a Horrible Conspipcy and Contlict of Interest to steal Property from
                helpless Black People w ith this Racism and Discrim ination in the utm bst.A nd then we

                havq Judge Carlos Lopez who did hislastO rderto do aForeclosure sale on ourproperty on
                                                                                                             *
                09/01/2023 and also m usA be arrest for an O bvious Conflict of InterestJudge Carlos Lopez
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                                                                                                            19

                 FinancialIpterests& PropertyDisclösuresandtaking(stealing)ourpropertywhileactingastheJudgeonthecase
         e
                 onourproperty,notoncase'sMeri
                                             tsiutfor'
                                                     tomakehim andthem '
                                                                       moneyIllegally.Here'sproof:InhisForm 6,
                 from TaIlahasseecalled FULLâND PUBLICDISCLOSUREOFFINANCIAL,form 6for2021itSayson Iine4.if
Q'               page3.thathegottwomillionseventysevenninehundred andfortyninedollars($2,077,949.00)CASHwith
                 Iberia Bank,Exh.D.W hich isFirstHorizon Bank,Exh-Eand FirstHorizon Bank isSuntrust Bank Exh.F,w hich is
             '

                 US.Bancorp/US.Bank,Exh.H.an# Ekh.H2OnIine9ofhisForm 6.Exh.D.Lopezgot$650,000.00from
                                                                                          ,
                                                                                              '

                                             :       *                                                                  -
                 RegiopsBankwho'sdoing businesswith W ellsFargo Exh.Z9.W hich isUS Bank Exh.H2 Also Regions
                                                                        #         .

                 Bankcanbetracedto US.BankbecauseRegionsisJPMorgan,Exh.Z10.AndIPMorganisBlackRock,
                 Exh.Z11!AndBlackRockisUS.Bancorp/US.Bank,Exh.412.Healsogot$1.8MillionwithBBCREALW
     '
                 Holdingsw ho ispartnersw ith Trexstay exh.Z13 w ho are the onesthatcam e backto ourhouse ofered

         Q usSzM illionforthe houseAnd said werecoinc to Retthe house anywaysJudge CarlosisourPartner
                    -
                                                             .   *'@'       *'*       -       .
                        .



                 and he'sthe Judge Foreclosing you!So Trexstay buysthe Foreclosed hom esthattheirpartnerludge
                 Carlos Foreclosesespecially now because GovernorRon Desantislust passed a Iaw to Build propeY es

                 15 stories high on the Iake so ludge .carlos is Foreclosing an Buying to m ake a prost of your

                 HomelessnessIiketheydidaCrippled
                                                #
                                                  BlackMan& aVetand aVetsHomekeadHome./.lAndJudge
                 Carlo-sLopezshoWerhisRa4stBiasednessagainstusBLACKSbyallowingahearingtogoonwhilethe.
                            *                    x

                 Defendantwasvery Sickan Incapacitated an: cpuldn'thearortalk he wanted a day ortwo to geta

                 Law yerto represent him now because he norm ally goes PRO SE.but this is so horribly Racistthattq
     '


                 stealourproperty he gave a sale date very quickly asifw e w ere w aseng the tim e w hen a Docketfrom

                 2007 untilnow show sthatthey w ere the ones wasting tim e,Z13 and Z14 ofthe 2007-12407-CA01 to
         @                                                   .                                .

                 avoié showing thattheydon'thavea IegalAllongethey have neverinthefull16yearsofthisCase
                                             @   .

                 brou:htin proofthatthey oW n the Note Iegally and even ludge Rodriguez saysthis Case has Iegsand

                 would'ntallow them todism issmyCaseforQuiettitleseeDocket2021-10826-CA01.gh butI'm coming
                                                                                                      '
                                                                                                  .

                 afteryou on T.V.,Radio and NewsPaperyou willbe destroyed to keep you from juststealing from us
                                                         d
                 and jtop usfrom defending ourselvesasseen ùn the Transcriptand on theVideo W ITH THATJUDGE
     *                                      %                                                                           -
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         CARLOSLOPEZTELLING USthatheWasgoingto give usa Hearingdate beforethe sNnking Foreclosure

         Sale to justgive ourhouse away to lhese evilCannibalW erewolfAttorneyslam ELAM theIastludge
               *         .                          '

         VivianDeIRioaAerseeingoârmodonto RecuseHerselfforMoneyConflictsofInterestsfirstsaidshe'
                                              o                                               '
                                                                                                    .

         wouldgiveusahearingtoDismissUSàank'sFâkeForeclosurebeforetheSàleDatewouldbeplacedon
         ourhom e see Transcriptpage 5-7,Exh.Z6.And then she Recused herself,Exh.S.and closed the Case a

         dayIateraAerseeingthatJudgeValerieMannoSchurrthejudgewhostartedthislholefakiCasealso
         Recused ierselfformoney ConiictsofInterest.Exh.R.and now anotherConflictofint:restJudge

         CarlosLopezisbeingused byt
                                 @
                                   hesetow LifeThieving Lawyersto havetheNervetojustoutrightillegally.
         take ourHom e thatw e w ere notIate on paym entson,they don'thave a LegalAllonge on and they got

         thewrongiank'sAssignmen!totheMortgagethisrisunbelievable!YouStinkingLyingLawyersareail
                                                                            '
                                                                        .



         goingtolailIPromissyouthat!ClerkofCoudsHarvey Ruvin isalso helpingthestealofProperty
                                              @

    * Inhi<Form 6.from Tallahasjeecalled FULLAND PUBLIC DISCLOSUkE OF FINANCIAL,form 6 for*2010it         .


               '

         Sayson Iine7from thebohom tfathegot$31j,000.00withWellsFargo Bank,Exh.H1.WhichisUSBank
         -

         Exh-H2.AndonadministrativeludgeBailey'sForm 6,from TallahaseecalledFULLANDPUBLICDISCLOSUREOq
         FINANAiIAL#form 6for2018itsaysonIine8from thebo/o-m shegot$222,000alsofrom WellsFargoExh.H3
         which isUSBank Exh.H2 W ho hasruled in favorofUS BANK.Thisisa Horrible ConflictofInterejtagainstus
     @
         andfhere'sm ore.
                                   @




*            ztm GEs w ITH A coxa ic'r oF INTEREST #ROM oEcTscu: Bwxlt

                                              @
         Judgp Thomas Rebull 10/30/2019---------------M ade $656,000.21 9om Deutsche Bank
                        e                .,



         Judge M arcia Cooke 1/17/2:20------------r----------M ade $15,000 from Deutsche Bank
                                              .



         ludge M onica Gordo 8/31/17--------------------M ade 1,035,472.00 from D eutsche Bank
         .




         Judge Valerie Schurr between 2008-2010----M ade ovey $11 M illion from US Bank
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O h 15020 S. River Dr. M iami FI. 33167 and 1977 Ne 119th Rd.M iami F1.33181.
EX H. A


     1.A 11 .
            the Judges on this Case were being Paid and w ere benefitting from the
                                                                                .

       Foreclosing

    B ank this is very Serious CON FLICTS OF IN TEREST. W E never stood a chance from'
    the




     2.top dow n the deck w as staçked against here's proof of each of the four Judge's
    CONFLICTS OF INTEW ST 'even the Administrative Judge JENNIFER BM LEY who.
    w heri Judge Rnhom as W illiam s Recused him self from this Case sighting CON FLICTS
                                          :   .                            '

    O F IN TEREST this A dm inistrative Judge w ho also has the sam e CON FLICTS OF
    IN TEREST.

     3.appointed Judge Allen lïine who also has the same CONFLICTS'OF W TEREST,
       in this
@
    Case,Exh.(1.3) Judge M ONICA GORDO who did the Order to Dismiss our M otions
                           @   .
    to D i
         g
          sm iss even show ing her that w e w ere on tim e w ith our paym ents six M onths
                 '




    after Foreclosure Suit w as tilled on us w ithput N otice to us and that D EUTSCHE did

    not own the Note and M ortgage and had filed the juit before the Assignment in
    violation of M clean V. JpM organ ç&saying you can't foreclose before you Own the
                     .
                           >       *                                                           -

    N oteM. But guess w hat this'Judge alsog has the sam e CON FLICTS OF' . INTEREST, in
                                                                                           q
    lhis Case,Exh.(1.4)Judge M ARCG COOKE mustRecuse herselfforan open obvious
    CONFEICT OF INTEREST becausé she's doing business with DEUTSCHE BANK N .A.
    TRU ST .CO . and helping them to m ake m oney          that she can naake caoney by

    Foreclosing and taking (stealing) our property while acting as the Judge on the Case

    on our property,not on Casr's M erits butto make her and them m oney Illegally.Head
    of M iam i Dade County Clerk of Courts, Records and D ockets has a Contlict of lnteres'
                                                                                          t
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                                                                                                        e
            on his 2011 Form 6 Fm m W ells Fargo in the Amount of $315,000.00, which is US

            Bank H aryey Exh179. . Judge.M arcia Cooke m ust Recuse herself for an open obviouj

            ConflictofInterestbecause she
                                        ''s boing businesswith DEUSSCHE BANK N.A.TRUST
    '


            CO . and helping them to m akedm oney so that she can m ake m oney by foreclosing and
                          *
                                          <
    *                               $
            taking

            4.Judge Friedman Dismissed our QUALIFIED W RITTEN REQUEST IQW IQ M otioh                    *


            to Disl iss this Illegal case even after Judge Friidman Ordered Deutsche Bank to bring

            in the slodgage and N ote of which they never did and yet he Ordered in their favor

            Judje Friedman has the same COMFLICTS OF IN TEREST, in this case, Exh.180.
                                    e

            Rebeca Sosa has a Cohflict of Interest on lines 4 and 5 of page 3 of her 2021
                                                          '
*
            FULL ANb PUBLIC DISCLOSURE 0F FINANCIAL INTEREST from InterAm erican bank
                                                          *                .



            which is Citi Bank $2,695.74 on line 4 and$1,510.11 on line 5. City Bank is City
                                              @

    .       grotfp which is Morga: Stanley.W ho is U.S.Bank Jakier D Souto has a Conflict of
            Interest on line 7 of his 2020 FULL AND PUBLIC DISCLOSURE 0F FINA NCIAL
                                                                   .

                                                                                                    *


            INTEREST $20,000 from Ford which is GeneralM otors which is Deutsche Bank.131

            Federaljudges just got caught with Conflicts of Interest and w ent tp Jail.&OW I'M

        9
            REPORY G JUDGE SCHU RR TO THE AD M INISTM TIV E JUD GE BM LE Y W H O
            M POINTS JUDGES TO@ CASES, GOVERNOR DE SANTIS, Tc JQC, THE BAR,.
            THE'IJS bol,THE FBI,THE FLORIDA STATE ATTORNEY
o


                                                                           '
                                                                       .

        5. Judge M indy A .M ora Dism issed ourB anknzptcy Case even afterw e proved thatU .S.B ank

            had noA llonge,M ortgage,A ssignm entthatw asValid topresentto the Courtto provethatthey
                                                                           '
                                                  ,

            had any ow nership oftheN ote.InludgeM indyM ora's FinancialDisclosure Reportin2020 shegot
                                              .                                                .
                                                              g.   ,                 '


            $100,000.00from CitiBankExh.(D)onpage4Iine3who'sdoingbusinesswithCiNgroupExh(Ef)
                                                      .                                                 *
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          whichisRoyalBankofCanjdaEx:.(E2)whoisdoingbusihesswithTD Bank,whichisW ellsFargo.
              *                      x

          Exh.(F)andW ellsFargo isU.S.Béncorpwhich isU.S.BankExh.(G).



          SECOND CAUSE OF ACTJON JUDGES AND OFFICIAL'S CONFLICTS OF
      .
          INT6REST IN W OLATION OF FEDERAL RULE.OF CIVIL PROC RULE 60,
          FLORIDA RULE 2.160'(A) (D) (11) (1) (4), FL.CODE JUD. CONDUCT CANOV

          3E(1) FL. STAT. 112.312 (8) .


          Ruvin also wasunjustfortakix our Docuinents offthe Docket,but leaving the Banks
     * documents and M otions%on to make it look like they have standing and Evidence of
              *                      .

                                                 &
          ownership w hen they absolutely have nothing at a11 and can never com e up with N otp

          because they outri
                  .
                           ght just don'i have         Akng with that Harvey Ruvin allowel
          D ocum ents that have blacked out Sir atures to be Filed and Recorded into the D ocket
                                         .




      p and Records DepartmentCompletely lllegal!Florida Rule 2.160 (H)saysA Judge must
          vacate her orders for Conflict of Interest LIKE Tc        ORDER S JUDG E VALERIE

          M A> 0 SCHURR DID IN Tlv ILLEGAL EXPARTE HEARING 06/25/2010 W HEN
          sHE CHANGED THE ORDEV OF DISM ISSM                W ITH PREJUDICE TO DISM ISSAL

          W ITHOUT PREJUDICE AND M UST RETURN THAT BACK TO DISM ISSED W ITH
              *         .                    .


          Pnw uolcE To DlsvlssAL w ITH OU T PREIuo ICE AX D M us'r RETIJRN TH AT
                                     .



          pAclt To Dlsvlssso wITH pltEJUDIME Axo ALL HER OTHER oltoERs sHs
                                                                                                 @

          D1D IN THE NEW CASE 2022, W HICH SHE ADSCTTED W HEN SH E RECU SED
          H ERSELF FOR CRIM IN AL CON FLICT OF IN TEREST.Theodore R.'Bundy V.Judge

          Jolm A.Rudd Fl.Rule 2.160 (D).(1).F1.Code Jud.Conduct Canon 3E(1) A Judge
          shall disqualify herself k here im partiality m ight reasonably be questioned Rule 2.160
            Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 53 of 160

                                                                                             19

                (D) (1) and grounds to dijqualify is a paity fears that the Judge is Biased, F1. Statue
                112.312 (8) and Judge can'thave a conflict of Interest!Fla.Stat.112.312 (8)(9).Rule
                2.160(H) and FRCP Rgle 60, relief from Judgem ent or O rder and to Vacate O rder
                There is to be no conflict of.lnterest with the Judge M istake, inadvertence, sum risq,

                or excusable neglect;

        (1)New1y discovered evidence Jhat,with reasonable diligence,could have been discovered
           in time to move for a neq trialunder Rule 59(b):And 1he Plaintiff against
        (ZI.
           D EFENDANTS. LIKE Fraud whethe      :r. previously called intrinsic or extrinsiG,
                misrepresentation or misconduct by Opposing ,pal4y.A judge is expected to Recuse*

                                           .Code ofJud.Conduct,Canon 3E (1),Fla.Rule 2.160(A)
                themselves according to Fla.
                (H),.F1a Statute 112.312 (8) and pursuant to 2.160 (H) Recusal is m andatory in ttany
                proceeding in which Juzges impartiality might reasonably be questioned'' Under Fla.

                Code Jud. Conduct, Canon 3E (1) and j 455(b), a judge is expected to disqualify
                                                                       . '
                herself whenever any of the five statutorily prescribed criteria can be shown to exist

                in fqct;even ifno motion orAë davitseeking such reliefhas been filed,and regardless
                                        $                                                             -
                of whether a reasonable persoq Would question the judge's impartiality.Fla.Codq Jud.
                conduct,Canon 3E (1),Fla.Rule 2.160 (A) (H),Fla.Stamte 112.312 (8) and Sectioh
                .




                455*)he shallalso disqualify himself in the following Circumstances Pursuaptto Fla.
                Code Jttd.Conduct,Canon 3E(1),Fla.Rule 2.160 (A) (H),
            *                                     .

        (3)He knowsthathe,individually or as a fiduciary,orhis spouse orminor child residing
                in his                                                                                .

        (4)(d)(4) ççtinancial interest'' means ownership of a legal or equitable interest, however
                sm all proceeding, or any other interest that could be sùbstantially affected by the

    .                                         p
*
        *                               :
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                                                                                             19

    *        outcome of the proceedings Siatute 112.312 (8) and FçderalRules of Civil Procedure
             Rule 60,


                               THERE A ABSBLUTELY No LANCASTER NoTE AT ALL


             A.) Because Leroy W illiams did not go to the Closing and did not sign the N otes
             to LA N CA STER BAN K , so then the N ote w as never A ssi> ed to M ER S, Exh.206.

             B.) . Assir mentmustbe recorded.within 30 days F.S.494.0075 3.(3)ourAssigmuent
             W A S RECORDED 1 Y:AR AND 5 M ONTHS AFTER THE SALE/CLOSING, The

             Assignmept conveyed, sold and signed 10/20/05 Recorded 03/21/27, Exh.207. C.)
             Because M ERS never got a I.Jegal'Assignment 9om Lancaster Bank because tjaere was

             no Leroy W illiam 's M prtgaKe Note that existed.So M ERS did notAssign the M ortgage
                                     $     *                                                          -
             N ote. to Deutsche Bank.A hich shows that this EVICTION i
                                                                     s ILLEGAI,THEFT OF
             THIS PROPERTX we acmally haveno rihtsto own property.here'smoreproof.D.
                                                                                   )
             If M ortgage N ote is not recorded by 1 year the .M ortgage N ote is void. This Note w as

             never signed and never Recorded w ith Leroy W illiam s signature froin 10/20/05 Jmtil

        * today so M ortgage N ote is void .An
                                            . d in violation of F.S. 695.01. and see:Exh. 208.

             E.) The M ortgage Note-has a space in the right com er of M ortgage Note for the
             preparer of the N ote w here the nam e and post-oG ce address of the natural person w hQ

             prepared the instrum ent or under w hose supervision it w aj prepared are legibly printed,
         '


             typewritten, or stam ped upan juch instrum ent; this N ote is void. And in violation bf
*                e         .
                                     $                                                                -
             F.S.695.26 (1) (b).F.)AIQ then the Note was Conveyed illegally by Lancaster Bank
                                                     â

             jo M ortgage Electronic Registration Systems (MERS)with no tht
                                                                          'rty day or any notice
                                                                                                     *

             Asrequired by Florida which rendersNote unenforceable and void.F.S.701.0241)42)43).
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                                                                                        19
              *                      x

         N otice requirem ent - The borrow er m zlst.be giving 15-30 days notice before nbte is

         sold or assigned to another entity..(RESPA Law 12 U.S.CODE j 2605)the M ortgage
         N ote signed 10/20/05 and the A ssigm nent was on the sam e day of Sale w ithout required
                                                                                .




     @
         N otice also in the original fraudulent m ortgage note PA GE 11 num ber 20 ktates that

         the sale of note or cl
                              iapge of syrvices the borrow m ust be given notice according to
         RESPA 1aw which is 15 to 30 days. But the fraudulent Assignment was sir ed Oct.

         20th 2005,Exh.209.the sam o day as the fraudulent closing,written on the front page
         of the M ortgage N otr, Exh. 21,0. which m akes this A ssignm ent void .F.S.
             *
                         .

    - 701.02(1)(2)(3) Assignmtnts fnust be recorded with in 30 days according to Florida

         STATUTE 494.0075.342) (3).This Aslignm ent was recorded two years'aftek sale wqs
         illegally signed,Exh.211.thisAssignmentistotxlly void.)lfAssignmentisnotrecordel
         by 1 year the A ssignm ent is void according to Florida Statute 695.01.*The A ssir m ent

     * w as . si
               r ed and notarized Oct. 20th, 2005, but w as recorded M ay 21st 2007, one year

         and 5 m onths later. Exfl. 212. But the Judges 1et BLA'
                     *
                                                               NK ROM E Attom eys use this
                 a



         Void Assignment to Foreclose'because they were a11 colluding (M cleap v.JpM organl
         says you can't foreclose before you own the Note! TV Assignment from M ERS to
                                             J
         D eulche Bank is void becakqe assir m ent w às m ade after foreclosure started 06/20/07,
                                 $                                                                  -

         Exh.*213. and the MERS Assi
                                   gnmentJo Deutsche Bank was 08/22/07,Exh.214.and
                                                                                                *


         tMclean v.JpMorgan).But the Judges 1et BLANK ROME Attorneys use this Void.
         Assignment to Foreclose because they were a1l colludinj.



         ILLE GA L FA K E N O TM W           PU BLIC VO IDS O W N ER SH IP O N M O R TGA G F

         N O TE
                                         *   '   *
.                                                                  .
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                                  @
     The N otary on the M ortgage N ote is a VOID . The èkotary stanlp m ust contain

     commission or ID number,to identify the prrson ifneeded to verify or in court,(Our
     M ortgage N ote for 1977 address has no com m ission or ID num ber that's at al1 Legible

     to hide their thievery se
                             $
                              e jage 15 of the M ORTGAGE Note of Record.in violation-
     of F.S.117.05 (3)(A) and F.S.695.26 (
                                         g
                                          1).. This M ortgage Note does not
                                                                          '
                                                                            have proofof
     '
     identity of signer as required in violation ofF.S.117.05 //(5) and (5)(a) see Exh.
     215. page 2. at m iddle of the paper. The N otaries pam e m ust be printed under their

     sipzature, on 1977 M ortgage N ote there is no printed nam e under the N otary Public

     sir ature in violation of the fake A ssir m ent to M ERS. ls void of see Exh. 216.Page

     2.F.S.695.26 (1) (D)(E).New Jersey notary stamp rules is the same as Florida rules,
     the N ew Jersey notary of 2005 looks totally different âom the Fraudulent one on oui

     M ortgage note, Exh. 217. and 218. The State of N ew Jersey N otary stam p on our
                                            @
                              '         @                  . ..
                                                      . . ..      k. .    .
     m ortgage assignm ent is a COM EPLETLY M AD E U P FM U D ! Exh. 219. paMe              and
                                  %                                                  '* -         -

     isa p
         'unishable felony, s.
                             77!.082 775.043 or5.715.84.FakeNotary done by Conspirator
                                                                                 .


                                                                                              q

     Partner REBECCA GONZALEZ ILLEGAL FAKE NOTM W                              PUBLIC VOIDR
     OW NER SHIP ON M ORTG A GE A SSIGN W N T M ust have at least one w itness.There

     is no with wimess on our M ortgage Assiglzment in violation otl F.S. 1.17.05 (b)
 9

     1.a.b.c.d.e. see Exh.220.page 2.the A ssignm ent is void.The N otary on the A ssignm ent
                                  @


     is a fake. The N otary

(1) stamp must contain cpmmission or ID number, to identify the person if needed to
     vel'ify or in court, (Our M ortga
                                    @
                                      ge Note for 1977address has no commission or ID
     nllmber to hid'
                   e their tljevery in violation of F.S. 117.01 (3)(A) and F.S.695.26 (1)..
     see Exh.221. PA G E              The nàm e of,eaph persoil who executed such instrum ent is
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 legibly printed, type written, or stam ped upon such instrum ent im m ediately beneath the
                                          p

 signâture of such persov and..the post- office address of each such person is legibly
                                                                 .




 printed, typewritten, or stam ped upon ruçh instruldent in violation of F.S. 695.01 (1)

 AN D F.S. 695.26 (1) (a) and F.
                               S..494.0075 (5) and F.S.701.0241)(2)43) Exh.222.


                             NEV ER BEH EVD O N PAY M EN TS

                         @




 We were making payments to 'EMC Mortgage see:E4 .223 - 224,whatwas the
 A lexander M orera M ortgage N ote because th       ,'
                                              e buyer Leroy W illiam s 9om seller
 A lexander M orera closing did dnot happen and then EM C M ortgage Transferred the
     .
               *                 w,
                         %        .
                                  ,
 N ote.to Indy M ac Bank, 1xh.225. W e m ade paym ents to lndy M ac Bank Exh. 226 -

 227.W e were m aking those paym ents far after D eutsche B ank filed the no D ue Proces'
                                                                                        s

 of Services N otice Foreclosure h up until they 'got the Default Judgem ent against us

 w e paid.EM C, Exh. 228 -' 229 then the new bnnk D eutsche bank som e how stop

 taking ouron time PaymentsAnd iefused to take pafments from us afterthey secretly
 got y j.And now this new Bank who have harassed us,helped sink my boat in my
 back yardj G odsz.com #10 A . and broke into my house and stole from us, see police
                                                      '
                             .



 reportExh.230. And now this Fraudulent Deutsche Bani is now Evicting us from the

 hous: Exh.231. w ith the help of the Clerk of the Courts. See video of Clerks have
                                                           *
                                      .

 allow ed unsigned N otes like ours to be illegally recorded and then bankg foreclpse on
                                                  >                       '


 u with no Note even ifyou are paying on time with the help ofthejudge who withotit
                                              (                                           *

 seeing the N ote that is Com pletely FM UD ULEN T B lacked out signatures from the

 D ade County Records D ept.'W OW G odsz.com at the top of the web site # A A. and
                            *

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     AB.. Thev m ust be stoppedl!!! this EV ICTION IS ILLEGA L A'Nl3 l JU ST TO TH E

     FTC TO PRESIDENT TRUM P'S NEW BXNK FM UD TASK FORCE!!! HISTORY
@ OF .TH IS FM UD AN D H OW THEY D lD IT! The property w as quit claim ed by

     ow ner A lexander M orei'a over to Tanna Carter, James Buckman and to himsel?

     (ALEXANDER M ORERA) 10/01/04, Exh.2 32 We had a lease with an option tp
                                                   .
                                                         '

                                  '

     buy for 14,000.00 a month,Ex11.2à3.A1l.before LancastérBank Fraudulently Recorded
     an unsigned blacked out M ortgNge N ote Exh. 234. And before the so called
         *         .
                            :    -                                                        .
     sale to Leroy W illinm s,and Alex'ander M orera,Tanna Cârter and James Littlejolm quit
                                           :   .

     claimed itoverto Jnmes Littlejohn and Leroy W illinms 12/06/04,Exh.235.Then Leroy
                                                                                         *

     W illiams quitclaimed itsolely to James Littlejohn 07/08/06,Exh.236.James Littlelohn
     then Quit claimed it back to himselt Robert Clark and Leroy W illiams on 02/05/2008,
     Exh.237.And James Littlejohn, RobertClark and Leroy W illiams quit claimed it to
     JamesLittlejohn,Exh.2*
         .
               '
                          38.lastly James Littlejohn quit itto M aurice Symonette,James
     Littlejohn and M icaiielNichlôson 01/01/07, .:xh.239. There was supposed to be a
     Sale Closing on the house but Leroy W illiam s did not jliow up and Alexander M orera
 '


     did pot show up because he ôuit claimed the property before the so called closing
                   *             w
                            $                                '                           .
     date and could not be fotmd.After arguing.Alexander V orera and Leroy W illiam s did
                                                                           '
                                           >   .


 not sipz the N otes and the closing D ocs, but som ehow the title com pany or som e one

     kept the moqey. The Proof of this is Attomey Title lnsurance Ftmd (ATIF) sued
     Flam ingp Title Services Inc.'who w as supposed to do the closing on the house. ATIF

     Accused them of keeping the m onùy from the closin: that did not happen w ith Leroy
     w illiams,Exh 240 -- 2h6.W HICH WAS SOM EHOW RESOLVED between Flamingo
     Title and Title Insurancè Conïpany, see Exho 240. & 241. On the sam e day of Oct.

     20,2005,and a letter had came to tellus that they woùid notbe accepting payments
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                                      @


             9om .us to otlr form er bank and that it w ould be going to Indy M ac Bank and we

             w ere m aking the paym ents to. lndy Mac and then three months l
                                                                            ater Deutsche Bani
             filed a foreclosure against us that w e didn't know they had liled which is no Due

         '
             Procëss and then sudde#y Deutsche Bank sent a paymentmoney back to us and then.
                  *                       v

             told us that they w ould not be 'accepting paym ents 9om us anym ore because they w ere

             foreclosing on us but we w ere paying EM C and lndy M ac Bank and w e replied to

             them to prove their dept. Exh.247. W e had no idea who D eutsche Bank w as'and that

             they w eie foreclosing on us, w e found out D eutsche bank w as assir ed the note by

             M ERS Exh.248. and w ithout N oticing the buyer as required by RESPA 12 U .S. CODE.
                                      *


             j 2605 arid According to F.S. 701.02(1)(2)(3) and aljo in the original gaudulent
             m ortgage note PAG E 11 num ber 20 w hich'states that thç sale of the note or change
                                                .




!
!
             of servicer the borrow m ust be given notice according to RESPA 1aw 15 to 30 days
    *
             Flori-da Statute'M ER S got th'
                                           e N ote from Lancaster bank but Lancaster never had a.

             closing w ith Leroy W illiam s. N otice requirem ent - The borrow er m ust be giving *15-30

             days notice before note is sold pr assigned to another entity. (RESPA Law 12 U.Sz
             cooE j i60s),F.S 701.02 (1) and also in the originaliaudulent mortgage note PAGE
             11 numàer 20 states that the sale of note or change of services the borrow m u:t be
             given notice according @to RESPA 1aw which is 15 to 30 days. But the gaudulent '

             Assijnment'was signed Oct.20th 2005,Exh.249.the snme day as the fraudulent closing,
                                                                     .                                *

             w ritten on the front page of.the.M ortgagé Assignm ent! Exh.250. w hich m akes this

             Assignmentvoid.(1) No instruyent by which the title to realproperty or any interest
    e.           @'                                                  .
             therein conveyèd, assigned, ehcumbered, or otherwise disposed of shall be recorded by-

             the clerk of the clerk unless YHIS M ORTGAGE NOTE IS FRAUD because in' #20
             OF The m ortgage N ote it says in accordance w ith R'
                                                                 ESPA D isclosure after settlem ent
                                                                                                           '
                                                               a,
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                                                                                 19

 1aw they m ust give buyer. 15 days before selling the N ote. But they're saying they

 sold assigned N ote the sam e day as settlem ent w hich voids out A ssignm ent F.S.

 701.02(1)42)43).THE M ORTGAGE NOTE HAS.NO SIGNATURES W HICH IS AT,SO
 DA DE CO UN TY RECO RD S CLERK FRAUD AND DADE COUNTY DOCKET

 CLERK FRAUD . F.S. 701.04 Y OU M UST RECORD

 A SSIGN M EN T W ITH 60 DAY S,our A ssignm ent w as signed Oct.20,2005 but recorded
      o     *



 03/21/07       Void their is no address or Legal desçription on the N ote. W herefore

 Plaintiff seeks relief as accorded by the applicable Statdte, including, but not lim ited

 to: St
     *
       am tory Com pensatory .dafnages for each separate violation according to proof;
                 .

 Exemplary dam ages      :                                                                 -
                     for each separate violation based on the net w orth of the D efendants
                                         :   .

 on their own behalf, and on behalf of the co-defendants; Declaratory reliet including

 permanent injunctive relief, prohibiting these defendants, or any of their agents or
 assigns, f'
           rom any further bm aches of the stam te; Reasonable attorneyis fees and court

 costs according to proof, Such other and further rzlief as the courtdeems just and
 Proper.Pursuantto 5764.72 (2002), SLA.STAT.,Plaintiff reserves the rightto amend
 this com plaint to add a prayei for punitive dam ages.upon a show ing by evidence in

 the record providing a basis for recovery of such damajes.

                          $                           .
  TH IR D CAU SE O F AC TIO N W O LATIO N OF FL. STAT. 823.11 AN D 705.101.6

 A ND NO R TH M IA M I O R D INM CE 10-19 C ITY N O RTH M lA M l BY O R DER
                                                                                         @

 O F U S BA NK       TO O K   M Y $2 M ILLION YA C H T G O D S2.CO M            V ID. 40

 W OLATION OF THE 1964 DISCRIM INATION ACT AND FL SG TUTE 775r085.
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            '

                    The C l
                          1ty of North M inm i Violated the 1964 D iscrim ination . Act. by
                *                                            .                       .
                                                                     '
                                                                                 j
                    violating M r. Sym onette's constitutional néhts in the form of threatsy
                                                                                           -

'
j
                    intim idation and coercion from Jolm Quirino of Qukino Construction,City M anager
                                                         '
                                                                                         .                  w


                    t-arry spring, city of xörth M iami police bepartment wad sea Tow.vr.Quirino who

                    also said to M r Sym onette that tdNiggers calm ot own Yachts, that they w ill sink black
    *                   *         .

                    owned Yachts to take thtm''.V r.Quirino and his wife called Mnsymonette to his face'
                    a (W igger'' and said they w anted to blow up his house for having a Yachtand beiny

                    here,1 have a rightto live a decèntlife as Iplease withoutbeing called a niggerthef
                    should pay for calling me a nigger see (People v.M ackenzie) No.11011813 decided
                9 m ay 9, 1995 the 6'h district court of Califorina Judgp ent against M ckenzie for calling
                                                             .




                    neighbors niggers they dhould pay a $5000.00 fine.-fhe Citv of North M iam i Police-

                    D epartm ent. and the City of N orth M iam i City M anager Larry Spring said that M Y
                                                                         *
                                             .

        @           N EIGHBOR Ouirino Ordered 'him 'to rem ove m y Yacht, so w ith the A pproval of City

                    A ttorney Jeff H Cazeau by w ay of Police intim idation and coercion illegallv seized
                                  *
                                                     .           .

                    M r.svmonette'svacht.'
                        *
                                         the above also committed a Hate.crime againstM r.Symonette,'
                                                 u
                                             .



                    according to FL Statue 775-085. Because 1 am a B lack M an and a Black Conservativp

                    who oq Radio and TV thatI was going to get a Loan on m y Yacht and F1nance the'
                                                                             .



                    Black Republicans to help A epublicans win and Finance our VET. Event called the
                    A OA Aw ards w ith the City of M IA M I and the M ILITA RY with Lt. Col Colm enares

                    the H om eless Veterans Foundation of the City of M iam i, to finance their yearly Stand-

                    Down to help VET.needs, W ounded W TS. and to Hbuse Hom eless VETS.And oqr

                    m oto is a11 People Latin, Blâck ànd W hite m ust Unite See AmericanGala.com . But

                    right aAer the annoulw emept l GOT A STRANGE CA LL SAYIN G LET'S SEE IF
                    YOL!R SUNKEN YAHT CAN GET YOU THAT LOAN NOW ! Then next 1 got a call
                                                                                                 *'
                                 o

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        from the Police that my Yaclit wa
                                        's lisping and sinking in my back yard. W e looked
    '

        in the back yard and we sqw Nomeone who looked like Mr.Quirino'
                             .                                        s Son rtm out of
                      *
                                     a
                                 $                                                           .
                                                                                                 '


        my hack yard to Mr.Quirino's HOUSE NEXT DOOR.'W e ran to the back to try
                                               â   .

        to stop
        '
        t     A the Yacht from sinkinz
                                     x'''r but couldn't stop
                                                           *
                                                             it. Then the Police cam e and
                                                               .


        then the C oast (iuard canze a Iitfle Iater and .discovered that the b             *
                                                                              rand new Yacht

        w ater pum ps were aII D isabled by disconnecting the batteries and electricity pow er

* w ith a D iver later and aIl the ropes w ere CUT 'to D eliberately m ake the Yacht
                                                                                                 b
        slip aw ay from the D bck and sink aw ay from the D ock but because the w ater

        was shallow the Yacht only '
                                   sunk the nrst noor of ihe four story Yacht and did
        not fully sink just hit the dirt with two and a half siories stillabo#e water.The
        Ropqs were not popped frmm ëwater weight they were knife CUT. I had the rope
        tied to the Dock in a w ay thut if the Yacht sank it Would Iean towards the house
                                               #   .

        And Dock that the Yacht could easily be pum ped out and renoated as taught to

        m e by 'Yacht Captain Bill because this happened tp m e before as a Iesson w ell

        Iearned.. That's w hy the w ater pum ps 'w ere aIl new and there w as no O iI in the

        engines or on the noor as they have been thoroùghly cleaned and I was w aiting

        to install : new stove and a second of two Entertainm ent G enerators. N ow before

        and since the LAW SUIT wis filed I Sym onette was threatened by M r. Quirno's
                                                                       '
                                                                   .

        son and Guys at their home keep taking pictures of me like the V OB USG G
        HAND ACROSS THE THRYAT gestures as threats on my LIFE!W ow it Ioolts
                     *               .     .
                                 %
        like ïhey're going to get 'aw gy w ith this Racism theft one of the guys said, you

    'negroes can'twin dude the Courts are rigged againstBlacksand rode offlaughinj.
        I have now noticed that its never W H ITE 'G EN TILES that are the R gcist, its               '

        alwàys these EA ST IND IAN S, PAK ISTAN IS,A R ARS & CA NA ANITES qcting like
p                                         ''               @
                                                                                                      '
            ,
*
                                    $
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            W hite G entiles but are not G entiles, like Sicilians of Sicily acting Iike Italian W hite

            G entiles but are really R ed D ot in the H ead East Indian G ypsies W are W olves in

            Sheep Clothing (Iooking like Gentiles but âre not) these are always the
            actual R acist ad act out R acism on Black People and W hite G entiles, See that

            G entîles are not Canaanites on G odsz-com #lz. I hav: noticed this every tim e that

            the Courts have allow ed them t: get aw ay w ith this R acism and Theft even w ith

            real witnesses the Courts jus@t disregards them Iike not humans or sheep Ied to
            the jlaughter'with no vights;even ifseen on video and thel'justtake our property.
            and Iively hood like the w are w olves .they are and hold them selves not Guilty
                                                                                                     *


            using the C ourts to actually C annibalize us, Zachariah 11:5. You m ust R epent

            because the LO RD YAH W EH w ill not at aII A cquit the W ickvd you w ill be

        @   revealed on TM Nahum 1:3 and zThessolonians 2:1-11!REPENT or you'and your

            FAM ILY will be CUR>ED to the Body and Soill Destruction of HELL! I have
            W arned you this w ill be Iike the Days of Noah (they didn't REPENT and Died
                                           .




            or like JONAH the RULERS REPENTED & LIVED). Just Itnow that
            C yrus is here and M ichael is w ith him the tw o Bretlzren the Jew and the
                *         .
    *                               4     *
            Gentiles which is the whole body of CFTRIST 1 èörinthians 12:12-13.A nd             .
                                                    A   .
                                                                                                     *
            '
            w e're com ing for Y O U this we Swear!!! A nd if we lose GOD will burn

            the W hole W orld (you), so it.won't matte4r anyway! The same parties also

            caused M r. Symonette great emotional distress by int
                                                                licting neglikent and
            intentional distress by illegally seizing his Yacht because he w as going to'

            refinance his Yacht to raise.m oney for the hom çless Vets at a charity concert.
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            Intentional w rong dokng and violation of civil rights w ere com m itted by all'

            of the Above mentioned parties. (jurisdictions have a separate tort or
o
            delict'of ''verbal inj
                                 aury''.-''int
                                            o entional infliction 'of
                                                                   . em otional distress''1
                                             ,



    .       ''outrageousness''1 or
                                 $
                                   ''cqnvici.um'')1 involving.the making ofa statement,-
                '

            eVen if truthful, inteided to parm the claimant out of malice'
                                                                         , In
                                                                                             *


            addition, A City of N orth M iam i Police O ffcer told M r. Sym onette he had

            until W ednesday to m ove the Yacht before the City cam e back. O nce M r.

        o
            Sym onette got a crane for $3,000 to lift the.Yacht on M onday Sea Tow

            m oved in and seized -
                        *
                                 the Yacht, 2 days before the deadline.Please see Police
                a



            om cer saying M r symoneke had untilw ednesday to move the Yacht.(Go
                                     .
                                                     '
                                                                       -
                                                                   .



            to Youtube.com     Search - U nlaw ful Boat Seize -12:06 or Godsz.com 8A
                                                 a                                       .



            //2 L- Police Ofticer:speakingk) John Quirino of Quirino Construction and.
            his w ife m ade racist rem arks and ealled M aurice a nigger, City M anager
                                                                                      *



            Larry Spring, Jeff H . Cazeau and through his iniuence, intim idation and
            coercion illegally caused the seizer of M r. svm onettes Yaéht which also
                    *                                         .


        9
            caused Sea Tow w ith gun and arrest pow er öf the N orth M iam i Police to               '
                                                                                                 .
                                 @

            Tow .and D estroy thé Yacht. and paid $74,450.00 then got the m oney ofr
                                                              .
                                                               '




            the Yachi and now want t!s tc?pay the $74.45(i.00 back for th: illegalTow-,

            the tow was illegal too begause their was no Court order to take the boat

            so sea tow ts at fauh als.o l a.m asking for Sea Tow.to re
                *                        h
                                                                     'pay Double the.
            amount($74,450.00)thatthe City ofNorth M iamisay thatthey paid to Sea
*       Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 65 of 160
                                                                                    19
                                         @

            Tow, (see godsz.colq presslo.A then exhibit #17 videp), also that M aurice.
            Sym onette w as D iscrim inate'd against, the City violated his

            constitutional rights concerning to the first cause of action.
                     J                           .




                                 VIO LATION OF FL. STATUE 823.11
                                     @


            The'City 'of North M iam i violated the statue because the Yacht w as not

            an abandoned and defelic vessetand it did notblock the public navigable
             '
            Waterway.w e have com municated with the 3 Agencies ihat the city of
                 @                                                                       .       .
                             .
    *                                :
            North M iam icalled to the scene to investigate.They are Fish and w ildlife,

            The US Coast Guard and Dade County Investigative Unit DERM anà
                                             .            -                                          ë




            neither felt it w as necessary to w rite up a report that thç Yacht w as a

        9
            publ
            'm'
                ic or environm ental hazard.Therefore none of these Agencies'ordered
                                                 .            .
                 .



            the Yacht to be rem oved. For this cause w e are asking for Relief and'

            Damages.( See exhibit A2) has two reports 1.Coast Guard Report and
            DERM Report. 823.11 D erelict vessels; relocation or ren3oval; penalty.-
                                         d
                                 '

    (.
     4)As used in this sectiqn,ihe term:

    (a)''com m ission''means the'Fish and w ildlife Conservation com m iision.
    (b)''Derelict vessel''means a kessel, as pefined in s. 327.02,that is Ied,
            stored, or abandoned:
                         *
                                                 in a wrecked, junked, of substantially
                                                                                .            .
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        dism antled condition upon any public w aters of this state.A t a pod in

    * this.state withoutthe consent ofthe agency having jurisdiction thereof.
                              @

          1. . D ocked, grounded, or beached          upon the propedy of another
*

        w ithout the consent of the gw ner of the propedy. This Yacht w as not

        an environm ental hazard, di
                                   @
                                     d not have a hole in it and di.d not block a
           *         .


        public w aterway and $w as*not i'n navigable w aters. This w as a11 contirm ed
            *                     u

                                              .   .                      '

        by The U S Coast G uard, D ade County lnvestigative U nit D ERM and thç

        D epartm ent of Fish and W ildlife because'no one m ade a report tt? this

        effect because the Yacht w as tied to a private dock and not considered a

        public hazard. The City of N orth M iam i therefore violated their ow n
                              @



        ordihances by illegally seizing; M r. Sym onette's Yacht.This cause of action

        is one ofthe reasonswe ate seeking reliefand damages in thismattentSee
        both Exbs.251)See City ofNorth M iamiBeach Hold the hearing concem ing
           @         .



        this on youtube type in '&shprt on G odsz.com #8A -16.That boat w as m yde
                                              â


        bf alum inum and w orth at least $300.000.00 in scrap nletal lf they sold

        it to a scrap m etal com pany they are supposed to reveal that infoM ation

    9   to m e in which they have not, and a1l this inform ation and proof o'
                                          .
                                                                            f what

        w as said and done is'on the videos that were m entioned above if the City

        m ade A4oney even on the


                                      @
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    @


&
              A lum inum it should belong tq the ow ner because they toèk the boat

              illegally and a yacht that =as worth $2,000.000.00 on the appraisal
                 @        .


              p1aintiff is asking fo? trebble in damages his suffering and em otional

              '
              strain,plaintiff was going to sellthe boat and use the proceeds toward a
              show for the veterans and to V ing people in to help getjobs for vderans
              with a1ithis done against M aurice Symonette from the 3.

               4.beginping by forcef
                                 @ ul
                                    . ly taking the boat w ithout a court order and then

    -         destroyin: owners bo>t w ithout his permissioil with no receipt of where-
                                           @   @                    .
                                                                ,




              they took it to be destroyed or having no receipt that they paid to Sea

        ' Tow to get It illegal: toWed URL hûps://youtu.bç/zkjcda76dly.
              W OLATION O F THE CITY 0* N ORTH M IAM l ORDINANCE 10-1q

               The Citv of North M iam i violated this'Ordinance because they used

              this or'
                     dinance to illegally seize M r. Sym onette's Yacht.How ever;this
         (?                                    .




              Ordinance and Violt ion notice only states he cah be fined up to

              $250.00 a day,Sree Exhibit 252).A Court Order was never received
              by M r. Sym onette to give the City of N orth M iam i the authorization to

              legally rem ove the Yacht.Thij clearly show s M rkSym onette's rights w ere
                                           .
                                  $                                                         -
                  *                   .z

              violated as a resident of North M igm i.This Ordinance also states that
              the City of North M iam i can help refloat the Yacht and then only
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        .Puta lien on the property.Insteaà ofputting a Lien on the property
        as even suggested by the M ayor and other City Com m issioners at the

        Commissioners Hearing on May 26th,Ci (y- M anager Springer.chose

        to illegally seize bis Yacht.(Hearing Video available) The Ordinance-
*       also states they can only take a sunken Yacht if the Yacht sunk in

        public w aters and w as blocking the public w aterw ay. The Yacht w as

        n ot'
            sunken only tiitfd in the water.It was also not in public waters or          .




        blocking the navigable waierwayz(video available) This was definitely
        not th: case because the Yacht w as tied to a private dock and not
                                       .   .      *




        blocking the public w aterw ay. This clearly show s M r. Sym dnette's rights
    *                                                     .
        w ere violated as a resident 6f North M iam i and Am erican Citzen.
                             *



                         W O LATIO N O F FL STATU E 705.101.6

        The City ofNorth Miami'vioiated this statue beiause Mr.Symonette had
                                   @
        the .right to claim his pp perty w ithin 60 days once the property w aj
                    .




        SeiZe'd. H e was never glven this qpportunity FL STATUE 705.101.6 FT
                                                      .




        Statue 705.101.6 states:

        (5) Eçunclaim ed evidenqe'' m eans any tangible personal property, including

    * cash, not included w ithin the detinition of Gûcontraband article,'' as provided

        in s.932.701(2),which was seized by a lasv enfbrcennent agency,WaS
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      (6) intended for usq in a crim inalor quasicrim inalproceeding, and is

      retained by the 1aw enforcem ent agency or the dlerk of the county or
o
      circuit court for 60 days a'fter'the final disposition of the proceeding and

      to F hich no
                           $

      (7) 'claim of ownership has been made.Exh.(253).For this çause of.
      action w e are claim ing relief and dam ages.M r. Sym onette should have
                                    .




      been given has up to 60 days to get a sunken Yacht up and rem ov'
                                                                      ed. But

    @ M r.Symonette was only giveq 3 weeks to gejthe Yacht up and o'ff tlte
     property before it w gs seized by the City of N orth M iam i. A cotlrt Order

     w as never received nor thè Yacht sold at an auction. A ccording to the City

     of N orth M iam i Ordinance a Court O rder is required to seize som eone's
                               *               '
                                                          y
     property. See Lozm a: ks C ity of Riviera section 11 of the D istrict Court's
          *                    .
                               u

      opinion that states that they' used 'proper procedure Court although M r.'

     Lozman ultimately won the dase. See belpw.(from actualcase) 11 tçAtthe'
     outset w e consider one threshold m atter. The D istrict Court ördered the

     tloating home sold to satisfy the City's judgme
                                                   ent.The City bought the
                           @

     hom g at public auction and subsequently had it destroyed.A nd, after the

     parties filed their merits bliefj,we ordered furiher brieting
     on the question of m ootness in light of the hom e's destm ction. 567 U . S.

     (2012).The parties nbw liavç pointed out that,prior to the home's sale,
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                '
                                                           d                   '
*                   the D istrict C ourt ördered the City to post a $25,000 bond ç<to secure
                                      .
                                             &         *                       '
                          tl'                    ..
                                                  ;.
                                                  .
                    M r. Lozm an's value in the vessql.''                          R ecord, D oc. 20, p. 2. The bond

                    ensures that Lozm an can obtain m onetary relief if he ultim ately prevails..

                    W e consequently agree F ith the parties that the case is not m oof'.A Claim
        '
            *                                                      .                    .

                    of ôwnership w as m ade by M r. Sym onette im m ediately after the Yacht w as
                                             @


                    seized. (See Exhibit 1.6 and). For this cause of action we are claiming
                    relief and dam ages in treble .the am ount in the am ount of $6,000.000.00

                    m illion. The C ity of N orth dM iam i is responsible is also responsible for the
                                             :         *                                             .                 -
                    seizure and destruction of Sym onettes yacht, w hich in turn m akes Citv
                                                 .

                                                                       â   .

                    M anager Lany Spring and his attorney Jeff A . Caceau responsible.
                                                               T




                                           W O LATIO N O F FL STATUE 760.5 i

                    The City of North V iami violated the statue because violations of M r.

                    Sym onette's constitutipnal rights w ere com m itted in the form                       of threaïs,
                                                                                                ''
                                                                                            .



                    intim idation and coercion from Jolm Quirino of Q uirino Construction,City
                                                           @

    '
                    M anager L érry Spdng, C ity of N orth M iam i Police D epartm ent and Sea

                    Tow         and W estland Towing.M nouirino also said to M r Symonette tpat
                    RN iggers cannot ow n Yachts, that they .sink blaclt ow ned Yachts to take
                                                                                            *

                    them 'l.M r. O uirino and his w ife called M r.Symonette to his face ad
                                 .
                                                                                          çNigger''
        *                                                          .                    .

                    and said they w anted to blow up his house for having a Yacht. The City                                '
                                                                                                                       .
                                             @
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        of N orth M iam i Police D epartm ept,the C ity of N orth M iam i C ity M anager
                            .




    Larry Spring w ith the A pproval of City A ttorney Jeff H Cazeau by w a v
                                                                                         '
                                                                                     o
                                @   .

    of iptim idation and coercion illegally seized M r. Sym onette's Yacht. The
                                                         '
                                            .




    above atso com m itted a H ate Crim e against M r. Sym onette according to

'
    FL Statue 775.085. The sam e parties also causèd M r. Sym onette great
           *        .


    emotional distress b; intllcting negligent and intentional distress by illegaliy
                                            â
    seizing his Yacht because he was golng to refinance his Yacht to raise m oney
    for the hom eless Vets at a charity concert. lntentional w rong doing            *
                                                                                    and

    violatian of civil rights W as com m itted by al1 of the above m entioned p>rties.

    Jurisdictions have a separate tort or delict of ''verbal injury''> ''intentional
    infliction of em otional distress'' ''outrageousness'' or ''convicium '' involving

    the making ofa statement;even iftruihful,intended to harm tie claimantout
    of m alice; ln addition, A. City of N orth M iam i Police O fficer told M r.
                                $       *                      .
    Sym onette he had until W ednesday to m ove the Yacht before the City cam e
                                    .




    back. Once M r. Sym onette got a crane for $3,000 to lift the Yacht on M onday
    .

                                                                                     @



    Sea Tow m oved in and seized the Yacht, 2 days before the deadline. Please

    see Police O fficer saying M r. Sym onette had until W ednesday to 'm ove the

    Yacht.(Go to Youtuke.çom - Search - UnlawfulBoat Seize -12:06                Poliee

    Om cer speaking.).This Yacht is worth 2 milliôn dollars. See Exh. 1.7 M r
    Sym onette believes that som eone associated w ith the City of


                                A
                                    @
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                                                                                             19
                                        .       $                '

         N orth M iam i m ight have 'caujed the Yacht to be tilted by cutting the ropes

         tied to it. H e also believes rthis because of the illegal w ay the Yacht has been
             .                                                               %t-

                                   %
         seized. Furtherm ore, C itv        .   M anager Larry Sprtng refused to givç him
                                                        s   x'                         '


         'inform ation on how to get the Yacht back or where it is located or (h
                                                .                              *
                                                                                 e
         salvage recùrds. A civil penalty can be brought forth by the Atlorne# General

         by bringing forth a civilaction for the violatiop of M r. Sym onette's rights.See

         m ore details of this Florida Statue below.
             o        ''



           (1) W henever any person, w hether or not acting under cqlor of lam '

         interferes by threats, intim idation, or coercion, or attem pts to interfere by

         threàts, intimidation,:or coercion, with the exercise cr enjoyment by any .
                                            .
                                                                             '




         other person of rights secured by the State Constitution or laws of this

         state, $he Attonw y G eneral m ay bring a civil or adm inistrative action for
                                                                     e




         damages,and for injunctive or other appropriate relief for violations of the
    t,
         rights secured.Any dam agesrec
                                      'overed underthis'
                                                       section shallaccrueto the injured
                                    @

         person.The civil action jhall be brought in the nam e of the state and m ay be brought

         on behalf of the injured person. The Attomey General is entitled to an award of
         reasonable attom ey's fees and costs if the D epartm ent of Legal Affairs prevails iri an

e        actien brought.under this section.

                   (3) A ny person w ho interferes bv .threatse intim idation. or coercione or atïem pts

                 j.q interfere by threats, intim idations or coerciom w ith the exercise or eniovm ent
                 by any other person of rights secured bv the state constitutiop or law k of this

    *                                               .                    .                          .
*
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                                                                                                        *
               state is liable for a clvil penalty of not more than $10.000 for each violation.
               This penalty may be recovered in any acïion brouaht under this section by the
               A ttom ey G eneral.A civil penalty so collected shall

                 (4) accnze to the state and shall be de osited as received into the General.

              'Revenue Fund unallocated. Some jurisdictions have a separate tort or delict of
               ''verbal iniurv''9 ''intentitmal infliction ùf emotional distress''* ''outraqeousness''* or
                             .




               ''convicium ''s involvinq the m akin of a statem ent even if truthfulm intended to
Q,        *             .,

              harm the claim ant out'of ldalice'
                                               . ln addition. A City of N orth M iam i Police
                                            '

               Officer told M r. Symonette he had.until Wednesday to move the Yacht V fore              Q


              the City cam e back. Once M .
                                          r. Sym onette got a crane for 3,000 to lift the Yacht

               on Monday Sea Tow moved in and seized the Yacht,2 days before the Y adline.
     P
              Please see Police O fficer saying M r. Sym onette had until W ednesday' to m ove

              the Yacht. go to Youjube.com - Search - Unlawful Boat Seize -12:06 - Polica

              Officerspeaking nearend ofvideo).ln addition,there wereseveralotherviolations
              that the City accujed M r. Sym onette of that w as incorrect. The sections under

              City Code 10-19 to 22 ,under Junk Vehiclesg roperty does not apply to M r.
                        *               a

              Sym onette's Yacht.seeon Godsz.com ---#8A and #8A-16 & 17 see Exb.254 The'

              lrst paragraph refers to abandoied'
                                                . derelict or iunk property. M r. Symonette's

              Yacht does not tit this dèscription. (Video available) Go to Youtube-com --
              Search - U nlaw ful Boat Seize -12:06 to show roof of illeggl seizure and value

     *        of M .
                   r. Sym onette's Yacht. esbebe Section 1) The Yacht has a value of 2 m lllion
                                                .




              dollars which is. m ore than nom inal salvaae value. ( See Exibit 255- -

              Survev/Appraisal of Value of Yacht) Section 2) Does not apply to Mr.
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                                                                                           19

                   Sym onette's Yacht as he w as able to get a crane to lift it out of the water
                        '
               o                                                 .

                   Section 3) Does not apply to M r.Symonette's Yàcht hecause
    &                (5) it was not oilpublic property bui But it was on Mnsymonette's propçtty
                   without legislative authoization. Section 4) The Yacht did not exhibit physical
                            '
                            r
                            .           .   -                                                       .
                   dam age other tha; the ropes w ere cut by som eone that caused the Yacht to tilt

                   in the w ater. The

            (6) Tow Companies were not the ones that g?t the Yacht up but billed The City of
          North M iamiforthe job anyway.Section S) The Yachtwas put in an uprightmanner
        . after M r. Sym onette got a crane to lift it out m ove it The City of N orth M iam i Police
                                                .                ..




          told him they w ould gk e him tmtil W ednesday iq move it. Instead, they cam e thaf

          Tuesday once he got it upright.The Tow C om panies could not eet the Yacht uprieht

          but seized it soon as V r.Sv'
                                      m oliette eot it uprieht.The'Citv Y North M iami came
          the day before ön a Tuesday when he aot it upright.The City of N orth M iam i Police
d
                                     :      *
          told.

                     (7) him he had tmtil Wednesgav.to aet t
                                                           he boat1 Video ava'ilable to show
                   Police saying that) see alsl Timeline of rventse Exhibit 2563. Section 6lsince
                   this Yacht w as

                     (8) at a private hom e dock this section does not apply Sea Tow told M .
                                                                                            r.

                   Sym onette they W ould charge up to 8-13 thousand to lift the Yacht. The City

                   M apager Larry Spring said it would cost 74,759 dollars to pay Sea Tow to geJ

                   the Yacht.This isa majo
                                         'r discrepancy in price.He atso stated thatifthe $74,750
I
*
                   dollars is not paid he Will destroy the Yacht However, after M .
                                                                                  r. Sym onette
                                     %                                                              -
              .    attended a City of N prth M iam i hearing about the Yacht the City M anager said
                                                    :   .

                   he w ould m eet w ith M r. Sym onette to m ake arrangem ents for him to pay the
o
            Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 75 of 160
                                                                                                              19
                 '

                                                       p       .         (           .
                 .       $74,750 .dollars to ge! his Yacit àadk. The M ayor and m ost of the City
                                           :       ,                                                                   -
                                                           '
                                                               ..  : .       '
                                                                             .
                                                                                 .       ''
                                                                                                  .
                                                                                                      '
                     j
                     N                                     .
                         Com m ission was stadled.that thij situation even happened and encouraged the    '
                                                                     â   .

                                                                                                                   *

                         City M anager to meet with M r. Symonette for him to get his Yacht. (Video                    <)


                         av
                          'ailable from this hearing.) However,wh'
                                                                 en M r.Symonetie metwith
                           (9) the City M anager the next day he w as told the Yacht w as destroyed to M r.

                         Sym onette's surprise. Even if the Yacht w as destroyed alum inum m aterial it is

                     .   m ade Qut of is worth $ 300.000 thousand dollars for a profit for personal gain.
    *                    W hdre are the Salvage

                           (10)R ecords and w here w as the Yàcht destroyed? M r. Sym onette even presented
                                                       d
                 '
                         banW u tc    a e ork to the Ci to show the Yacht Fps in Bankruptcy at the
                     '

                         time but itwas totalty
                                              ' disregardqd see exhibit?/257 Pages 1-7.An official'order
                                                                                                                   *

                         from a Judge to rem ove the Yacht and to destroy it w as never received. M eeting

                         inform ation from City of N orth M iam i Com m ission hearing on M ay 26, 2016

                         The City Attornçy kept quoting and stating incorrect things about the situaiion.
                         M r. Sym onette feels he w as doing this on purpose to cover up he and the City.
                                           e

                     '
                         M anâger's w rong doing. H e stated the Yacht w ms in public w aters which gave

                         them the right to bypasï thç 60 day tim e fram e to be able to rem ove the Yacht
                                                                                                  '
                                                                                              .



                         A ccording to FL. Statue 705.101.6. (DERM , The US Coast Guard and Fish and
                                                       d
                 '
        @                W ildlife'did notcln/rrrrthis statementand is the reason they did notgetinvolved-
                 *                             u

                         in the m atter. The City m '
                                                    anager is held responsible for the yacht being tow bd.




            *                            W O LATION O F FL . STATUE 705.101.3
                                           @
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            VIOLATION OF CITY OF NORTH M IAM I M UN IC O DE SEC.5-602.-DO CK O F
                 '         THè CITY,OF NORTH M IAM I CO D E.
        The City of N orth violated his rights with this code. G o to wwwz.municoàe then se:rch.     .
                                  .    .                             '

                     '
               .

        Sec.5-602.D ock of The City of .N ol'th M iam i Code tu see the code reference as to the
*
        allow ed footage w hen using a piivafe dock.A Yacht tied to a private dock is allow ed 25

        feet. M 1c Sym onette's Ygcht occupied about 22 feet off his dock. This clearly show s the
    *                             :
        Yacht çannot be considered in a Public W aterway or in N avigational w aters as the Citv
                                                         :   .

        A4pnager and City Jkûorney w ere--stating unethically in the C ouncil m eeting. Video is.--
                                                     -                                           @

        available .
                  on G odsz.com press 10.A lhen exhibit #17 to show their com m ents. The City

        Attorney backed up the City .M anager by stating the Yacht is a derelict boat and was

        hubm erged under w ater, see exhibits '258 & 259, Video is available to show the Yacht is

        not a derelict boat and it-w aj tilted and not subm erged Jm der water. In fact the Yacht is

        w orth 2 m illion even tilted in the w ater, See Exhibit 260 City M anager Larry Spring
                                                                         ,




        agreed to m eet w ith M r. Sym onette the next day in the City Cotm cil m eetiùg on M ay 26,

        2016 tp discuss how to pay tke $75,000 dollars supposedly thatthe City paid to the Tow
                         *                 .,
    *                             $                                                               J
        Com pany to tow m y Yacht aw ay, ön Godsz.com #8A -16 W estbrook Tow ing.Instead,Larry
                                                .




        Spring; told M r. Sym onette he destroyed the Yacht after 2 days, on Godsz.com #8A-17

        The Tow 'Company said it was the City M anager'Larry Spring that made the decision to
        destrov his Yacht the sam e dày they tow ed it also w ith the authorization from the Citv
        *                                                                    .
        Attom ey Jeff H. Caz.eau. But while testifying before' the M AYOR and the City
                                  @.

        Comm ijsioner's at the City's Town Hall m eeting lied and told the Com misioners that if I

        Paid $75,000.00 I could get my Yacht back and told M r.Syï onette to m çethim the n> t

        day l could m ake the arrangem ents to pay and get m y Yacht back, on Godsz.com 10.A
                                                d.
        jhen exhibit //17.But when 1'got thçre the City M anager Larry Spring told m e that the
    *                             $                              .                                -
         Case 0:23-cv-61804-AHS Document
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*                    .


         Yacht was already Destroyed.Note .
                                          the ALLUM JNUM of which the Yachtwas made of
                                 .            :.' K J         .   'F
                                                                   .'.
         w as w orth $300,000.00 alone according to the 74 ft. legeth, 19.6 Breadth, 8.4 ft. Depth,

        '61.00 we
               ' ight tonhage and R ith tfle Construction and Gençral'Arrangement is al1Alum inum

         the weight of the A lum inum valu'ed at $300:000 00 notcounting Engine MetalWeijht.So
                                                          .
                                                                                                    *


         they Stole m y Yacht w ith the Cities Tax M oney, D estroyed m y Yacht and and split the

         $300,000.00 in Aluminum or sold the Yacht for 2 M illiun Dollars w llv A w tNDFM ,L

         theftSee Exhibit 270 PAGE 2. W ow that's EW L. So we see here ThatAttonhey jeff i1.
         Cazeau along with City M anger Larry spring is responsible for authorizing the said Sea

         Tow com pany to tow m y boat :nd then authorizing my boat to get destroyed tm know ing

         to M r. Sym onette and still until'this'very day they still w ould not 18t sym onette know the

         nam e of the com pany that destroyed his yacht.
    *


                               VIOLATION OF FL STATIJE ies.1e3.2B

             The C ity of N orth M iam i violated this statue because to destroy an

            abandoned boat w ithout tirst obtaining title is a crim e because Florida is
                                        .




            a Title State. See htfwc.com /boatin w atem a pderelict-vessels/claim s- rocess-
            fa s/that reference f'lorida being a Title Statezln addition, l w as supposedo'

            to be given 90 days to eet mv Yacht back according to FL Statuè
    '


            705.103.2b,Tit1e to lost o
                                     p
                                       r abandoned propery - t) ),Tit1e . to lost or
               *          .                    .
    ' abandoned property tis héreby vested in the Gnder upon the expiration of
                                                                                               *
                                                                                     .


            the 90-day custodial tim e period kpècified in s.705.103(2)(b),provided th#

             notice requirem ents of s. 705.103 have been m et, unless the lightful ow ner

            or a lien holder claim s'the property w ithin that tim e.,M r, Sym opette w as
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             '
                 never given that opportunity to claim his property w ithin 90 days accordingi
                 to the above Florida Statue because the C ity s4anager said the Aracht Nvas

                 destroyed. 9 Video is available show ing The City M anager stating this).AlI

                 of this w as approve by the City A ttorney. id not obtain title before thd

                 Yacht was destroxed., 1) Violation of bue Process of Law gave notice for
o
                 the hearing W e got no N otice of a M agistrate hearing that happened one
                                             d


        *
                 day
                   <
                     after Sym
                            <
                               onette'%sYâcht Sank which they admitthey nevertold us about

                 see Godsz.com.8A # 1b M r Sym anefte even presented bankruptcy paperwork
                 to O fficer M i ah to show the Yacht w as in B ankruptcy at the tim e it w as
                                                             *
                                                     .




                 being seized but it w as totally disregarded see exb.# 271 An oY cial order
                                         .




                 from a Judge to rem ove the Yacht w as never done or received.
                                     e




                    W OLATION OF THE 14TH AM ENDM ENbM ENT YOU CANNOT

                 TAKE A PERSON) EIFE LIBERTY OR PROPERTY W ITHOUT DU6
                                             'PR O G E SS O F LAW .



                 The Ci+ of North M iamiviolated this Amendment because they took M T.
                 Sym onette's Property w ithout follow ing due. process of Law they w ere

                 supposed to have a kourt hearing first then get an order from the court to
    *
                 take possession of the yacht, w e got no N otice of a M agistrate hearing thât
                                                 *       .
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        happened one day pAer Sym oneûç's Yacht Sank which they admit they

    .   never told us about see G odsz.com 8A # 18 none of this w as done first

        the City of N orth M iam i violated his life, liberty and property M r sym onette

        wastreated asthougj hèhad no Leagalrights.Mr.Syponettelegally owneq
        the boat and patiently waifed for.justice to be served as he is seekiné now
        plaintiF w as treated as a m an w ith no rights at a11 and in a country w herë

        w e are supposed to be counted innocent until proven guilty

        M aurice Sym onette w as treated the opposite w ay as if he w as guilty from
                                                                                        o
                             @   .

        the start, M aurice is Sui Juris w ith rights and should be treated as suçh, he
           .




        had already proved that he is the ow ner of the boat so w hat gave the City
                                         *   *
                                                            .
                                                                -




        ofNorth M iamithe right Jo destroy someone elses property? City manager
                       4
                                     '




' Larg Spring is reslonsiàle for for maurice not being notised about thd
                                                 :                        '

        hearing that was held a day after ihe boat sank and larry Spring and his
        A ttom ey w çre responsible for no due process of 1aw being canied out for

        this case.
P


                             @




' u oLATlok OF FANICRUPTCY U.S.C.362 (a)(1)(2)l3)(4)(5)(6)(7)(8)
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                                              d

    *Part ewner of.
                  the said$Yaéht KurtM arih had tiled bankruptcy during the tim q

     of the yacht sinking allbankruptcy,documents were shown to police (dfficer

     M irjah) and the City of North M iami but the Police and the City of North
     M iami ignored the Bankruptcy and just ran over it as if pzrt owner Kurt
     M arin never filed, plaintiff needs to be com pensated for them not honoring

     the bapkruptcy because bankruptcy stops any and al1 actions. The Police and

     Larry Spring is R esponsible for not taldng notice of the bankruptcy an

     stopping a11 actions of against The yacht. See exhibit# 272.
                                  $       *



         g.I.c.o RACKETEER IxFlwcE#cto AND CORRUPT ORGANIZATIDNS

                           18 USCA jj 1961-1968 (i) (B) O (D)

     *




        this whole case Falls unrder the category of IR.I.C.O .I which stands for Racketeer
        Inlluenced and C orrupt O rzxnizations a 1aw designed to attack organized crim inal

        activity and preserve m arketplace integrity by ùw estigating, controlling, and prosecuting

     those w ho participate or conspire to participate in racketeering, Enacted in 1970, the federal
                                  $   x           '
                                                  *   A                                               -

                                    uptOrganizytionsAct(RICO)applies only to activity involving
        racketeerInfluenced and Corr'
        in'terstate and foreign commerce . 18 USCA jj1961-1968 . Since then, mariy states h4ve

        adopted laws (gometimes called ddlittle RICO acts) based on the Federal Statue. The

    *


                                  *
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            '


                    Federaland most state RI'
                                            CO acts provide for enforcem ent not only by Crim inal prosecution

                p   but also bv Civil Iaw suit. in which the plaintif can.sue for treble damages) as written
                                                            *
                         p
                                                                                 '
                                                                                                               t .

                                  L                th                  falls clearly under the category *of
                    9om the blacks aw D id iohaly 7 Edition. This case

                    R IC O thé way it was tpnsacted from the beginning to the latter part,l feel like l hàve
                                                        *                .
    &                                                                            .   .



                    been robbed, so I am bringing R .I.C.O. charges against The City of N orth M iam i Beach.
                                                    @

                    R.I.C.O .also includes theft of. ro e       they ordered that m y property be taken, in w hiph

                    being m y yacht,w ithout any order from ,thr Judge under the orders of City m anager Lany

                    Spring and his attorney Jçff H . Cazeau in w hich they had no authority to take the plqce

                    of the Court w hich should have given the order for thé boat to be tow ed and then the

                    city manjer and his same att
                                               orney ordered thatthe boatbe destroyed w ithout the oF ners
                perm ission in which they never stated how m uch they m ade off my boat getting destrpyçd,
                                             @


                    I m yself knöw from a friend that worked at ajunk yard.t
                                                                           hatcrushed metaland he's seen
                m y boat before it w as taken by thç City of M iam i and sipce m y boat W as totally m ade

                    ofaluminum thatsitsworth atledast$300,000.00 justforthe aluminum,lhave been robbed
                under illègal ciicllm stmnces in 'a w :y that is im pm per for the City of N orth M iam i -to
                                                                                     '
                                        ..



                operate,by them operating in suc'h a m anner is the sam e m anner as racketeering, éxnmples          .



                of racketeering activity include extortion, m oney laundering, loan sharking, obstruction 'of

                iustice and bribery.The R .I.C .O .A ct becam e U .S.law in 1970,perm itting 1aw enforcem ent

            *
                to charge individuals or groups w ith Racketeering. In m y case its under the Befini'
                                                                                                    tion of
                O bstruction of Justice A nd theft m y property w as stolen, and I say ptolen because.it
                                             -




                was taken without the proper apthority from the Judge sold to a place that only the City
        *                                                                    .


                knows about, again,without me ttle owper g'iving them 4he permission to sellor get rid
                of m y property w ithout m y perm ission,never bring baçk any receipts to w here they took
*
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                           @        1 Entered on FLSD Docket 09/20/2023 Page 82 of 160

                            '


    it I don't know where they took it or how much.m oney they got from i
                                                     '    '
                                                                        t the whble
                                            1,
                                            ..       ..           ..




    situation has turn into an Ill
                                 egalcover-up ané theftofproperty and obstmction ofJustice.
                                                 @                     .


    TheCityofMiamiBeacNisgovemedbyacommission-Managersystem oflocalgovee çnt
    that com bines the political leadership 9f rlected officials in the form of a m ayor and
                                                                                             *

    com mission,with the m anagerialexperience of an appointed City M anager.In a comm ission

    M anager govem m ent, com m issioners are the leaders and policy m akers in the com m unity

    elected td represent the various segm ent of the com m unity and to concentrate on policy

    issues that are responsivee to citizens needs and wishes.The m anager is appointed by t>e
    com m i'
           ssion to carry out policy and ensure that the entire com m unity is being served. The
               '                ,                                                             Y'

    City of North M iami beach js govem ed by an elected .m ayor and six-m em ber city

    Com m ission w ho are responsible for canying out any law ful purpose for the advancem ent
                                                 d


    of the interest, W elfare h@a1th,'m orals com fort, safety aqd convenience of the city and its
          *                             .


    inhabitants as outlined in the Clty Charter..In my situation the City of North M lami are
    N ot acting like they are for the peoplee to adm inister Justice and eguitv for the people,

    they are acting like a bunch of m oney grubbing theives and the last thing on .
                                                                                  their m inds

    is Justice so I am asking for treble in dam ages,that is three times the amounf of my boat

    which is $6,000.000.00, City M anager Lan'
                                             y Spring lr.And Attom ey Jeff H. Cazeau are
                   '
          .
    responsible for this.




@                                   $
                                                  ê
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                       FOIJRTH CAUSE OF ACTIOg BANKRUPTCY
                                                '         VIOLATION WHAT THE.
                          CLERKS Dm :INTEA ERING W IT.
                                                     H FILING BANKRUPTCY


             p   Thq e w as interference at the Court house when w e w ere trying to file our Banknm tcy,

                 w e were told that at the Stephen P. C lark building on the 12th tloor we were in the-

    >'           w rong building to bring Banknzptcy papers in to stop the Sale on any house how evel
*
                 there was a W om an standing'riglit beside us who was Filing her Banknzptcy papers

                 and not only this them w erç adtual signs in the room w here w e w ere at that said File
                                         :    *                                                         -
                 your.Banlm zptcy here.Alsp took my zmillion yacht while in Bankl-uptcy.Exh. (273)
                 and see godsz.com vid. #40.



                 FIFTH CAU SE O F A C TIO N : V IO LATIO N O F TH E 14TH AM EN DM EN T AND
                 THE CIW L RIGH TS ACT OF 1964 THAT PROHIBITS DISCRIM INATION XND
             * D EPR EW ATIO N O F RIG H T S '
                                             IJN DER CO LO R O F LAW ! TITLE 18 U .S.C.,
               SECTIO N 242
                                         @



                 Aftei judges fail to steal homes for banks,banks have paid Commissioner
                 R ene Garcia to help them ! Com m issioner Rene G arcia Sponsored Racist

                 Legislation called Building and Unsafe Structure Legislation #220166'5
                                              *
         o
                                                                          '
                                                  .
                 discrim inately to help the B ankster's Steal B lack People's H om e likr m e.
                                                  .
                                                                                        ' .
                                                        ,


                 A nd like the Discrim inating Racist he is they only Black used thatlegislation
                 on B lack (nïe)!On EajterApril 17th,2022 Dadè County Compliance came

             @
                 into m y property w ithout a Search W arrant or the required Brake Ofder from
                                                                                                            '
                                                                                                        .
                 the County M anager. and kicked in the bedroom doors w ith the police

                 pointing guns had us kicked out the house at gun point and told us they
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         w ere Seizing the house
                             e
                                 because it w as an unsafe structure and turned off

         a11ybwer to the Property Fith a sick elderly person in the house in violation
*
                                                  '   '
                                  .                       ,


         of Fl. Stat. 366.15 (1) (2) uhder this Practicing racist discrimination with
         his Legislation to m ake.italegal to steal hom es from us M inorities w hile
                              $           *
         getting paid by U .S. Bank another illegal Conflict of lnterest w hich i! evil
                                              .


                                                                                     *
         .   ..
         and outrageous!!! B ecause in C om m issioner G arcia's 2012, Exh. 121.U ntil

         today Form 6 A ftidavits O ath 9om Tallahassee calleb FULL Ar       PUBLIC

     @
         olscl-östr     OF FIN A N CG L it show s on Part C. Liabilities secfion lines
                                                                                             '
                                                                                         .
         6 that he got $120,000.00 and on line 8 he got $11,000.00 from A lly w hich

         is GM AC, Exh. 120. W hich is the Servicer and Owner of U .S. Bank and

         HOM ECOMW GS, Exh. (100). And GM A/ is the owner of
                                              d

         H OM ECO M W G S, Exh.
                            $
                               'tll. A nd in C bm m issioner G arcia's 2021 Form 6-

         AffiâavitOath from Taltahéssee Callçd FULL ANll PUBLIC DISCLOSURE
         OF FINANCIAL it show s on line 3 that Garciq got $40,000.00 from Chase

         Balzk w hich is U .S.B anqorp,Exh. 19.A nd U .S.B ancorp is U .S.B ank,Exh.

    p 5. A nd in C om m issioner G arcia's 2021 Form 6 A x davits O ath 9om
                                                                                             '
                                                                                         o


         Tallqhasseç called FW L AND PUBLIC DISCLOSURE OF FW ANCIAL

         INTEREST it shows pn llne 5. That Garcia got $23,000.00 from N avienl

         B ank w hich is .
                         P M organ Chase Bank, Exh. 61 and 61B . A nd JP M organ
                                      *
                                                                  .

    ' us j'
          y.S. B ancom
                   . , Exk.4, 19.A nd U .S. Bancorp is U .S. B ank, Exh. 5 and
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 85 of 160

     '




*
         58 and Exh. 71 and 78. X nd in C om m issioner G arcia ds 2021 Form 6
            e        .
                              $
         A G davits O ath from Tallahasee cal
                                           â
                                             led FUL L AN D PUBLIC D'ISCLO SURE
                                                                                     ,




         DF FINANCIAL W TEREST itshowsonlilie6thatGarciagot$118,000.61
         from First Bank which is U .S.B ancop , Exh. 122 and U .S.B ancorp us U .S.

         Bank, Exh. 5. A 11 these CON FLICTS OF IN TEREST and a11 the m oney

         he's m aking is from 4he sam e GM AC-U .S. B alzk w ho tried to Foreclose on-

         us under M ack W ells, Exh. 111, 112 and 113. B ut failed and after failing

         to Foreclose U .S. B ank's Conspirator M oney Partner Com m issioner Rene
                                      d

         G arcia. Sponsored a qnew .Legislation called içbuilding and unsafe structure

         Legislation #220166,' To uie Code Com pliance Officers and Police O fticers

         to illegally search and SEIZE the W hole Property w ithout a W arrant or â

         Brake Order or the Legislative ltem       File N um ber 220166 for U nsafe

    @ Structures R equired R ecertification N otice to Ow ner for lnspection the Code
         Compliance Officers a
                             -n(ithen after illegally Search                             o'
                                                               and SEIZW G the W hole

         Property the Police gave a Fake W arrantthat show s no tim e that the W arrani

         was issued,no Judge's nany,no Case Number,no Doc Stamp,no Certised
                     '

         Stamp and on thai Bake W arrant it never M entioned that Code Compliance'
                              '
                                           :
         could Search and or Seize they jusi came in the House and Property and
         announced they have Seized our H ouse fer U njafe Structure. B ut until this
                                  '
                              .

         day w e.have gone to théir O ffice alm ost every day to check and they don't


                              e
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                                                                                     19

            have an lnspection Reportyet, a1lunder ihis new Unsafe Structure Legislatioq
                                   ...   *




        .   by Comm issioner Garcia who has got this gregt Contlict of lnterest to help

            U .S. B ank take our 'house under Color of Law in Violation of their ow n

            Code Ordinance Legislativé ltem File N um ber 220166 for U nsafe Structures

            Required Recertiscation N otice to Owner for Inspection (F) (2) (D) from
                                                 d
    *
            D adè County! The qlaintif have not provided a ''biI1 of particulars''. The
                                                                      .                      -




            purpose of a bill of particulars is.to ''m inim ize surprise at triàlz'' according
                                                                                             @

            to the.U.S. 11th Circuit Court of Appeals, w hich oversees federal crim inal

            trials here in Florida.Thib process also ensures the governm ent doej not try
        @                                            .


            to retry the defendant Iater for the sam e basic offense.The Plaintiff has not

            provlded a ''m otion for m ore definite statem ent'' w hich is the m odern
'
j

            equivalent of a bill of pàrticblars The plaintiff has not bonded the case.

    *       (form 274 aqd form 275 fdrstate cases) performance BOND and indemnity
                                  :          *                                               -
                                                              '
                .

            BOND The plaintiff HAS caused ard exceeded three (3) injuriqs against the
            *               .

            defendant. The defendant w as inform ed thpt the signing of certain

            docum ents w ould Iead tp the allotm ent of financial resources for acquiring

        * the .property under question.
                                                                                             *


                      '
                a

        1.The plaintiff has failed to rem it Federal Taxes as per the requisite

            regulations.The originalnote (Loan Application)

                                  1
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    2..plaintiff (BANK)opened an unauthorized àccount in the name of the
o



         defendantts) for the fullamd ount of sai
                                              ,
                                                d pr'operty w ithout defendants
                                                                    .

            *        .

         knOW Iedge and fundêd an' unauthorized account in the plaintiff's nam e.

         W hich is fraud.


    3.Plaintiff Bank sold original note (Loan Application) which is what pald for

         said property in fullvi
            .                  a FED-W IRE.Yet the defendant (Buyer)was not given

         any consideration.T4e buyertakes on the role of creditorwhen they make

         the paym ent for their hom e using a prom issory original note, in this case

         being the LOAN APPLICATIQN.This is to ensure that the seller receives
                             >    *
         payment IN FULL.Such knowledge was never disclosed to the (DEFENDANT)
     '
         buyer. :4ore proof of this evidence and treason is the fact that banks can'

         NOT Iead m oney, only congress can w rite Ietters of m arque qnd Ietters of

         credit. Oï cial representatives of said banks iqcluding the perpetrators

         involved now risk being nam ed in this TAX m atter. Upon notihcation, the

         lnternal Revenue Service w ill w ish to determ ine the w hereabouts of the

         principal funds from the ini
                                    d
                                     tial Ioan agreem ent (LOAD APPLICATI
                                                                        ON) that

         have    been held back
                            % (SPENT) and not reported.
                                           :   .

     SIX TH CA U SE O F A CTIO N TU R M N G O F EL EC TR ICA L PO W ER
     .


     TO A DISA BLE D PER SO N IN N EED O F O XY G EN IN W O LATIO N
     OF Ft,.STAT.366.15 (1) (2)APRIL,2iND 2023 FLORIDA POW ER
        Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 88 of 160
                                1
                                          '

          AND LIGHT (FPL) W AS O RbERED BY RENE GARCIA'S NEW
         '
         LEGISLATION UF UNSAFE VTVRUCYIW S #220166 TO TURN OFF'
             THE PUW ER TO THE H OUSE BECAUSE 'HEY W ERE GOING TO
          DEM OLISH IT IN W OLATION OF FL.SG T.366.15 (1) (2) W HICH
          SAYS YOU CANNOT YURN OFF THE POW ER TO A HOUSE TO X
          D ISA BLED PER SO N W H O NEE D S O X Y G EN Y ET TH E Y D ID IT
          A NY W AY A N D A LM O ST K ILL ED m C K W ELL S W H O H A D TO
          G O TO TH E H O SPITA L BEC A U SE H E C O U LD N O T BR EATH SEE
               .


          G ODS2.COM W D. H . SEVENTH CAUSE OF ACTION: QUIW TITLE 200(
*
          FLORIDX CODE - CIVD qMglcEANDPRKEDUREqulqTlNpTITLECHAPTER65409 2410
          (A)(2), lRS 34.1.1.8.1 (08-11-2004) AND 34.1.5 (08-11-2004) AND FLA. STATUE
          95.11 NEW LY DISCOVEREP EW DENCE.AND FRAUD.FEDEM L RULE 60 (B)
          (2) (4)AND FLA.RkOF CIM PROC.1540.STANDING CAN BE QUESTIONED
          AT ANYTIM E FEDEPAL éULE 3.1
          This is total Fraud, MERS and pelltskàe Bank Newly discovereb evidence ang
         fraud, March 4TH 2018,we wellt to the Dadq County records Departnnent because

         all M ortgage Notes are Required to be Recorded w ith Original Signatures F.S.701.02

        e (1)(2)(3) Exh.274.and.We discovered thatthe Note thatwe thoughtwas Country
         W ide Bank from Alexafdet M orera that w e thought w e w ere paying on w as actually
                   *                                           .
               .


         a Lancaster Assignm ent of w hich that Note w as a Lancaster Note never signed or

         ClOSed on.This Lancaster M ORTGAGE NOTE has abqolutely no signatures of the so
    '
                                          d
         callqd buyer (Leroy W illiams) on Note as Required by F.S.695.26 (1) (a),which
                       .              .                            .               '

    *                           $
         caused me to search the whote record> to discoverthatAllBuyer's (Leroy W illiam's)
                                                                               '
                                                  .


         SIGNATURES and INTIALS are all Blacked 0ut and the blacked out signature ak
         '

                                                                                              *


         show n on godsz.com #1 show ipg tw o Dade County Clerks Jose Silva ld.# 311083
         and Guetty Jean 1 D # 2ï732s behind their clerk's desk behind protecyive glass.
         Hejs* on Video red stam ping the m ortgage and saying the records dept. w ill not

         Record M ortgages w ithout the original signature and She's on video after red

         stam ping and putting m y paym ent receipt.on the Certified so-called Leroy W illiam s
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                                                                                 e19
                                              ''           '
          s
      show ing M ortgage Note bn Cam era, v
                                          'ideo show s blacked out initials on Lancaster
                             @

      Note,And two m anagers ofth: tlerk's office saying there's no way this Note should
      have been puton Record withoutthe Signattlres,see godsz.com # M .and AB.anà
                                 .




        recorded this allonge docket. For Leroy W illiam '
                                                         s there's no signed M ortgage;
                                          d                                                .


      Prorhissory Note or Pr:paym ent Rider Recorded in Dade County.There is no lost

      Note count in Deutsch e Bank Com plaint and M ERS is not listed in the fake.Note

      as N om inee or anything at all, Exh. 275, W hich is w hy they did a Fake M ortgage

      Assignm ent w hich included the Pprom issory Note as stated on th: bottom of the

      Assigned Note from Lancaster Bank to M ERS Ex13.276 ., signed by the PAKE Vice

      PresidentofLancasterfDqrlene Perera)the same lady who on the exactsame date
      she signed a fake Allonge to another Bank called lndy M ac Bank before the

      Assignm ent to from Lancastgr Bank to M ERS,illegal see Exh. 277. 1-5 .You can't

      Give a Note to tw o different entities especially on the sam e date.And did not record
                   *                 w,

      the fake assignm ent until 2007 1 Year and .5 m onths after sale of the fake Note'

      w hich m akes the Note and M ortgage:Voi
                                            . d according to F.S. Exh. 278.Allow ing an

      tlnsigned Mortgage or Note to be Recorded in.Florida isa FelonykF.S.817.2341 and

      775.082,775.083 and 775.084.And are a11 forgèries that can alm okt be seen under

    @ the .
          blacked out ink w hen com paring that signature to the other signatures of the

      other notes with the côrrect signature see the Plaintiffs Lancaster's Recorded Note

      show s N ote has a blacked otit w rong forged signatures that you can see under the

      blacked out signature,Exh. 279.This is the Correct Leroy W illiam 's real signature

4     from the other note from real Recorded Note of Leroy W illiam s other realClosings,
                             $                                                             .
      see pgs. 16 and Z0 of, Exh. 280 and 281.And Flam ingo Title Com pany w as sued   ,
                                                   â   .                    '
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    by Attorney Title Insurance CQ.Because of m oney given but no Note, Exh.282,and

    there was no valid W lrranty Deed because Alexander Morera was not there and'
    did not sign the W ar
                        'ranty Deed,Exll.283.0ne ofthe owners ofthe home 1977
                                                                            .
    NE119yh Road Miami 33181, James Buckman,was hot at the closing, see James's

    affidavit, Exh.284.And Jam es Buckm an did not sign anything as it APPEARED on
* the .fake W arranty Deed, Exh.285.See Jam es Buckn
                                                   .aan's realsignature on Driver's
    license, Exh.286. Som êone illegally signed for Jam es Buchm an. See Affidavit from

    Maurice Symonette another owner saying that he (Maurice)wasthere atthe Angry
    w iped out non closing and w itnessed thatJam es Buckm an,Tanner Cartes Alexander
    M orçra nor did the buyer Leroy W illiam s show up to the closing and the W arranty
                 #'             .,
                          $                                                               -
    Deed w as not signed,see Exh 287.and Affidavit from Jam es Buckm an stating that
                                     ..
                                              :   .

    he w as not at the closing and never signed.So there was no LegalW arranty file;
    '

                                                              .                       :


    on the Record!So paym ents continued to Couhtry W ide Bank who w e thought was

    the bank ALEXANDER M orrera's Bank,Exh.288, 289, 290.and then EM c.M ortgage
*                                         .               ,

    Bank EMC.Mortgage co.wrote to us and said m ake al1 paym ents to INDY M AC
                                                      .

                           @

    BANK.And our Paym ents w ere m ade on tim e even six m onths after Detltsche Bank

    started Foreclosure on our house was started 06/20/2007,Exh.291 See receipts

    showing payments 06/19/07 to 09/29/ 07 4 months after Deutsche Bank
    Foreklosure started Exk.292,293, 294,295.And unknown Bank. Deutsche Bank
    Lis Pen dance date filed w ith no Due Process Notice to us, see page 11 of'Dade

    Docket Exh. 296. This filed w hile Paym ents w ere still being m ade and on TIM E/

    And notice the M ortgage and Note blacked out the Loan Num ber so that you could

@
    nOt Check AND SEE THAT THE LOAN was a fake loan from Lancaster bank that w e
                                          .               .




                           @
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        did not close on, Exh.297.they also m ade big m istake and shoF ed that Lancaster

        Bank Allonged the Note to IndyM ac Bank, Exh.298.W hich is w hy Am erican Title

        INSURANCE sent to us that w hich had us thinking that this w asCountry w ide Suing
                              @   .


        us u&ing EM C as their SERVER and changing to INDYM AC to be the Servicer, w hat

        a great DECEPTION! So the .fact is eithe: w ay only Bank then that could sell or
                                                                                        '
                                                           .


        Assign the Lancaster Note tg MERS is lndy Mac Bank because the Allonge on
            *'       .                         '

' Lancaster w as to IndylM ac'Bank first. Of course, this w as never done, Because

        Lancaster w ithout N ote ow nership because ofthe Al
                                                           longe to Indy Mac Bank olj
        the fake NOTE illegally to MERS who then illegally Assigned the fake Note tl
        DEUTSCHE BANK but after.they started The Foreclosure law suit, Ekh.299. w hich is

* also.illegalaccording io Mclean Vs.JpM organ.This is a totally a m ade up Foreclosure
                                                               ,.'




        thievery wow!The prdperty which is the subject matter of this action is situated
        in the County of Dade,State of Florida,and described as follow s: 15020 South River

        Dr. M iam i Fl. 33167 that M aurice Sym onette ow ns.Exhibit 300. According to the
    '



        Quit Claim Deed before yh: ffrst Lis Pendens was filed without a Complaint being
            *        .                                                   .
                              $       *                              .                      -

        filed'tsee Docketcase# 2007-12407-CA01
                                           >
                                               first second and third line) which lpeans
                                                                             '
                                               .


        thateven though tlke Bonafede Notarized QuitClaim Deed was notRecorded which
            z
                                                                                            .


        is not èequired according to Florida Stam te 695.01 (2) that Quit Claim Reed was
        before the fake Lis Penden's done Illegally w ithout a Com plaint. And the Seçond
*

        Recôrded QuitClaim Deed dateà Jan.18th2013 to Boss Group MinistriesInc.Exh.301.
        w hich was Quit claimed Deetted Jan.26th 2013 to MAùRICE SYMONETTE which
        w as befofe the second Am ended Com plaint from U.S,Bank was Filed and approve;

        by Judge SCHLESINGER see Docket 2010-61928-CA01 dated 01/13/2015 which by
                              *
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    *
         then they knew that the record show ed that Boss Uroup Ministries Inc. was the
o
         owner ofthe property 150Z0 SJRiver Dr.Miami Florida Statues 702.01 (A1) (1)
         w hich w as in a dispute betw een m e and m y brothers w ho the ow ners of the
                                $                                                                -
         propprty but'signed it ovçr to Boss Group M inistries Inc. Exh.302.W ho had since
                                                >       .                       '

         have done a Bonafede (Notarized) Quit Claim Deed to Maurice Symonette Signed
                                                                        '                        .

         by M aurice Sym onette the President of Boss Group M inistries Inc. See Exh.303.

         W hich m eans that 1 M aurice Sp nonette has a Claim and a Cause of Action against

         U.S.'Bank NA w ho w as noticed bf m y Claim on the Dade County Records which
                                *   .
         w as beforq their publication of Foreclosure w hich by law w ould have stopped m y
    @
         claim but the law says if they are notices up to 30 dayj after publication of the

         Foreclosure that the claim i'
                                     s still Good Fl. Statuteé sub section 733.702 (1),and

         733.2121 (3)(a) and 733.
                              $
                                70/ and cause ofàction with and allofthis confusion is-
         becaizse U.S.Bank trickezy This is a Qui
                                              :
                                                et Title Com plaint Case which
                                                .                            '
                                                                               requires that
                                                                                             *
         U .S. Bank show a full chain of title w hich is Extrinsic Evidence according to 2005*
                                            .               '   .




         Florida Code Civil Practice and Procedure Quieting Title, 65.021 Real estate;

         removifg clouds,-- Chancery coul'ts have jurisdiction of actions brought by any
         person or corporation, w hether in actual posspssion or not, claim ing legal .oq
                                @


         equitable fitle to land against any person or Corporation not in actual Possession,
    @

         who has, appears to have ctaim s an adve'
                                                 rse legal qr equitable estate, interest, or
                                                                    .
                                                                        '




         claim therein to determ ine such estate, interest, or claim ànd quiet or rem ove
                                        d


         clouàs from the title t* the'land.It is no bar to reliefthat the title has not been.
                                                    '                                    *

         litigated atlaw orthatthere is only nnelitigantto each side ofthe controversy or
                                                                            '
                                                                                .


                                                                                             .


         that the adverse claim , estate, or interest is Void upon its façe, or though not Void
                                .
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      upon its face,requires Extri:sic Evidence to establish its validity ( Exh.304) and
      65.041(3)(4)(3) REAL ESTATE REMUVtNG CLOUDS;DEFENDANTS.No person nota
      party to the action is bound by any Judgm ents rendered adversç to hii or her

      interests,but any judgment favorable to the person inures to that persoé's bénefit
      to the extent of his qr her legal or equitable title.( Exh.305).Layers claim in
      num j'
           ner 4 oftheir M otion to DISMISS that MAURICE SYM ONETTES Quite Title Case
      is Res Judicata,but in the '
                                 Transcripts o? Proceedings of 12/09/19 under Judge
      VERONICA DIAZ pg.6 line 24725, pg.8 1ine3-11 and pg.9 6-8 the Judge VERONICA

      DIAZ as did a1lof the %other Judges said Sym onette isrnot a Part/ to the case and'
             tl                 .


                                           '
      did notallow Symonetteto Participateiù theTrialsand waseven toidthatIwoul/
     have to sue the bank myselfto become a pqrtykLine 07/01/15 ppll line 13-2j
      Exh.306. and all of pg.12.lines 12-14 Exh.307, the Bank stated that M AURICE

    * SYM ONETTE is a non-party Third-party Claim ant, according to Florida Statute
                                                                                            *

      65.041( Exh.308).This-in credulous wicked bank from the beginning of even the
      2007 Case never FILED or b/ought in a copy Qf the Original Note w ith the Allonge,
                                                '                                       '
         ,


     the Original M ortgage, or the Assignm ent of U.S. Bank! W e saw Lis Pendens but

     havq never seen the Com plaint their 2007-12407-C401 Com plaint of w hich by Law
                   e
                                    .y
@                           $
     m ust have the Certification qf the Original Prom issory Note to file a Forecl.osu re
                                           g                            '   '


     qction Fl. Statute 702.015(4) If the Plaintiff is in Possession of the Originsl
     Promisjory note,the Plaintiffmustfile under jenalty ofPerjury a certification with
     the Court, Contem poraneously w ith the filing of the com plaint for Forecloosure, that

     the Plaintiff is in possession of the original prom issory Note.The certification m ust    .

                            *

     set forth the location of the note,the nam e and title of the individual giving the
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         :
     certlfication,the name ot the person who personally ve/ified such possession,and
     the tim e and date on w hich yhe possession w as verified.Correct copies of the Note

     and all Xllonges to the Note m ust he Attached to the Certification. The Original
     Note and the Allonges m ust be filled w ith the.Court before the entry of any
*
     Judgementofforeclosuqe orJudgementon the Note,(Exh.309)and Fl.Rules 1.115(C)
                                                          .




       Exh.310), and the correct'copies,of the Mortgage, NOTE,ASSIGNMENT'AND
     ALLONGE ALL TOGETHER attached to the Certificate, Bank of Am erica M Leonard

     in the 3DCA.And if the Prom issory Note does not nam e the Plaintiff as Payee the

     Note m ust Then bare a special endorsem ent or Plaintiff m ust subm it eéidence of

     an Assignm ent,Ortiz v.-PNC BANK 3DCA ifyou look at the Docket of 2007-12407*
          .    '

     CAOI Docket Pg.2 line 1-21, against Fl. Stat. 702.015(4) If the Plaintiff is in
                                     .




     Possession of the Original prom issory Note,the Plaintiff m ust file under penalty of

     perjury a certification with the court, contemporaneously with the filing of the
                            .    *                                                 .    -
     Complaint for foreclosure, that the plaintiff is in Possession of the Original
                                             :   .                        '
     Prom issory Note.The certification m ust set forth the location ofthe Note,the nam s

     and title of the individual giving the Cen ification, the nam e of the person w ho

     personally verified such possession,and the tim e and date on which the possession

     w as.verified. Correct copies of the Note and all'Allonges to the Note m ust be

     Attached to the certificâtidn.The Original Note and Allonges must be filed w ith the

     Court before the entry ofan# Judgement ofForeclosure or Judgement on the Note.
     And Rule 1.115(C). This is why Judge Isabel was'so angry with the Attorneys
                                         4
     because she w as em barrassed that she did the Judgement before any of the
                   e             .
                            %
     requlrements ofthe Fl.Stat.742.015 were met thereby endangering even her as a
                                             1   .
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    o




          Judge.Services now referred to as (AFS) js the Bank the Note was done with and
                                .       *
                                                                         '
                                                                         .       .       .
*

          (AFS) sold the Note whth the MIN.Account number 100176105062733202 (M af
                                                             :   .

          the bottom of each page of the adjustable rate Note Exh.(311) with the Cusip
          Num ber 315912873 to Fidelity Strategic Real Return Fund accordi
                                                                     .   ng to the cuslf
          search by CUSIPONE EXPERT CUSIP search service as stated by Thé Expert W itness

        * Affiduvit of Fact W esley Jarvis,Trustee for CUSIPONE Trust Exh.(312).The (AFS)
          Note was sold by (AFS) 9/7/2005 three m onths after Leroy W illiams signed the
          (AFS) Note and is with Fidelity Strategic RealReturn Fund untilthis day according
          to The CUSIPONE ExpertW itness Exh.(313) So thë (XFS) Note never went to US
                        '
                                            #
          BAN.K NATIONAL ASSOCIATION AS TRUSTEE F0R RASC 2005 A HL3 now referred
                                                                                             '
                                                .

         to as (USB).So (USB) cannoy Foreclose on this (AFS) Note no any of the gbove
         'stated Defend even Fidelity Strategic Real Return Fund cannot Foreclose becausb
                                                                                     .       '
                                                    .                                                o



          (USB)ih 2007 did a Publication tö Foreclose oh the (AFS)Noté and Fidelity Strategic
                                                                                                 2

          RealReturn Fund did not Ubjed or Intervene within 30 days ofthe publicatitm of
          the V reclosure of2007 ofFidelity Strategic RealReturn Fund standing to Foreclose

          according to Fl.Stat.t) Exh (314) or any Interest in the Note and therefore they
         have no standing And according to the SEC-FASB GM P Rules once a Note is solà
         on the M arket it m ust be burned and Destroyed because a Note cannot exist at the
                                            @
*
         samè tim e that a stock,bond or fund exist because that is Double Dipping using
                    *               ,

         the Fund and the Note ILLECALLY T,
                                          he.PSA cannot be used because in the Edgar

         report and in the Cupisone report the Axiom loan is not w ith US Bank.According

         to Fla.App.Court (4th DCA) Holds PSA Insufficientto Prove Foreclosure jtanding
            '


                an appeal involving an am icus filed by a national Mortgage lendlng frade
                                                        .'   '               w
                .
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    '

        association# the District Court of Ap/eal ofthe Stàte of Florida,.Fourth District,

*
        recently
               *-
                  reversed
                         .
                           a snal Judgenaent of Foreclosure in favor of a Mortgagè,holding

        that the M ortgage failqd yo prove thay it had possession of the Prom issory note
                    '
            o
        w hen the Com plaint w as filçd and thus lacked standing to sue because: despite

        theadmission ofthe Pèoling and Servicing Agreement (PSA)into evidence,the
        evidence w as stillinsufficient to show that the loan w as physically tm nsferred;

        and there were discrkpancies between the copy of tlle note attached to the'
        Com plaint and the original introduced in evidence at trial.During the trial,thr
                                                             .       '
                                                                                             .

        Plaintiff M ortgage tried to prove that it Possessed the Note w hen the Com plaint
                                                                 '                  '.
                .



        was filed by offering the BSA into evidence over the borrowers'hèarsay objection.
@ The.trial judge adm itted the PSA into evidence as a self-authenticating docum ent
        pursuant to section 90.
                              -902 of the Florida Evidence Code because it had been filed

        with the Securities and Exchénge Commission (SEC).The trialcourtthen entered a
        final judgm ent of Foreclosure in the M ortgagee's favon from which the borrowers
        appqaled. 0n Appeal the Fourth District explained that just because the PSA was
                        *           .p .
                               %                                                             -
        selfauthenticating didn't m ean it w as adm issible, citing Charles Ehrhardts Florida
                                                                                         .
                                             :   .                           '


        Evidence hornbook:llEven after a docum ent is Authentiçated,it willnot be admitte:
        '




        ifanother exclusionary rule is applicable.For e'xample,when a docum ent is hearsay
        it is inadm issible even if it has been properly authenticated.
                                                                      '' The Court.reasbned
*

        that while ''the PSA purportedly establishes a trust of Pooled Mortgages, Fhej
        particularmortgage (atissue)wasnotreferenced in the docum entsfiled with SEC ...
        (andj (tqàe Bank did not present sufficient evidence through its w itness to adm it
        this unsigned docum ent as its business record. W hile the w itness testified that a
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                    m ortgage loan schedule,w hich listed the subjçcy m ortgage,was part of the Bank's

                    business records, the m ortgage loan schedule itself does not purport to show that
                         :

                    the actualloan was jhysicàlly transferred.''

                     Because the M ortgagee's w itness di
                                                       ' dg .                                      '
                                                                      not explain ''the workings ofthe PSA or (loan
                    schedulej,''and no other docunaent or other,evidence shovred how the note was
                    transferred to the m ortgage pursuant to the PSA, the evidence w as insufficient to
            @
                    prove that the note in question f
                                                    'w as w ithin the possession of the Bank as Trustee

                    at the tim e suit was fifedcrrhe m ortgagee argued that the trial court's ruling should
                         .     '



                    nevertheless be affirm ed under the tipsy coachm an doctrine, pursuant to w hich an

                    appellate court m ay affirm a trial court's ruling. :In other w ords, a trial cpurt's
                '
                                                      d
                    incorrect reaspning m ay be çorrected on appeal for any reason that appears in the
                                            $     *
                    record.How even the Court hqre noted that ,in order for the doctrine to applyk ''the   ,
                                                                  >    .                           '


                    record m ustbe sufficiently developed to supportan alternative theory for affirm ande.
                                                                                     '
                                                                                                         ''
                                                          .                                                     @
                                                                                             N

                    The Fotlrth District previously held that therè is a ''presum ption of standing if the

                    note attached to the Complaint was the same as the note attached to thq complaint
            @                                                 .                  .

                    w as'the sam e as the note introduced at trial.'
                                                                   ' The Appellate Court rejected thç
                                                                                         '                      o
                                            *                                                                   .

                    m ortgagee's argum ent because ''the note attached to the Com plaint was not in the

                    sam e condition as the original introduced .at trial.''


                                                      d
'
    G

I
        .
            SEVENTH CAUSE OF ACTION:THE CONSPIRING LAW YERS:NEVER BROUGHT
I
;
1
1
                IN NOTE,ALLONGE,M ORTGA GE,QR ASSIGNM ENT BECAUSE TH EY DON 'T
i

                                     HAYE IT,IN VIOLATION OF FL:STAT.702.015
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                                                                                           19

             Judge ZABEL PAM CKED and Orderez US Bank's Attom eys to bring in the Originyl

             Notes :nd M ortgage and ZM EE Cancelled thq Foreclosure Salr SCHEDULED FOV

             9/12/2007 untilthey brought in the Original Note and M ortgage.But aAer the JUDGE

             (ZABEL) Cancelled the Foreclosure Sale set for .
                                                            9/12/2007 sopehow those tricky
             Law yers got the Clerk 4o do the Sale anyw ay against Judge ZABEL'S Order so w e-

    o
             had to rush back to the Court.to get an Em ergency hearing to tell Judge ZA BEL that

             the LAW YERS ànd the Clerk'did'the SALE anyway #gaihst her Order and the Judge
             w as very upset and ordered thedAttorneys For U S BAN K N A to do a M otion to Cancel
*

             the sale.Anà then thejudge'ZABEL Ordered and Demanded thatthey bring in the.
             Original Note and M ortgage because noW Judge ZABEL was now in the Position tp
             get in Trouble for doing a Final Jpdgem ent w ithout Cer
                                                                   *t'ified Copies of the N ote and.

             M ortgage and W ithout the O riginal N ote and M ortgage that is R eqtzired by Florida

             Statvte 702.015 (4),in other words these Clowns were justlllegally going to take our
             property but got Caughd Judge ZABEL Ordered the Atty's to go get the Docs.Thaf

             they said lhey had,then Judge ZABEL took a CourtR ecess and during the break from
             the courtroom Us Bank Lawy
                                      'ers'Refused to go back inio the courtroom this upset
         '

             the Judge but Judge ZABEF rave them tim e to bring in the N ote and the M ortgage
                                     :    *                                                            -
             butthey would notdo so therefore we put in a M otion to Dismiss with Prejudice we
                                                    #   .

             F ent back and forth w ith the Judge and the Banks Attorneys but they w ould not follow

             the Judge SARAH 1. ZA BEL'S Order to bring.in the N ote and Order and therefore

         judge ZABEL Dismissed tho Case with Prejudice,Exh.80.- the tenth line ofthe 2007
        * Called Case Num ber 2007-12407CA 01 of the D ocket. And then Judge ZABEL said

             that it would show on the Docket in a few days w hich w as 04/07/2007. O f that sam e

             D ocket!!
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                                         @




    e

                     EIGHTH CAUSE OF ACTION W OLATION FEOG A STATUE 45.031-48)
             PR O PERTY SOLD AT PRIC; SO LOW THAT IT SHOCKS THE CONSCIENCE
                         .   -

        e                                :     *                                                            -

                 A s part of the Rico Schem e the
                                                . D efendant
                                                          . s who w ere then Plai
                                                                                'ntiffs property was
                                                                                                   . sold
                                                                                                        *


                 at a price so 1ow it shocked the Conscience tùe clerk jold Plaintiffs $2.1 M illion house
                 for a m ere $42,000.000 see Exh.315,in which was Purchased by the same BaA whièh
            '@ is (DEUTSCHE BANK NATIONAL TRUST COM PANY A S TRUSTEE UNDER THE
                     h
                     '
                                                    .                 .




                 POOLW G AND SERVICW G AGREEM ENT SERIES M ST 2006 - A8ICSFB) thip
                 price is so 1ow it shocks the conscience accordhlg to Fl. Stat.45.
                                                                                  031 -(8) M AURICE     t

                 SYM ONETTE did file objection to sale an8 dem ands that it be heard and has found
                 new inform ation to further strçngthen our Case to show that the Bank is know ingly
*                        *           .

                 illegally tnking this pr# erty.'Deutsche Bank bought the property at auction in the'
                 Foreclosure sale of the said property ön .
                                                          06/22/2017 for $42,300 thatjrice is so 1ow*
                 that it shocks the Conscience according to Fl.Stat.45.ù3t-(8) which VOIDS the SALE
                 and Rule 702 Fl.Stat.702.45).F.S.A.M itchellM M ason and also see,First Bank M
                 Fisher Frichtel lnc.which says (if the case is so adequate as to raise an interference
                 of fraud then the foreclosure can be voided)Allthis done to bypass Tax.Doc Stampr
                                 '
                         a

                 and do aw ay w ith a11 the Lieqs and M onies ow ed attaèhed to the property. And som e

                 days later after realizing '
                                            thatw e saw the $42,300.00 sales price the $2.1 M illion and

                 that w e ow ed and that D efendr ts saw that the sales price w as so 1ow and against the
                                     *        ..
        '
                 Law that it Shocked th? Conscience,that when Defendants cn'
                                                                           m e back to question the
             '



                 clerk about our Banknmtcy and FantLd 'to show the M anager how r'
                                                   .                  '
                                                                                 idiculously lov
                 p
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 100 of 160

'

                                          .       '

        thatsale was.Mysteripusly they show DefeùdahtsadothçrDeutsche Bank different9om
            œ                                                         '
                        .                                                 .,.                       .
.                               $     -       .                   ,             .               .       .
        the fgstDeutsche Bank thatthe Clerk showed usjustdays earlierselling $42,300.00
                                                                                            '
                                                      >       .

        butnow it showed Defendant's property sold for $888,900.00 in which we discovdre/
        later wgs done on the same date 6/22/2017 with a diFerent Bank (Deutsche BaV
        N ational Trust Com pany A s.Trustee Series 2006-A 8 M ORTGA G E PA SS- TH ROU GH
    *
        CERTIFICATES SERIES 2006-H),.even alter them .seeing us tape them saying by
        m outh give it to us in w riting and show ing us on their G overnm ent com puter the sales

        price at$42,300.00 with W itnessesseeYouTube:(Dadç Clerks areLawless)seeExh.31i.
        This shows Fraud and Collus
                                  .ion.against the Defenjahts to just take tjw property
        wrongfully which is the majn teasons for the Objection to Sale and this Cpmplaint is
            *           .,
@                               &     *                                                 .               .
        that jhe sale price is so low that it shocks the Conscience. The foreclosure am ount
                                                                                            '
                                                      >       .

        owed was 2.6 M illion and the estimated value is $1,810,000.00 but shockingly the sale
        w as forty two thousand three hundm d.And the Eoreclosure w as started while defendants

        Bank Foreclosed w e have proof that w e w ere m aking the paym ents. '


                                e

             qj     '


          NINTH CAUSE OF ACTION VIOLATION FDCPA,15 U.S.C.j1692a(3)(5).AND
                  FCCPA FL.SG T.j559.55 ILLEGAL CONSUM ER COLLECTION


        (FDCPA claimsagainst:11dettndants exceptSF)FCCPA claimj againsta11defendants)
        Plaintiff realleges and incorporates parâgràphs 1-58 as though fully sei forth in this      *



        paragraph.The FDCPA was enact8d to protect a11 consumers 9om debt collectors who -

        seed to collect debts through illegal in Cans and w ho engage in unfair or outright

        thieyery and/or deceptive practices during the Collection of a debt. Plaintifrs are
                                                          .                         '
                                                  ,
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          defending them selves from D eutsche Bank or Lancaster w ho is Fpreclosing on us as
                                  '
                                                             .   .                       ..                %


          -'coqyumvrs--within the meaning ot-y'ocpA,19 u.s.è.j1692 a (3).These oefbndants
          have engaged in collection ofttdebts''asthisphrase isdefmed by 15 U.S.C.51692a53)
                                   @       .


          and Fla.Stat.j559.55 allegedly owed by Plaintiff.Defendants,Deutsche Bank,M ERS,
          Indy M ac & Lancaster w ho Foreclosed upon this fake M ortgage and N ote after a

          fake default and are tçdebt collectors'' The collection activity foreclosed the fake

    .     M odgage and 'N ote, to lcolled m onies falsely Ow ed pursuant to a fake prom issory

          note including a deticiency judgment.It is Plaintifs good faith belief that the Dory
                                                                                                       *

          G oebel fake A ssignm ent,created by Defendants w as creàted tlzrough collusion between

          D efendants D eutsche Bank, M ER S and Lancaster to support the claim çd indebtedness

          and to support that there is Gsno genuine issue of m aterial fact'' in this case âs of the

          date that the Assignmept was executed. These Defendants continue to intentionally

          misldad the courtin an effortto unjustly enrich them selves in taking Plaintiff's hom e
          w hen they know, or should have.know, at'the inception of this suit tàat Lancaster

          and/or itspredecessorin fake inleresthasneverowned the Note.Defendant'scollection
          activities described hereh violate the Florida Consum er C ollection Practices Act (F1a.
                                                                              .

                                                                                         *
                                                   .

          Stat.9559.72) and the FederalFair D& t'Collection Practices Act (15 U.S.C.j1692a
          et seq.) in that Defendants were claiming,attempting,'and threatening to collect and
                                                                                                ''
                                       .

          enforce his consum er M ortgage debt by Foreclosing action w here they now or should

        * have known that the right to pursuç Foreclosure does not exist under the 1aw because'
                                                                          .
                                                                                              .

          Lancaster did not have standing to pursue the 2007 action and W A M U did not have

          standing to pursue the 2007.action. Failure to engàge pre-foreclosure settlem ent
@
          discussions with Plaintift                   Dëfendant's unconsciouable, deceptive methods and
          practices in collecting this loan should preclude them tkop'
                                                                     lseiking JudicialEnforcement
                                  x            *
Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 102 of 160
                                 @




        of the allçged.The Assignment of M oètgage from now called (AOM ) to Deutsche.
        Bank or Lancaster post-dated the filing of the 2007 suit and the AOM from Fnnnie
    '

        M ae to U S Bank 04/26/2007 ëand 12/06 2010 suit, How ever, in the 2007 ahd the
            e          .



        2010.suitUS BANK allegtd that itwas the lçowner and holder of the subjectNote
                                                 :   .

        and M ortgage'' Com plaint. As such is considered. ûçthe debt collector'' under the law .'

        A ny denial to the contrary m ust be supported by strict and convincing evidence.

        Further, merel
                .    y labeling oneself as a servicer when, in fact, a large percentage of
@
        your business is collecting a debt.also qualities a11 .Defendant's as lçdebt collectorsjy
                                 @

        underthe lpw.Further,Plaintiffwas subjected to Sçdefault''feelsand chargesincluding,
        but not lim ited to , attorney fe'es, legal fees, Foreclosure Costs, late charges, property -

        inspection fees, title search expenses, filing fees, broker price opinions, ap.praisal fees,

        forced placed jnsurance,and other charges and advancds, and predatory lending fees
        and Dharges a11 of which are not authorized by or in conform ity w ith the tenms of   .




        1he subject Note and M ortgage.For statue of limitatipnj Purpose it was impossible'
        for Plaintiff to prove the conduct herein untilApril, 2007 when US Bank and LPS

        entered into consent orders regarding the specific m isconduct in this case. Spçcificqlly
@                                            .

        doctim ent (tcreation''by individuals lacking authority and specific knowledge aboutthe

        docum ents,.such as the ATTY S., that w ere executed and presented to the Courts a11

        in furtherànce of the D efendant's illegal schem e to divest Plainti/ of his H om e.These -

        acts as w ell as the Prosecution of this Case are wrongful, intentional, reckless, w illful,
                                         @

        wanton,negligcnt,decejtive and predatory.Defendants knew they should not falsify
        documents,particularly sworn docum ents m eantto prove a m aterialfact such as AOIs
        and AOM s.These perjured documents meant to prove a material fact such asAO1s .
        and AOM s.These perjured documentsviolate 15 ILS.C.jl 6S2e (10) and 1 5'(LS.C.
        Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 103 of 160
d
    @

                                                                   '
                                                        .

                    j1692f.8.1,As a result of the aforesaid FDCPA and FCCPA violations, Plaintift has
                                                                                                                Q


                    been subjected to false and illegal collection activities,'and has therefore been harm ed
        '



                    due to the slander to his credit and em otional/physical health issues proxim ately

            *       caused by these Defendants. Plaintiff has retained counsel and its eniitled to
                                                            .              .




                    reimbursementofhercoasts and Attorney's fees pursuantto 15 U.S.C.j16921c(3)and
                                '
                            g

                    Fla. Stat. j559.77. THEREFORE, plaintiF respectfully (: an award of damages in
                    Plyintiffs favor and againjt Ddkndants fortheir actualor statutory damages whichever
                '


                    is greater; and an aw ard of attom ey's fees and costs and for a11 other relief to w hich
                                                                               '
                                            .       .
                        *               .

                    this Courtfinds just anj appr-opriate.


                        T:NTH CAUSE OF ACTION W OLATIUN OF RESPA 12
                     lJ.S.C.2605 QUALIFIED W RITTEN REQUEST (QW R) TILA LAW S
                                                                           *
                        .

                      D eutsche Bank N.A .and its agents m ade m aterial m isrepresentations and
                                                @   .


                       om issigns w ith respect to the term s of Plaintiff's Ioan in Violation of the

                       Truth in Lending Act (TILA)
                                                * . Plaintiffs are ipform ed and believe that
                                                                                   .




                       Lancaster Bank concealed 1the term s of the Ioan w ith the intention of
                                                        d

                      iûducing Plaintiffs:to refrain from investigating and challenging the

                      disclosures untilthe periôd for rescinding the fake Ioan expired.Plaintlffs

                      never w ent to any closing tp receive any docum énts from Lancaster bank

                      at a Florida Title Com pany including disclosures required by the '
                                                                                        fruth

                      In Lending Act, Respa, and a notice of right to cancel. Plaintiffs Ioàn
                                                            '             *
                        v



                      would have been Morkage Ioan subject to the provisions ofRESPA,12
                                    '
                            @

                      U.S.C.2605 et.Seq.and çal.IdnancialCode 950505.BUT IF W E SAW THE
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        REQUESTED INFO W E W OULD HAVE SEEN THAT DEUTSCHE BANK W AS
        REPRENENTINGTHXT MHEY WERE FROM IANCASTER BANK NOT COUNTRY
        W IDE BANK AND W E W UULD HAVE CAUGHT ON TO THE FACT BECAUSE
        W E NEVER CLOSED THAT tOAN W ITH LANCASTER BANK AND THEY
                                          1
                                      d

        W OULD HAVE BEEN DEF ROYED LIKE THE NEW FBI COMMERCIAL SAYS
        THAT FM UD IS TRICKSTERS JUST SIGN YOUR PROPERTY OVER .T0

        THEM SELVES (DEUTSCHE BANKIAND,FORECLOSE AND EVICT YOU W HILE
        YoliR MAKING PAYMENTS To ANOTHER bANK ox oct.12,2012,Plainuff
        because w e w ere tricked into believing that w e requested a copy.of the
                                                    '
         4

        Ioan application and Prom issory Note at a M iam i branch bf Defendants
                          @


        in Florida, a banker telephoned a LANCASTER M ortgage Bank LLC office

        in Florida that w e thought w as I and inform çd Plaintiff that he w ould

        receive the loan docum ent! in ten days. No docuraents have ever been
                                      d

        rèceived.Because they inew they didn'thave a signed Note and Mortgage
        and they knew that Lankaster and DEUTSCHE BANK NATIONAL TRUST
        w as Indy M ac as servicer to COUNTRY W IDE BANK the Bank w e w ere
                                                            y              '
        m aking paym ents to after the IA NCA STER BANK didn t close on failed.So
    '



        DEUTSCHE BANK NATIONAL TRUST tricked us into thiùking they w ère the
                                              ''    '
         g



        bank w e w ere supnosed to ask questions about the M ORTGAGE and NOTE

        with the FederalRESPA 12 U.S.C.2605 QUALIFIDE W RITTEN REQUEST to
                                  .




        m ake them show their 'ow nership of the property and our exact Dept.

        ow ed to them and DEUTSCHE BANK NATIONAL TRUST wouldn't reply in
                                                        '
                              g



        violation ofRESPA'IZ Iis.c.2605 fedeçalIaw in Dade county courtswe
        have been Asking for this with ùui'Federal RESPA 12
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 105 of 160



             b sc 2605 QUALIFIDE w iu-r-rtx REQUEST form sinie the beginning of
*
                                 -                        '
                                              .       .

         this fake Foreclosdre Case began,Exh.(317).Including failing to respond
                                     ,




                                                  #                     '               .
         to properly subm itted OW R's. Sée Exhx318 Plaintiff is inform ed and .
         believes that this practice is designed to.conceal TILA and RESPA Federal

         violations and to conceal the identity of the m any investors w ho believe

         they are the ow ners of the NOTE, LANCASTER M ortgage Bank LLC got

         cash from and trde beneficiary of the Loan.As a direct and proxim ate

         result of Defendant's failure to com ply w ith RESPA, Plaintiffs have

         suffered and continues to suffer actual dam ages in that he's unable to

         gscertain the basis for defendants claim s to his properc he cannot
         identify the ow ner of the beneficiary of the Note, he cannot determ ine
                                                  #                     '

         w hether his paym ents to IndyM ac Bank paid to the beneficiary and there

         is no evidence upon w hich to concludy that D efendants are actipg as

         NOTE ow ner w ith the'Iaw ful authority to Foreclose the property. Undçr
                                                                             .


                                         '

         RESPA,Plaintiffs seeks triple damages,and also docuraenu were ordered
                            *

         fpr Qualified W ritten Request. Form al Protest and Dispute of Alleged
         Debt and Validity of A lleged Loan, But never received See Exh.319,

         established a tw o-part tçst for determ ining the Iegality of lender

         payments.to Aoj'tgige brokers for table funded transactions and
                                                              '
             o
         interm ediary transactions undel RESPA:W hether goods or façilities w ere

         actually furnished     or services w ere actually perform ed for the

         com pensation paid and W hether the paym ents are reasonably related to

         the 'value of the goods or facilities thyt w ere acm ally furnished or
                                         ''
         .

         services w ere actual
                            g
                              ly perf
                                    '
                                      orlned.In applying this test,HU D believes that
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                                                                                       19

                 total com pensation shbuld be scrutinized to assure that is reasonably '

                 rçlgted to the goodj, faeilities! or services furnished or perform ed to

                 àeterminewhetheritisIegalupderRESPA.Theinterestand income that
                 D efendanu have gained is disproportionate to the situation Plaintiff

                 Jam es Buckm an find thçm sçlves in due directly tp Defendant's failure to
                 d'
                  isclose that they w ill gain a'financial benefit w hile Plaintiffs suFer

                 financially as a rvsult'of the Ioan product soid and No separate fee
                 agreem enu ,regardipg tEe use ofthe fake LANCASTER M ORTGAGE BANK

                 LLC Cost of Savings'' as thç Index for the basis of this Ioan, D isclosures

                 of addid onal incom e due to interest rate increases or the proper form

                 and procedure in relation to the Borrow er's Righa to Cancel tlie fake

                 NOTE and M ORTGIG6.

                ELEW N TH C A U SE O F A CT IO N : ILLEGA L CONSUM E COLLECTION
                                                       '
                                        .                              '.

                IN VIOLATION OF FDCPA;15 U.S.C.ï1692a(3),.15 U.S.C.:1692a(5)
                AND FLA.STAT.5559.55.
                                                d
*                                                                                                   .
                                   $

                (/DCPA claims against all.defendgnts except SF) FCCPA claims against .a1l
                defendants) Plaintiffreallege: and incorporates paragraphs 1-as though fully
                set forth in this paragraph The FDCPA w as enacted to protect all consum ers

                from 'debt collectors who seek to collect debts through illegal ln cans anà
                who engage in unfair or out rightthievery and/or deceptive practices during
                                    @


                th'
                  e collection of a debt. Plaintiff's are defending them selves from Deutsche

                Bank or Lqncaster w ho is.For.
                                             eclosing on us as Tfcopsum ers''w ithin the


*                          .                .                                                       .
    .   @                           *                           -.--                        '   .
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                                                                            .             '       .
                                                                                .
                                                                                 :    .
                                                                                          ,
                                                                                          !   .       ',
                                                                                                       ..

        meaning of FDCPA,15 U.S.C.jlà92:(3).These defendants have engaged in
                 '
                                                                '               '.'
                                                           '''
                                                             ''''       '
                                  ..                                '   '


        collection of''debts''.as thls pflrase is defined by 1.5 U.S.C.j1692a(5)and Fla.
        Stat. 5559.55 allegedly .o- d by Plaintiff. Defendants.Deutsche Bank, M ERS,
                              :                -.                           .                               .
        Indy M ac &laancaster w ho foreclosed upon this faké M ortgage and Note after

        a fake default and are ''debt collectors''.The collection activity foreclosed the'

        fake M ortgage and Note, to collect m onies falsely owed pursuant to a fake

        prom issory note includi'
                                ng a deficiency judgment. It is Plaintifi good faith
        b'
         elief that the Dory Goebel 'fake Assignm ent,'created by Defendants w as

        created through coilusion between defendaùts Deutsche Bank, MERS, &
         v
                     '




        Lancaster to support the claim ed indebtedness and to support that there is

        ''no genuine issue of m aterial fact'' in this case as of the date that the
                                                       .




        Assignm ent w as ekecutëd These Defendahts contintze to iritentionally m islead
                              :                *                                                            .

        tEe court in an effort to unjustly enr
                                            ;
                                              ich themselves in taking Plaint
                                                                           '
                                                                             iff's hom e
        w hen they know , or should have know n, at the.inception of this suit that
             '                         ,                   .                          4

        Lancaster and/or its predecessor no interest and hasnev
                                                              'er owned the.note.
        Defendants'collection activities described herein violate the Florida Consum ér

        Collection Practices Act (Fla. Stat, j 559.72) and the Federal Fair Debt

        Collection Practices Aet (15 U.S.C.j 1692a et sqq'
                                                         ) in that defendants'were
        claim ing, attem pting and thrçatening to collect @nd enforce thi: consum er
                                               .

    '


        m ortgage debt by foreclosuré action w here they how or should have know n
                                                   d
                          r                .
        tflat the rijht to pursue''foreclosure does not exist under the 1aw because:
        Lancaster did not have standing to pursue the 2007g action and W aMu did

        not have standing to pursue the 2007 action;Failufe to eùgage pre-foreclosure
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- s
  e
  tl 1              em ent discussions w ith éiaingf
                                                   f; Defendànts' unconscionable, dqceptive
            m ethods and practices in collecting this loan should preclude them from

            seeking judicial enforcém ent of the alleged.The àssignment of mortgage to
            Deutjche Bank or Lancaster postdated the filling of the 2007 suit m erely
                .                            @                   '


            labeling oneself as a @servi
                                      .
                                        cer w hen,in fact,a large pem entage ofyour business

            is'collecting a debt also qualifies al1defendants as ''debt collectors''under the
@


            law. Further, Plaintiff was.subjected to ''default''feqs and charges including,
        '



            but not lim ited to, attorney fees, legal fees, foreclosure Costs, late charges,
                                 '       @
                *         .                                                   .

            property inspection: fees'
                                     , title search expenses, filing'fees, broker price

            opinions, appraisal fees, forced placed insurance, and other charges and
            advances, and predatory leùding fees and charges all of w hich are not

            authorized by or in cpnformity with the terms of the subject note and
    P       m ortgage.For statute of lim itations purpose it w as im possible for Plaintiff to
                                                             '
            .

            prove the conduct-herein until April, 201: These acts as well as the
            prosecution of this case are w rongful,intentional,reckless,w illful,and w anton,

            negligent,deceptive,and àredatoly Defendants kn'ew'they should notfalsify
        '


            docum ents particularly yw t/rn docum ents m eant to prove a m aterial fact such
                *         .
                                     %                   .

        as A0Is and A0Ms.These perjured documents violàte 15 ILS.C.jl 6S2e(10)
        and           5 (LS.C. 51692f.81,As a result of the aforesaid FDCPA and FCCPA
        violations,Plaintiff has been subjected to false and illegalcollection activities,
        and has therefore been harm ed due to the slander to her credit and
    *
        em otional/physical health issùes proximately èaused by these defendants.
                                     e
        Plaaintiff has retained counsel and is entitled to reim bursem ent of her costs
                      '
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                                                                                     19

             and attorneys fees pursuant to 15 U.
                                                S.C.j1692lc(3) and Fla. Stat.5559.77.
             THEREFORE, plaintiff respectfully request an aw ard of dam ages in plaintiffs

             favor and against defendants for their actuàl or statutory dam ages w hichever
o
             is. greater;and an award of atiorneys'fees and cosis and for a1l other reli
                                                                                       ef
             tp which this Court finds jûst and appropriate.
                                j     *




        TW ELTH CAUSE OF ACTION FLORIDA DECEPTIVE AND UNFAIR TM DE
        PRACAICE ACT AS TO SOM E OF THE DEF/NDANTS IN VIOIATION OF .FLA.
        STAI : 501.20491 (2005).é0.AND Fl.STAT jï 501.201


        Plaintiffs realleges and inçorporates all paragraphs as though fully set forth in

        this'paragraph.The Florida Deceptive and UnfairTrade PracticesAct (FDUTPA)
        provides for a civil cause of action for ''uncönscionable acts or practices, and
        '


        unfair ol deceptive acts or përactices in the conduct of any trade or com m erce.''
              e        .




            FLA. STAT. j 501.20491 (2005). é0. This is an àction for injunctive and
                                               :   .                          '

        declaratory relief pursuant to the Florida Deceptive and Unfair Trade Practices

        Aet,Fl.Stat.jj 501.201,elseq.(hereinafter''theAct'')and Chapter86,FLAISTAT.
        The provisions ofthe Act'
                                are to be liberally construed to prom ote the follow ing
    9                                      .

        policies: To simpliY clarify and m odernize the 1aw governing consumer
        prqtection, unfair m ethods of com petition, and unconscionable, deceptive, and

        unfair trade practices; and To protect yhe consum ing public and legitim ate

        business enterprises from those w ho engage in unfair m ethods of com petition,

        or'unconscionable,decepi
                            $
                                ive,or unfair acts or practiees in the conduct of any

        traàe or commerce.FLA.STAT.j504202(1) and (2).At
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    a11-tim es relevant hejeto, BUCKMAN was usèd like a Consum er by Deutsche
        Bank to fraudulently Foreclöse and ,as a ''consum er'' as defined by FLA.STAT.
                                              .




        5501.203 (7).At allt'im es relevant hereto, these defendants w ere engaged in
        ''trade or commerce''as defined by FLA.STAT.5501.203 (8) Eithçs any;ör al1
        ofthe Defendants in this countcreated the docum ents purportedly transferrin:

    the subject m ortgage from LANCASTER T0 M ERS T0 DEUSTCHE BANK 2005-
                            @



    2017 ané then These defendants violated the Act by engaging in unfair and
    deceptive acts and practices including, but not lim ited to: preparing and

    executing a false and im proper Affidavit and fake assignm ent of lndebtedness

    by w ho has no appalent signing authoritykwith a.fake Notary m anufacturing

    docum ents to create the illusion 'thàt Dçutsche bank possessed equitable

    ownership of the subject mortgage despite a complete lack of evidence to
                                          .        #



    support that contention.Jhese defendants knew, or should have known,the

    A0 M s,Affidavit of Indebtedness,along w ith other docum ents ''created''to give
          .




    the illusion that the 2007 foreclosure Defendants possessed equitable

    ow nership of the subject prom issory note and m ortgage and was authorized
    '          '
                                  g   .

    w ith invalid and illegal docup ents created w hich w as perform ed onDeutsche

    Bank and Lancaster BANK'V behalf and with each's acceptance and approval
                            1
    w hen in fact neither w as the real party in interest w hen the claim s w ere filed.

    These Defendants have violated the act by engaging the follow ing acts of

    unconscionable conduct, of unfair deceptive 'practicqs in the conduct of trade

    or com m erce.Defendants;claim ed and continue to claim ow nership as holder
*
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    ofthe subject note and mortgage even though they knew this status was based
                                        '
                                            J,
    upon falsified docum ents.'Attorneys feès and èosts are sought pursuant to Fla.

    Stat. 5501.2105. W HEREFORE,'Plaintiffs respectfully request that this Coul't
    award dqmages, and any other just and appropriate relief under the law;
    including but not lim ited to,attorneys'fees and costs.


                                   d

            THIkTEE#TH 'cAusE oF AcTlox sl-àxoEq oF TITI,E
            IN VIOLATION OF FL.STAT.65.011,65.021,65.031,65.861                       *




p   PlMintiffJAM ES BUCKMAN re-alleges and incorporates by reference alIpreceding
                         .   ' .

    paqagraphs as though fully set forth herein. Defendants, and each of them ,

    disparaged Plaintiff JAM ES BUCKMAN'S exclusive valid title by and through the

    preparing, posting, publio ing, apd recording of the docum ents previously

    described herein, including, but not Iim ited to,the Notice of D efault, Notice of
                                                                                      *

    Trustee's Sale,and Trustee's Deed.Said Defendants knew or should have knoo

    that such docum ents w ere im proper in that at the tim e of the execution and

* delivery of said docum ents Defendants had no right,,title, or interest in the
                         *

    Pm perty.These docum enu w ere naturaliy and com m only to be interpreted as

    denying, disparaging; and casting doubt upon Plaintiff s Iegal title to the
Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 112 of 160


      property.By posting,publi
                              ,shing
                                  .., and
                                       ' recordi
                                          ., ng saik docum ents'disparagem ent
                                                                                    *
                                      ' .
                                     ,



      of Plaintiffs Iegal .title was made to the wotlii at Iarge. As a direct a'nd
                                 @


      proximate resultofPefeadantsconductin publishingthese documenu,Plaintjff
      JAM ES BUCKMAN'S title to the P:operty has been disparaged'and slandered,
                                                                            @


                                     )                                                  *
      and there is a cloud on Plaintiff JAM ES BUCKM AN'S title which w as obtained

      by quit claim deed on 1/01/2007 see Exhibit and Plaintiff has se ered,and

      continues to suffer, dam
                           @
                               ages in an am ount to be proved at trial as a resulte f

      Defendënts conduct,PlaintiffJames àuckman has incurred expenses in oréer

      to clear title to the property. M oreovel these 'expenses are continuing, and

      Plâintiff Jam es Buclgnan w ill incur additional charge for such purpose until the

      cloud on Plaintiffs title to the ploperty has been rem oved.'fhe amounts of   ,




      future expqnses and danlages.are not ascertainable at this as a further direct

      and proxim ate result of Defendants conduct, Plaintiff Jam es Buckm aù has

      suffered hum iliation,m ental anguish,anxiee depression,and em otional and

   physical distress,resulting in the loss of sleep and other injuries to his and

   her health and well-being,aùd continues to suffer such injuries on an ongoing
                                 @


   basis.The àm ount lf suéh dam ages shall be proyen at trial.At the tim e that
  '                                         g                          '
                                                .
   the false and disparaging docum ents w ere created and published by the

   Defelidants, D efendanu knew the docuinena w ere false and created and
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 113 of 160

                                                                                                      19

        published them w ith the m aliciops intent to injure Plaintiff James Buckm an

        and deprive them of their exclusive right, title, and interest in the Propeftyk       '
                                                      .                       @




        and to obtain the Property for their ow n use by unlaw ful m eans.The cpnduct
              *                               .                                   .       .       g




        ofthe Dèfendants in publishing the dpcum enl described above was fraudulenl
                                                          ,
                                                                  '       '
                                                                                 o
                                                                                   ,
                            .   ' .



        opp'ressive,and m alicious.Therefpre,PlaintiffJam es Buckm an is entitled to an
                                      '
        award of punitive dam ages in' an am ount sufficient to punish D efendanl for
                                              .



                                          d
        their m alicipus cohduct'and deter such m isçondùct in the future.The plaintiff

        m ust give w ritten notice W ithin 30.days of the assignm ent Fla. Courts have

        dem gnded strict com pliance w ith the Statute and have held that the required
                                                      .                       4




        notice. isa condition president to a D ebt collection action predicated upon an

        assignm ent see LVNY Funding LLC.v. Harris Fla.L W eekly Supp.C23 (Fla.1.
                                                                                1
                            @




@
        CIé.Court June 24 2009) wherein the court Foûnd that the Plaintiff failed to
                                                              '                       '
                                      .           .                                                            .

        com ply w ith the w ritten notice of provision of F.5. :559.715 and therefore
                                          :                           .

        dism issed the aciion with prejudice) accordingly the plaintiff has never

        provided the Defendanttlke mandatory 30 day of assignm ent the case'should

        also be dism issed for failure to com ply w '
                                                    ith a m andatory condition precedence.

        Lancaster Bank LLC Asjigned w rongfully the Note to M ERS on thq sap e day
    @

        the fake Closing w as done and only done as an Exhibit, see Exhibit 164, aud


*
        not a part of the A ssignm ent. So M ERS w as never the ow ner and the D eutsche                   w
                  .
        Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 114 of 160



              Bdnk Assignm ent 'from M ERS is Void Com pletely and M ERS thus causing
                                                         .I .       .               '                          t9
                                  .   .           '.


              Plaintiffs'to suFer an im paired and defective Title,plaintiffs asked for Dam ages.
    *                                                           N




                                          d

          FOURTEENTH CAIjV UF ACTIOM #0 CONTRACT
                                        .    ' tN VIOLATION OF FL                                                   .




                                              STAT. 697.10



              Deutsche bank has no .interest in Plaintiffs M ortgage, so the foreclosure on

        * Plaintiff's property would constitute unjustenrichm ent.The mortgage states that
          aIl secured sum s m uit be paid. Pl
                                            aintiffalleges thatthe obligations under tàe
          m ortgage w ere fulfilled w hen Deutsche Bank received funds in excess of the
          balance on the NOTE as a result of proceeds of'sal
                                                          .e
                                                           * through securitization to

          privpte investors m any tim ek and insurance proceeds from credit default sw aps.
                                                                            .

                                  $
          And'they have a property 1 ee and clear to just sale and keep aII the M oney
                                          .




          Leroy W illiam s show up to the closing and the W arranty Deed w as not sign'ed,
          '




          see Exh. 320.and Affidavits.To The Assigninent from M ERS to Lancaster has no
                                                                                '
                                      .

          Lot or .
                 parcel Description on The M ortgage assignm ent see Exhibit J21 & 322

          whiih is a koid and an illegal Assignm ent (South Florida's Citrus land Co.y.

'         W aIden,51So.554,59 FIa.606 (1910),and Garvin v.Baken 59 SO.2d 360 (FIa.
          1952),also according yo Fla.Stat.697.10 For liability for errorin m ortgage de-ed
          or Note and in any action relating to real Property. If the court shall find that
.                                         J
*
          any'person has prepe ed an instrum ent which due to an inaccurate or im proper

          Iegal description im pairs aliother perspn's title to real property the cottrt m ay
                                                                        '
                                                                                        .... - - -- - -   --   - - . - . .-- -..
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    aw ard to the prevailing. pdrty all actual dam ages that she or he m ay have
                                                                                     '
                               .
                          :                                                              .
    sustained as a result of such im pairm ent of title.M ust have at Ieast one w itness.

    %ut There is no w itness on our m ortgage assignm ent in violation of,117.05fb)
    1.a.b.c.d.e. see Exh. 323 Page 2. the assignm ent is void. The Notary on the

    assignm ent is a fake.The'Notary stam p m ust conm in com m ission or ID num ber,

    to identify the person if needéd to verify or iù court,(our mortgage note for
                          e

    1977 address has n com m ission or ID num ber to hide their thievery in the

    violation ofF.
                 S.117.05 (3)(A) and F.S.695.26(1) see Exh.324 The nam e ofeach
    person who executed such lnstrum ent is legibly printed, type w riuen , or

    stam ped upon such $insïtum ent im mediately beneath the signature of such
    person and the post-office address: of. each
                                              f
                                                 such person is Iegihly printed,type

    w ritten,or stam ped upon such instrum ent in violadon ofF.S.695.01 (1) and F.S.

    695.26 (1)(a)and F.S.494.0075 (5)and F.S.701.02(1)(2)(3)Ex11.325 Assignm ent
    of M orfgage w as dope 10/20/05 the day sam e as the Fake Closing and w as done

    as an Exhibit, see Exhibit 170. and not a party of the assignm ent. So M ERS.is
                          @


    not bw nef and the Deuu che Bank Assignm ent from M ERS is Void Com pletely

    and M ERS thus causing Plaintiffs to suffer an im pair ed and defective Title,

    plaintiff asked for triple Dapm ges.FLORIDA STATUE THREATENED LAW SUIT OR
    LAW SUIT FILkD BEFORE TRE NOTE W M TRANSFERRED '
                                                   W HICH IS M CLEAN V.J.P.

    M ORGAN IN VIOLATION OF FL.STXT.'726.105 (d) Fed.Rule 3.1 Standing çan .

    be brought up any tim e even on Appeal.Denied Defendants Objections to
'


    Sale w ithout Bank prôving they had Standing because the Bank filed
*                                   .                .
       '

    Com plaintbefore they owned the kotè.Plaintiffforeclosed on the property
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 116 of 160


                                             .       .   œ'           .       ,

         before they ow ned it by w ay of m aking a Fraudulent Assignm ent and taking

    K/       Defendants Dr
                        '*' oper
                             *'
                             '  t-v w ithout havinz
                                                 .< '# Note ow nership. This foreclosure
                                                              .




         should never have > en allow ed because the Bank didn't have assignm eflt.

         lf w e look furthe: the Lib pendens that w as used has a recorded date-of

         06/20/2007 an Assignm ent'ofM ortgage was recorded on that date by the
                                         d

.        clerk of court in M ipm i Dade as seen on Exhibit 326, and as seen on the
                                                                          .             .




         sam e Docum ent, the Assfgnm ent w as m ade after Lis Pendens wâs filed
                                     .
                                                                                    *



         w hich according to M clean k.JpM organ chase Bank N.
                                                         ,   A.).This is an illejal
         foreclosure,you cannot.Foreclose on a property before yoù own it (Note)
    *
         there veas never any evidencb of Deutsche bank ever ow ning the Note or

         having any klnd ofan Assignmentbefore the recorded date of08/22/2007
         so thisAssignm enthasno effectagainstthe Creditor unless recorded before
                                                                  .
                                                                      '




         the Complaint, see Fla. ïtat. 817.535 (e)5(2)(A) a person who files or
                                :    *
         direçts a filer to file w ith the intent to defraud or ùarass anothen or an'y
                                          &                       fraudulent statem ënt
         lnstrum ent containing a m aterially false fictitious or
         .




         or representation that purports Bank filed Com plaint before they ow ned

         the Note.Plaintiff foreclosed on the property before they ow ned'it by w ay

         ofm aking a Fraudulent Assignm ent and taking Defendants property w ithotit

         having Note ow nership. This foreclosure shpuld never have been allol ed

         because the Bank didn't have assignm ent, If w e look furthen the Lis
                                         d
         Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 117 of 160

                                                                     '
                                         '   .           ,       '
                             .                                           ,   .,

           Pendens that was used has a recotéed dàte of06/20/2007 an Assignm ent
                                                     ,       ,



                                                                                      '
                                                             1                    .


           of M ortgage w as récorded on that date by the clerk of court in M iam i

           Dade as seèn on Rxhib'it C, and as seen on the same Docum ent, the

           Assignm ent w as m ade after Lil Pendens was filed which according . to

           Mclean v.JpMorgan Chase Bank N.A.).This is an illegal foreclosure,you
           cannot Foreclose on a property before you own it (Note),there was never

           any evidence of Deutsche bank ever ow ning the Note or having any kipd
                                     @



           of ân Ajsignm ent before the recorded date of 08/22/2007 so this
     @


           Assignm ent has no éffect against the Creditoç unless recorded before the

!.
           Complaint,see Fla.Stat.81.7.5356e)562)(4) a person who files or directs a
                                     %
           filer.to file w ith the intent to defraud or harass another, or any lnstrum ent
                                         .
                                                 9

          '
                                                                                              *
           containing a m aterially false fictitious or fraudulent statem ent @or

           representation that purports to affeçt ow ners interest in the 'property

           described in the instrum ent com m its a Felony. Assignm ents té property
           cannot be m ade Retroactively the A sjignm ent begins from the tim e that
                                                                                  .'

           the docum ent is recorded'in the County Court.There have been num erous

I          cases that w ere dism issed because of faulty Xssignm ents such as M clean
                                 '
*
I         v:IPM.And us Bavk k.Ibanez where the Massachusetts Suprem e Court
          found that the m ortgages w em assigned to the lender after the com '
                                                                              pletion
                                                                                          <   *



          of the foreclosure sale or. the Court dçcided that the foreclosures w e'
                                                                                 re
Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 118 of 160
                        '
                            $


  void because the lenders lackèd legalauthority io foreclose and then there

  w as a Batch M, Lasalle Bank Na Aa 171 So.3d 207,209 (F1a.4*DCA 2015)

  reversing a Foreclosure Judgm ent ip part because ''the assignm ent (of
  Mortgagej was executed after the complaint was filed, also sc Abdèl
                            @



  Dae iche and Batoul Dayw iche ya Bank pf New York M ellon. w hen the
                                                ..




  assignm ent of m ortgage Iipofl The Bank of New York relied to establish its

  standing,the Appellate collrtagreed W ith the homeowners/thatthe general
                         %
  issuës of m aterial fact rem ained As to W hether the assignm ent of m ortgage
                                                                                Q'
 .

  w as sufficient to establish BNYM 'S Standing at the inception of the suit aud

  also see Darlene Angelini and Joseph Angelini v.HSBC BANK, et at.,4D14
  -
      216 the banks testim ony did not establish .rrhe relevant:that it held the
                                                                                     '
                                                                                 .

  note at the tim e thè com plaint w as filed, Although The Bank w as clearly

  the holder at the tim e it'introduced the blank indorsed Noye attrial,''tal
  plaintiffs lack of standing at the inception of the case and is not a Defect
                                d


  thaf m ay bé cured èy the acquisition of standing after the case is filed.

 And cannot be established retrbartively by acquiring staliding to filr a
 law suit after the fact. ''La lirgnce M U S.,
                                           . Bank Nat'lAssn.141 So.3d 744,
  756 (Ela.*DCA 2014) and Mcclean v.JpMorgan.Therefore Deutsche Bank
  doe'
     s not have Standing to Foreclose, and herç D eutsche Bank is. at faul
                                                                      '
                                                                         .
                                                                           t             .



 and'should pay triple.

                                    '                '
                                    .                                     :,
        Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 119 of 160




        '                                    '              ),.
            FIFTEENTH CAUSE OF-ACTION:VIOLATIUN OF TIMELY ASSIGNMENT
            FLA.'STAT. '702.011AkD FLA. 5T41726105 (D)Also the instant.
            assignm ent w as also untim ely in order for the foreclosure to be Iegal*
             .



            the assiRnm ent to the m ortkaze m ust be entered in a tim ely m anner,'

            that is it should be entered before the foreclosure, in this case it

            w as '
                 not,the Lis Pendens waj recorded 06/20/2007,Exhibit328,and                     '
                                                                                            o



            the assignm entwas recorded 08/22/2007 which was at least 63 days

@
            after the Foreclosure see .Exhibit 328, thus D eptsche Bank foreclosed
                                                            . '
                                                                  ,




            before they even ow ned ,the Note and they knew it and tried it
                                $    *                                        .             -
            anyw ay hoping that they could get aw ay w ith it,an assignm ent cannot

            Be Assigned retro actively see Progressive Exp. lns. Co. Y M cgratk
                                         '
                   .

            Com ty. Chiropractic, 913 Sè. 2d 1.2é1, (Fla. 2d DCA 2005), the
            plaintiffs lack of syanding at the inception of the case is not a defect
        *                                    .   .



        that m ay be cured .by the acquisition of standing after the case is '
                                                                                  '
                                                             .


    *   filed.Thus a party is not.perm itted to establish the right to m aintain
                       .
                                                                          .
                                                                                        *

                                     *       @                        -
                                                                  .

        an action retroactively by Acquiring standing to file a Iaw suit after

        the fact.. M çlean 'v. JpM organ. Therefore Deutsche Bank Has no

                                                     #
        o        Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 120 of 160



    *                Standing in the ow nership of the said propeèty and for Deutsche to

                     anaend the conaplaint to start oker w ould only suggest

                     fraud (Pino v.Bank of New York) as it already is by the natpre of
                     the transaction the traùsaction it's sèlf is deceptive and to have this

                     fault of an assignm ent 'w ritten after the Com plaint is filled, but.
                                          @   .



                     D eutjche Bank N.A. Still claim they have standing is an action of
            *'



                     fraud as have been tfied'by'so m any other eases and the Banks that
'


                     did them lost ( US Bank JN,A.v Ibanez ),M urray v;HSBC Bank USA                         l
                         *       m                                                               '




                     2006.0 P1) and (Powers v. HSBC BANK USX 2006). A fraudqlent
                                                                                                 Qi

                     Transfer is one w hen one iy threatened w ith suit before assignm ent           .




                     ofproperty is m ade,FI.Stat.726.105 (D),and also UCC Article 3 line
!

                 .   #6 says assignm ents or endorsem ents m usy be effectuated before suit
                         #                                                              .

                                                                                                         '
                                                                                                     o
                     is filed. Progressive'Exp. Ins. Co.v. M cgarth Com tyi A lso Fla. Fourth

                     D CA and UCC F,S. DH 673 ARTICLE 3 OF TH EUCC: says they m ust.
                                                  *                        '
                                                                       ,


                 prove they ow n the Note before they foreclose. O n N ote this case is

                 voidz'Deutsche Bank:has.no standing in this caje and property should

                 be aw arded to plaintiffs or M onetary dam ages.




    @                        @
            Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 121 of 160

                                                                                        19




                                    SIX T EEN TH CA U SE O F A C TIO N

                       M OSEY M UST BE GIVEN TO ASSIGN A NO TE. FLA.
    *


o                                                       jTATUE701.02(1)(p)

                            *                  .,

                Florida Contract tM ail Box Law) (4) says you must in order tô

                Consum m ate a Contract Or an as:ignm ent yOu m ust give consideratiqn

                m oney.The Judge Erred and is in Violation of Florida Contract Law (4)
                for not Dism issing the .
                                        case because the Assignm ent has nö Consideration

            * M oney on the Assignm ent betw eén Lancaster Bank LLC and M ERS not
                                           ,                                                     e

                only did they violxte the30 day notice on the Assignm ent by trying to
                   v    v



                sale the Note on the s/m e day and they also never Consum m ated tlye
                                                                '
                                       .
                                                                               '
                                                                           .

                contract w ith m oney consideration,see exb.329 and 330.Plea and effect
                                                    d

        *
                of..--sw orn plea bf cönsideration thrbw s burden on plaintiff.---sm ith v.
                                   $                                   .
                                                                                   .             -



                Le 'Yesque, 25 Fla .
                                   , 464: W hite v. Cam p , 1 F1a., 94. Plea of want of
                                                                                             *

                consideration as against bonafide holder of negotiable prom issory note

                Hancock v. Hale,17 Fla., 808. Section does not obviate necexsity of

            @
                Exhibltion of instrum ent to the jury;w hen Exhibited,considerltion pre-
                                                         .



                assignm ent or endors
                                 -   em ent Sinclair                  Gray, 9 FLA,, 342. EFFECT

                OFIW ORN AND unsworq plea Uf want of consideration Ib.Plea m ust set
                forth facts Ahrens k, W illis, 6 fila., 359. How draw n and w hat should

                contain W hite v.Cam q,l.
                                        dFla.,94 M ust riot bq equivalent to illegality or
        @

                failure of consideration                              5 Fla.,518.
                              *

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                                      .               .'
o
       Effect of unsworn plea by aj
                                  ,mini
                                      'strator Kni
                                                '.ght,'
                                                      v Knight, y?F1a., 253.
          !
                          '                   '
                                          s
       M ERS is not on the orilnal notë as Ci.nom iilee or anything at all and

       the Note shows at the endorsem ent paje ofthe Lancaster bank's note
                                                           1   .

       that al1 paym ents are due to LAN CASTER M ortgage Bank LLC cn

       0(2.20*,2005 and Lancaster on the sam e day signed the note to M ERS

       w ithout a 30 day liotice and' w ith no m oney considerayion and
       LXNCASTER M ortgage Bank LLC according to Lancaster w as now the
                              @   .


       note holder as stated on the back of the note but LANCASTER M ortgage

       Bank Lt-c did assign the note overto MERS (see Exhibit 331,) so MEés
                                      .               .
                                                                   '       '
                                                  .



       according to Lancaster's m oney consideration failure and to Lancaster
                                          ë


       inio the o'
                 w ner of thë Note and MERS never did buy Note or the
       assignraent because they never consum mated the assignm ent with the
                                                                          *



       consideration m oney,so therefore the assignm ent from M ers to Deutschè

       Bank is Invalid becauïe M ERS could not sign a note to Deutsche Bank

       w hen they don't ow n the Note.And don't forget the assignm ent w as late,

       Filed after the lis Tendens was filed in vlolation of Florida DCA thirh
       district court of appeal,'M clean v.JP M organ.



                              $
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      SEVENTEENTH CAUSE O F ACTION : KEEPIN G NOTE ACTIVE FQk FAKE.

      FO RECLOSU RE A FTER N OTE IS SOLD ON THE M ARK ET A ND

    ' DESTROYED! AS GOVERENED B# THE jtC LAND THE US DEPT.OF THE

      TREASURY IN VIOLXTiON OF GM P FASB FAS 140 AND FEDEM L 2

      cyR sEcTlox 200.44
                                        @
*

        This is w hat I'm Q uieting the Title against 4he SEC and Tteasury

        for The FederalGM P FASB FâS 140 Rule says that when a NOTE
        is sold op the naarket as a securityi the N ote m ust be burned and

        destroyed and can nèver be as a foreclosure instrurnent beçausq

        tllat is SEC Fraud because the IRS has written the destroyed loss
                .                                                       *

        off, then the insurance paid the loss off and then sold it on the

        market.The NOTE was a1so separated form ihe mortgage when the
                                    '




        original Prom issory N.OT'E w as not recorded glong w ith M ortgage at

        the county level.Additiqnally,the Mortgage was separated form the
        Note w hen the loan w gs bundled together w ith hundreds or

        thousands of other lpans to create m unici
                                                 palbonà fundj,in oèder
                                                                            '

        to selland trade on W all Street.W hen the Original Note wasbundled
         .
                                '           ''        '   .




        it w as destroyed and given a num ber to present others form double-

        dipping, that is, to prévent others from reselling the prom issory
                                                 '
                            .           .
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        Note again. By lear
                          *njng this inform atiön, the original w et blue ink

        prom ijsory Note can nùt be produced, because it w as destroyed
*



        when it was bundled together and put into a securitized loan trust
        to sell anb trade 1on w'a11 street,To separate the NOTE from the
        m ortgage is to collapse the trusi.See Carpenter v.Longan, 83 U.S.

        at 274 (fjnding that an assignm ent of the Mortgage without the
        Note.is a nullity);Landm arlt Nat'lBanltv,Kesler,216 P,3d158,.1661
        67   (Kan.2009)(''In the Event that a m ortgage loan som ehow
                            e   .




        sejarates interest ofthç Note and the deed oftrust,with the deed
        of trust lying wità so'me'independent entity the mortgage may

        brcom e unenforceable''l.'See also 37 Fla.Jur.Mortgages and Deeds
                   *                .;




        of'Trust '240 (One who does not have the ow nership,possession,
                                             >   .                     '



        or the right to possession ofthe m ortgage and the obligation secured

        by it, may not foreclose the m ortgage).''The mortgage follows'the
        note.An assignm ent of the Note carries th: nzortgage w ith it,w hile
                                         .




        an assignment of the later alone is a nullit/'CapitolInvestors Co.
        vs.Executors of the Esta
                               'te of M orijon,484 E2d 1157, 1163n.''W hen
                                                                '
                                                            .


        a note is secured by a m ortgage is assigned, the m ortgage follow s

        tlïe note ihto the kands of the m ortgagee.''ln other w ords,the note
                                                        .   '
                                                                           a
    @
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                     is held and
                              * ow nêd by
                                        . the certificate holders of trust, and the
'


                     m ortgage follow s thç Note.



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                    UNSIGNED M ORTGAGE NOTE IN VIN VIOLATION OF FLA STAT.695.14

        *'          This is an action brought by Plaintiff for declaratory judgment,
                                                                                                       '       '
                    injunctive and equitable relief, and for compensatory, special,                                                                                                                                      i

                    general and punitive dazages.Because MERS never got a legal
                                              .
             e                                                                        :                *                                                                                  .

                    Assignm ent from Lancaster zank because there w as no Leroy '                                       .




                    W illiam 's M ortgage or N ote that w as signed ànd never existed.So

                    Lancaster did not assign the m ortgage to M ERS and M ERS could

                    not have Assigned the M ortgage or Note to Deutsche Bank.W hich
                                                                                      @

                    shpw s that this EVICTION is ILLEGAL TH EIFT 0F THIS PROPERTY.

                    So we ihe Plaintiff,hom eoF ners,dispute the title and ow nership

                    ofthe real'property in qpestion (the :tHome''),which is the subject
                       *                      .
                                                                    '

                    of this action, in that tàe originating mortgage lenden and others
                                                                                                                   â    .


                    alleged to have ownership of Plaintiff s mortgage note and/or
                    Deed of Trust,have unlawfully sold,aàsigned and/or transferre.
                                                                                 d                                                                                                                                   '
                    their 'ow nership and security interest in Prom issory N ote and                                                                                                                             *   .




                    Deed of Trust relaJed to the Property,and,thus,do not have a
'


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                                Case 0:23-cv-61804-AHS
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                                                       Document 1 Entered on FLSD Docket 09/20/2023 Page 126 of 160
                                                                 '                                                         ''             .
                                ..-                                                          ..                                                       .                                 .

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                                          laW-ful ow nership ôr a security interest ih Plaintiffs Hom e w hich     '                                                                                                           '   w
                                p                                                                        *                                        '
                                            .



                '                         is described in delail herein For fraud, lntentional infliction of
                                                                         -       '                                     '             @'                                                      .'
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                    p           '         em otional distress, rescission, declaratory relief based, on
                                                         .                                                                                                                                        .

                                                                                     *               *                                                                                                    .
            o
                                          violations of T.I.L.A. arïd                                          R.E.S.P.A., upon                                   the         facts and
        *                                                                                p
!.                                        cirfum stances sùrrouhding Plaintiff: original loan by Leroy
                                                                                     .
                            .                                            $                                                                                                .                           .
                                                                                             '
                                            p

,                                         W illiam s that was quit claim ed,tq JAM ES BUCKM AN, Exhibit 332.'
!                                     .                                                                        .                                                                                  *
1                                         transaction and subsequeqt sqcuritization. Defendant's violations
                                                    .                                                                           a,                                    '
                                                                                                                                                                                                      .                            *




                                          of these law s are addiyional reasons this Court m ust quiet title in

                                * Plaintiffs property and aw ard dam ages, rèscission, declaratory
                                                                             .                                                                                                                        *            .
                .                                                        @       .
'                       '
         .                                judgment,and injunctive relief as requested below.                                                                                                                               '
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                                                    NIN ETEEN TH CAU SP O F ACTIO N,FLORIDA D ECEPTIVE AND
                                                                             '
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                            .                                            :           *                                                                                    .                           .        '
                                            '
                                                    UNFA IR TM D E PRA CTICE ACT VIOLATIUNS OF FL.STAT.j
                                                                                         .
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                                                                                                                                                                                                  *
                                      .

                                                        501.20491 (2005).é0,,FL.Stat.ï: 501.201,FL.STAI
                                                                                                 .                                            v                                                       *
                                                    .                                                                           .,                                                                                                 '



                                                        ï50E202(1) and (2).AND FL.STAE 501.203 (7).AS TO
                                P                                        DEU TSCH E BA NK D EFENDA NTS   . ,                                  .

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                                            Plaiptiffs realleges and incorporates all paragraphs as though                                                                                        .
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            .
                                            fully set forth in this''paragraph. The Florida Deceptive and
     *                                                                                   d
    .
                            *               Unfair Trade Pra$ctiëqs Ac$ (FDUTPA) provides for a civil cause                                                               .                           -

                                                                                                                                              '
                                            o

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    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 127 of 160



             of action for ''ùnconsciopable acts or practiees, and unfair ol
          '
          deceptive acts Qr practices in the conduct of any trade or
                                                                .




                      pp          *                                             .
          comm erce. FLA.STAT.j 501.
                                   .20491 (2005).ö0.This is an action
          foy injunctive and declaratory reliçf pursuant to the Florida

          Deceptive and Unfair Trade Practices Aet, FL.Stat.jj 501.201,
         '

          el seq. (hereinafter ''the 'Act'') and Ch:jter 86, FLA.STAT. The
          provisions of the Act are to be liberally construed to prom ote

          the follow ing policies:To.sim plify,clarify,and m odernize the law

          governing consuraer Frotection, unfair m ethods of com petition,

          andunconscionaLle,deceptive,and unfair trade practices; and To
          protect the consum ing public and lègitim ate business enterprises

          from
             ' those w ho engage in unfair m' ethods of com petition, or

          unéonscionable, deceptive, or unfair acts or practices in 'the

          conduct of any trade or com m erce.FLA,STAT. j50L202(1) and

          (2).At a1l tim es relevant hereto, BUCKV AN w as used like a
          Consum er by Deutsche Bank
                                 *   to fraudulently.Forecl
                                                     -     ose and as a
                                  d

*
         .
          ''consumsr''as'de
                          $
                            finqd by FLA.STAT.5501.203 (.7).At alltimes
         relevant hereto, these defeqdqnts w ere engaged in ''trade or

         com merce''as defined by FLA.STAT.5501.203 (8) Either,any,or
              .
                                             '
                                                 a
                                                            '




         all of the Defendqnts in this count created the docum ents
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 128 of 160



             purportedly transferring the subject.m ortgage from LANCASTER
                                                     .2


             TO M ERS To DEUSTCHE :ANK )j0s-2007 and then These

         'defendants violated the Xct by engâging in unfair and deceptive
                                                              '
                             .


             acts and practices including, but not lim ited to: preparing and
*


             executing a false 'and.ip proper Affidavit and fake assignm ent of

             Indebtedness by w ho has no apparent signing authority w ith a
                             :       *                            .
             fake Notary m anufacturing docum ents to create the illusion that
                                             :   .


             Deutsche bank possessed equitable ownership of the subject
               '                 ,       .                4

             m ortgage despite a com plete lack of evidence to support that

          contention. These defendants knew, br should have know n,'the

         A 0M s, Affidavit ,of lndebtedness, along w ith other docum ents

          f'creqted'' to give the illusion that the 2007 foreclbsure

          Defendants possessed equitable ownerjhip of the subject
         prom issory noie and.m ortgage and w as authorized w ith invalid

          and illegal docum ents 'created w hich w as perform ed on Deutsche'

          Bank and Lancaster BAN K'S behalf and W ith each's acceptance

          and approval w hen jn fact neither w as the real party in interest
    *
         w he!z the claim s w ere filed.These Defendants have violated the
         .



                             @

         gct by engaging the follow ing acts of unconscionable conduct, of

         unfair deceptive practices in the conduct of trade or com m erce.
     Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 129 of 160
                             @



           befendants,claim ed qnd continue to élaim ownership as holder

           of the subject note énd 'm ortgage even though they knew this
           status w as based opôh falsified docum ents.Attorneys fees and
           *
                    .




           èosts are sought pursuant toj Fl
                                          .
                                           a.Stat.5501.2105.W HEREFORE,
                                                                '



           Plaintiffs respectfully request that this Court aw ard dam ages,and

           any other just and appropriate relief under the law, including
           but not lim ited to, attorneys' fees and costs.
                             @




' Tw ENTIETH cAcsy oliAclqox DANG GES AND DECLARATORY
                                                           )..
     RELIEF PURSUANT TO FA NNIE m E, DEUTSH : BANK AND U S
                                   d                       .


 .
     Bu ks, THE'LPS FW W TIES AND SF. IN W OLATION OF FEDERAL
     C O DE 18 U.S.
                  C. 1962 ANll 18 U.S.C.1964, 18 U.S.C.1961 (B) SECTION*
     201,AS TO BRIBING JUD G6S


     @                                                 .

     Plaintiff incorporate a11paragraphs inclusive,heyein,as though set forth herein.
                                                                                      o
                             @

     ln 2007, and continuing, through the present, a11 D efendants did cooperate

     jointly and severally in.the.commission of two (2) or more of the IUCO
     predicate acts that are item izçd in the RICO laws at 18 U.S.
                                                                 C.j 1961(1) (A)
     Bribe!y of Judges by t
                          %e Banks in Rico Conspiracy to stealproperty and (B)
     %ections 1028 as to Fraud and the stealing of property 18 U.
                                                                S.C.j 196141)
     (B) Sedion 1344, Financial Institution Fraud, 18 U.S.C. j 1961.(1) (B)
                                       '
                                                                       .
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 130 of 160


.s      sj
                                      .'
        ection 19s2,Racketeering 19jt and.18 u.s.c.j 1961(1) (B) section .1028
                                          '
                                          .
                                                  '
                                                      '   .                           .



    Identinsation Frau(i and Fraudulent Dosuments and did so ln Violatio;

    of the RICO Code 18 U.
                         .S.C. 1962(b) (Prohibited activitiesl.plaintiff f'urther
    P
    alleges thatDefendants,DADE COUNW CLERK OF TkE COURTS,DADE COUNW
                                                                                              '
                                                                                          .
                            @


    RECORDS NOTARY'S, ATTORNEYS TITLE INSURAYCE FUND, DADE COUNTY
*                .                                                                    w


    SHERIFFS DEPT. AND DEUTSCHE BANK NATJOYAL TRUST COW ANY
    AS TRUSTEE,IJNPER TI-1E POOLIN/ AND jERVICING AGREEM ENT
                     *
                                 ..


    SERIES RAST 2006-%8 (CSFB) from now seen as (DBN).Along with
                                         :                               '
                                              .


    LAN CA STER M ortgage B ank LLC, M ER S, IN D Y M AC BA N K , PH ON Y

    N OTA RY REBECCA G ON ZA LEZ, D A D E'CO LTN TY JUD GE M IGU EL D E

    LA 0 , JUD G E M ON ICA G ORD O A r           JUD G E ALLEN FINE ! O n their

    own behaltl and on beh>lf of the codefendants, in conjunction with and ia
                           @



    furtherance of the RICO Conspiracy w ith al1 the rçm aining D efendants, did

    commit two (2) or more ol-thè offenses itemized above in a marmer which
    they calculated and .prem edhated intentionally to threaten continuity, i.e. a
             .




    contihuing threat of their respective
                                        :
                                          r
                                          .
                                           acketeeririg activities, also' in violation

    oit-the RICO 1aw at 18 U.S.C.1962(b) supra.Ata11times herein, defendantsx
                                                                            *

    on their ow n behalf, and on behalf of the codefendants and each ôf them '
                                                                .




    @Conspired with remaining Defendants, to interfpre with the quiet enjoyment
    of Plaintiffs hom e and steal the equil in the Plaintiff's hom e through the.'

    use of sham pleadings, m alm facm red Etevidence'' such         as   fraudulent
Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 131 of 160

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     AF/D AVITS, M ORTGA GES,               ASSIGO IENTS, N O TA RY S in a CI
                                                                            *VI
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court'actioh in order to fraudulently obtain a judgment of foreclosure in the
D eutsche Bank Case there .is no W arranty D eed signed by the Ow ners and

no Pow er of A ttornçy on the D ade County R ècord as required by F1. Stat.
                         %                                     .
        for one O wner like Jam es Buckm an to sign as Pow er of A ttorney for

A lexander M orera. A nd Jam es Buckm an and M aurice Sym onette's A ffidavitd,
                                                                                 *



Exh (333 )(334) say that neither of them'attended the'Closing and Tarma
    Carter the ther (lsvner did not show to the Closing as indicated in the
@


                         *
                    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 132 of 160

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            ASE N(k23.CV.
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                    CAUSES UF Atm ON:
            1.m CO CONSPIRAG
            2.JUDOESANDUFFICIALY
                    O NFLICTSOFINTEREST
            3.VIOLATION OF FL.STAT.RM .1l
              AND 795.t01
                    #
            kV NKRUPTCYVIOLATION.
            ;
            .VIOLATION OFTHE l4'
                               rH
              AM BNDMENT                        .
            G TURNINU OI'
                        T ELEW tCALPOW ER
             TO DISABLED PERSON.
            LCONS/IRING LMVYERSNEVER
                BROUGHT IN NOTE
            1.VIULATIONOFFL.SYATI45-Y 14*)
                PRO/ERTY SOLD Sö LQW IT
                ?HUCKSTHECONSCIENCE
            '
            .   VIOLATIONDFFDCPA 15UrKC.
            #16#2at3)(5).AND FCPPA FL STAT.
             j559.55
            .   VIOLATION OFRESPA 12D.S.C
                2605IQWRITILALAWS


            .   ILLEGALCONSCME COLLEW ION
                ljU-S.C-jl692a(3)t15U.S.C.
                jl692a(5)ANDFL.STAT955#.55    A ttom ey Tiile Insurance Com'panys law suit w herein Tanna
                                                e

            arter argued that she did not show up to the Closing to sign the W arranty D eed

    *
            ,e A ffidavits of M aurice Sym oneqe
                                              .
                                                 and James Buckman,Exh.(335) (336).But

            ; a part of the Rico Conspiraçy the Clerk of the Court H arvey Ruvin erased
                '
            te Attonwy Title Insprante Co's v. Tanna Carter, James Buckman,Alexander
            lordra and Flam ingo Title Co. so that you could not see the Objections of the

            '
            efendants of that Case saying they didn't go'to the Closing and did lm t ow e
'


            ancaster any M oney that w as kept by Flam ingo Title Co. A nd Attorney Title
                    *

            ksurance Co. D ism issed their charges against those D efendants because Flam ingo          .

.       *
            Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 133 of 160



    itle Co.gave some M oney back to Attorney Title lnsurance Co.Exh.(337) whp
    Lcûitated w ith the Clerk of the 'Courts to allow the Fraudulent and Forged
    '
    Jarranty D
             . eed tTamla Carter,AlexanderM orera and JamesBuckman were Forged),
'
    Ad then the Uonspirators put the Fraudulent and Forged W arranty Deed onto thè

    ecord Exh. (338) without a Po
                               @
                                 wer of Attorney Exh. (339) and allowed a
    ràudulent and V rged M ortgâgç Note onto the Record without the required'
    '
    riginal Signatures Exh.(340) ln Violakioh of FL.Stat.().W hich was then used
    : A ttorney Titles lnsurance Co. The C lerk of,the Courts and D eutsche B ank to

        ssign the Fraudulent and Fdrged M ortgage to M ERS in Oct.20t
                                                                    h 200j with a
    '             .                                              :
    ake A ssignm ent w ith no N otary Stam p, Com m lssiön N um ber, W itnesses or
                                                                 .                           *
                                                     .
                                                 @



    reparer,Exh.(341) as required by F1.Stat.(117.05(3)(a) and then one year and
    ,ur m onths later in M arzh 21, 2007 put the A ssigpm ent on R ecord illegally
                                                             .




    zcause the Fl. Stat.saxs tha! tke Assignment must be Recorded within 30 days
        e                                        .       *                                   -
    f'the siN ing of the Assignment this was done in Violâtion of F1. Stat.( ) which
    Lakes Void the M ER S A ssignm ent. But these Conspirators used the Fake M ER S

    ssignment to Assign the Fake unsijned M ortgage to Deutsche Bank in Violation

    FF1. Stat.( ) so therefore D eutsch Bank never had any Standing to Foreclose.
         @


    S B ank does not have ap A llonge Signed by the President,

            Vice President or the Executive Director in Violàtion of F1. Stat. 692. (3)
            and (4).And no Secretary cafl sign an Allonge which is an Assignment to
             Convgy Property F1. stat.
                                     ù92.101 (3) and
                                            .
                                                                 (4). And yet the Allonge
                ....x.- .- - . ' ..   .- ..- .
                                 @
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 134 of 160

@
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        (Assignment to the Prèmissory Note) ks signed by the A ssistant Secretary
                                                               -:    .




        w ho has absolutely no right to Sign an A llonge or an A ssignm ent to Convey
                                 :         *                                                   .
        Property according to F1. Stat. 692.101 (3) and (4) And the Homecopi
                                               .                           ngs
                                                           #


        Assignment US Barlk this is the wrong Bank,Bxh.(342 ) (343                                         And thJ

        Case was Dijmissed with Prejudice by Judge Sarah Zabel Exh. (344) and

    @
        the Docket dated April6th 2009 Exh (345 l.and Judge Valerie M armô Schurr
        w ho w as never A ssigned to our Case but w gs able to insert a Fraudulent'

        Dismissal W ithout Prejudice with the help of the Conspiring Lawyers and-
                                                       *                               -
                                                   .                               ,

        the Clerk of the Court H arvey Ruvin even thöugh Judge Valerie M anno
                                               p                                                            '
                                       .
        Schua wasn't.the Jùdge
                            : .
                                on the Case, a JudRe
                                                  v
                                                     we have never m et and a -
               *                       .


        Judge w e have never had à H earing w ith before but D ism issed the gam e

        Case thatJudge Sarah ZabelDîsmissed with Prejùdice and when l Confronted'
        Judge Valerie M anno Schurr with her $995,000,00 Conflict of lnterest, w ith

    *GM AC, Exh. (346), which is US Bqnk, Exh..
                                              (347). She said she did not
                                 @   ' .                                                           '


        sign that Order of Dism issal W ithotlt Prejudice and aAer the taped Hearing
        '



        she w as heard by four W itnesses to say to the Conspiring Law yers of

        BlancRom e. itoh m y God 1 don't beliçve you Law yers Signed m y nam e on
                                               d
                             -         @                                 .
               @        w.                                                                             .

        an Order like that'' Ekh. ()48). (four Ax davits).And îthen two days later'
        Jpdge schurr Recused herself off ihe'Case,Exh. (349) which by Law the

        Case must RETURN AND REVERT BACK TO THE OW GW AL AJDGE
        SA M       ZA BEL'S D ISM IS'
                                    SA L m TH PREJUDICE.Exh. (350).NO.
                                                                     W                                          TIIE
                                                                    ..       . .           '   .
    *
                           $
  Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 135 of 160
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   PR OPERTY W ITH TIIIS N EW LY D ISCOV ERED EV ID EN CE.Ar
                                     . ..$        '              .          .
                                                                                                FR AI7D .
                                                      h..



   AND RICO CONSPIRACY OF JLTDGES BEING PAID tcoxrt-lè'r oF
  '
   INTEREST) BY US BANK TO RULE                             IN       TIIEIR FAVOR               CA N

   BE      M YISITED BVCAUSE OF VIOLATION OF FED ER AL RU LE 60
- (B) (2) (4) (6) AN.D Fla:k..of Civ. Proc. 1540 (b) (2) STANDING CAN'
   BE QUESTIUNED AT ANYTIG                       FEDERAL RULE 3.1 AND BECAUSE
      13l FEDERAL JUDGES W E:E CAUGHT                                W ITHCONFLICTS OF
       IN TEREST   Tlv R EM ED Y PER SCR IB ED                       W AS       TM T    YOU          CA N

   RESTART YoUR CASE FOR Vx.FED EM L JUD GE M ARCIA COO K ON

   THIS QEUTSCC           BANK CASE W AS ONE OF Tc                                     131 JUDGES
  @

   EFFECTW G 685 CA SES NXTIQNMqDE CXUGHT W                                         THE NET OF
      SCONFLICT      OF        INTEREST           CASES,              GOOGLE           TI-IIS        (SEE
   X     :H TTPS://W W    .W SJ.CO W A RTICLES/I3I-FED EM L-D D GES-

   B R O K E-T H E -LA W -B Y-H EA R IN G -C A SES-W H ER E -TH EY-H A D -A -
                           $                                                    .                               -
   FlN AN ClA L-m TEREST-11632834421                        This is total Fraud, M ER S and
                                             A    .                                     '


   Deutsche Bank and U S Bank is breaking al1 Laws to take our propeo

   Because I as Blacks for Trum p have been treated bad w ith BLA CK M EG A

   D iscrim iùation because of m e helping Republicans from BU SH , SCO TT TO
  *


   TRUM R N ew ly discoyered evidence and fraud, because w hen w e w ent to '

   the D ade County R ecords D epartm ent because a11 M ortgage N otes are
              .      -                                                                                      *




   Required to be Recorded with Original Signatures F.S. 701.02(1)(2)(3) Exh.
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                                                   @                                      '.'



                        351. 'and. W e discovered that the Lancaster M ORTGA G E N O TE has
            *


                        absolutely no signatures of'the'so calleb buyer (Leroy W illiams) on Note as

                    Required by F.S.695.26 (.1) (a),which caused m e to search the w hole record
                                                   :             *                                                   -
                    to discover that A11 Buyer's (Leroy W illiam 's) SIGNATURES and W TIAI-S
                                                                                  â


                        are all Blacked Out and the blacked out signature as shown on godsz.com *
                                                                          .




                    #1 showing Dade County Clerk Guetty Jean #217325 behind Clerk's desk
                    behind protective glass
                    @
                                                            She's on video after red stam ping and putting fny

                    paym ent receipt on tho Certified so called Leroy m lliam s show ing M ortgage-

                    N ote on C am era, video show s blacked out initials on Lancaster N ote. A nd.
                                                                 *            @
                                                                                                .          .

                    two m anagers of the Clerk's oG ce saying there'j no w ay this N ote should

                    have .been put on R e'cordéd w ithout the Signature, godsz.com and 1 recorded
                                                   $

                    this a11 on docket for Leroy W illiam s lhere's no signed M ortgage,Prom igsory
                                                                                                                 *


                        or Prepaym ent R ider R ecorded in D ade County. There is no lost N ote count'

                        in D eutsche Bank Com plaint and M ER S is not listed in the N ote as N om inee
                                                             .




                    por anything at all, E xh. 352. W hich is w hy they did a Fake M ortgage
'                                                  .   ' ,
'
                    A ssignm ept w hich included the Prom issoq N ote as stated on the bottom of
                                     .




                    the A ssighed note from Lancaster Bank to M EX S Exh.353., signed by the'

        .
                    Vice President of Lancaster (@Darlene Perera) the same lady who on the exact                         I
    *                                e   .
                '
                    sam e date she signed â fake
                                               ' A llonge to another B ank called lndy M ac B ank,'
                                                                                  g                 '.

                    illegal see Exh. (354) 1-5 you can'i sell a Note to two different entities
                        p   ''''*'           ''   ''
                                                        .    .       *'
                                                                     '                '




                    especially on the sam e datç and did not record the assignm ent until 2007
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                                        :                     ' '    .
                                                                         :'               19
                                                              .
                       *                                      . :.       .

            year and 5 m onths after sale which p akçs the note void according to'F.S.

            Exh.355. A llow ing an unsigned M ortgage N ote to be R ecorded in Florida'

            w hich is a Felony, F.S. 817.
                                        2341 and 775.0à2,775.083 and 775.084.And
                                                  .




                 are al1 forgeries that can alm ost be seen under the blacked out ink w hen
                                        e   ' .               '
                                                      .

                 com paripg that signature to the other signatures of the other notes w ith
    *
                 the conkect signature see the Plaintiffs L ancster's R eçorded N ote show s'

                 Note has a wrong forged signature ihat you can see under the blacked
                   *
                            .

                 out signature, E xh.656.'
                                         T his is the C ol-rect Leroy svilliam 's real signature '

                 from the other note from real kécorded Note of Leroy W illiams othef
                 property.From a real Closings, see pgs..16 and 20 of, Exh.357 and 358.@
'



                 And Flam ingo Title Cöm pany was sued by Xttorney 'lttle lnsurxnce Co.

                 Because of m oney given but no N ote, Exh. 359, 360, 361,. A nd no valid
                                                                              ,                 5
                                                                                                t

-

                 W arranty D eed because A lexander M orera w as not there and did not sign
    .


                 the W arranty D eed, Exh.362 .One of the ow ners of the hom e 1977 ne

                 119th road M iam i 33181/ Jam es Btlckm an w as not at the closing, see
                                    .




                 affldavit Exh. 363. and Jam es Buckm an did not sign anything as it

             '
                 A PPEARED on the fake W arranty Deed, Exh,364. See Jam es Buckm an'd

                 real signatûre on drivers license, Exh.365. Someone lllegally signed for

        *
                 Jam es Buchm an. See A x davit from M auyice Sym onette anothet ow ner
                                                          .                       .   .




                 saying that he (M aurice) was there atthe Ang!y wiped out non closing'
                 and witnessed that James Buckmap, p nner Carter,Alexander M orera nor.
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        dib Leroy W illiams show up to the çlosing and the W arranty Deed was
                                                 l   '                                     .
                            .


        not'signbd, see Exh.366. A ffidavit from Jam es Buckm an stating that he

        was notat the closinj so'therewas no LegalW arranty filed on the Record!
        So paym ents continued.to'Bank,Exh.367,368,369.and then EM C
                            $
        M ortgage Bank EM C . M qrtgage co. w rote and said m ake a11 paym ents to

        IN D Y M A C BAN K , Exh.370. A nd Paym ents w ere m ade on tim e even six'&

        m onths after D eutsche B arlk Foreclosure w as started 06/20/2007, Exh. 371.

    p
        See receipts show ing paym ents 06/19/07 to 09/29/07 4 m onths àfter

        D eutsche Bank foreclosure started Exh. 372,373,374,375. A nd unknown '

        Bank. D eutsche Balzk Lis Pen dance date filed w ith no D ue Process N otice   .



                                         '

        to us. see page 11 of Dade Docket Exh.376.Yhis filed while Payments
        wore stitlbeing m àde
                            %
                              ahd @on T1M E,Exh.377.A nd not
                                 .
                                                          .
                                                            ice
                                                                the N ote blacked

        out the Loan N um ber so that you gould not check it, Exh.378.

            TH ERE IS A BSO LU TFLY N O LA N CA STER N O TE AT A LL

        A.) Bçcause Leroy ,W illiams did not go to the Closing anb did not sign
           the Notes to LANCAST/R BANK, so tiken the Note was never

        B.) Assigned to M ERS, E.xh.379.
                                             *
                                         .


        C.)Assignment mustbe recorded within 30 da#s F.S.494.0075 3.(3) our
*
                            %



                                                         '
                                     .                                             .       : .-.- . -   .
        *

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                                                                                         19

                    A ssignm ent WAS RECOVDED 1 YEAR Ar
                               .
                                                                      5 M ON TH S A FTER TH E
                    SM ,E/CLO SW G , The A ssigpm ent conveyed, sold and signed 10/20/05

                    R ecorded 03/21/27, Exh.380.


                D.)Because M ERS nevergota LegalAssignmentfrom LancasterBank because
                    there w as no Leroy W illiam 'j M ortgage N otè that existed. So M ER S did

                    not A ssign the M ortgage N ote to D eutsche Bank. W hich show s that this

                    Evlc-rtox is ILLEGAL T. FT OF THIS PROPMRTY,we actually have
                                             .




                    no rights to ow n property: here's m ore proof.

                E.) If M ortgage Note il not recorded by 1 year the M örtgage Note is void.
                                                     1   .

                    This N ote w as never signed and never Recorded w ith Leroy W illiam s

                    signature 9om 10/20/05 until today so M ortgage N ote is void . And in

                    violation of F.S. 695.01. and see: Exh. 381.
                @



                F.) The M ortgage Note.has a space in the righi corner ofM ortgage Note for'
                    the preparer of the N ote '
                                              w here the nam e and post-office address of the


                G.) natural person who preparpd ithe instrument or under whose
    *




                H.)sujervision it was prepared are:legibly printed, typewritten, or stamped
                                                         .
                                                                                                *

                    upon such instrum ent'
                                         , this N ote is void. A nd in violation of F.S. 695.26.

                    (1) (b).F.) And then the Note was Conveyed illegally by Lancaster Bank
                .   to M ortgage Electronic Registration Systems (M ERS) with no thirty day
                                        *
x           @
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                                                                                    19

           or any notice As required V f'
                                        lorièa which renders N ote unenforceable
                                                                '                         ..
                                                           .            .


           and void.F.S.701.02(1)42)(3).Notice requirement - The borrower must be
           giving 15-30 days notice before note is sold


    l.) or assigned to another entity.(RESPA Law 12 U.S.CODE j 2605) the
                                           '
                                   .           :

           M ortgage Note sijnyd 10/20/05 and theAssignmentFas on the same day
           of Sale w ithout required N otice .also in the original fraudulent m ortgage

           note PA G E 11 num ber 20 states that the sale of note or change of'

           services the borrow m ust be given notice according to RESPA 1aw w hich

           is .15 to 30 days. But the fraudulent A ssignm ent w as signed Oct. 20th
                               @       .

           2005, Exh.382. the sam e day as the fraudulent closing, w ritten on the
           '


           front pàge of the M ortgage N ote, Exh. 383. w hich m akes this A ssignm ent'
                                           *           *
                                                   .




           void .F.S.701.02(1)(2)(3):Assignments must be recorded with in 30 days
                                   .                                            .




           according to Floridz STATVTE 494.
                                           0075. 3(2) (3).ThisktssignnAent xvas'
           recorded tw o years after sale â w.as illegally signed, Exh. 384. this

           Assignment is totally void.) lf Assigmrent is not recorded by 1 yrar the
           A ssignm ent is void aciording to Florida Statute 695.01. The A s:ignm ent
                                                           ''           '
               .

           w as signed and notarized O ct. 20th, 2005, but
                               @




'
    J.) was recorded M ay 21st2007,one year and 5 months later.EAh.385.But-
                                                       *                    '
                                                   ,
                                                   .
                                                                    '

           the Judges let BLANK ROM E A ttom eys use this Void Assignment to
                                               d

    *      Foteclose because tkey were a11 colluding (M clean v.JpM organ) says you .
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                                                                                        19

         caq't foreclose before yotl ow n the N ote!The A ssigm nent from < R S to

         D eutsche B ank is Void because assiglm zent w as m ade after foreclosure
           *   .    .                                           .
                             %
         started 06/20/07, Exh. 386. and the M ER S A ssignm ent to D eutsche B ank          ,




         w as 08/22/07, Exh. 387. apd (Mclean v. JpM organ). But the Judges lei                      .




         BLANK RUNG Attorneys use this Void Assignm ent to Forçclose because

         they w ere a11 colluding.
                             *


          ILLEG A L FA K E N O TA RY PU BLIC V O ID S O W N ER SH IP O N

                                     .   M O R TG A G E N O TE

         The N otary on the M ortgage Note is a VOID. The Notary stam p must
                    *
                                     .



         contain com m ission or ID num ber. to identify the person if needed to
                                                                                                 *
 .

         verify or in court,(OurM ortgage Note for 1977address has no commission
         or ID num ber that's at a11 Legible to hide their thievery sre pag: 15 of
'* the MORTGAGE Note of Record.in violation of F.S. 117.05 (3j(A) and
                                                     .                  .


                                                                                                         '
                                                                                                     .
         F.S. 695.26 (1).This sfodgage Note does not have proof of identity of
         signer as required in violation of F.S. 117.
                                                    05 #(5) and (5)(a) see Exh.388-
     '                                                                      '
                                                 *                              -
                                             .

         page 2. at m iddle of the paper. The N otaries riam e m ust be printed under
                                 .       d

         their signature, on' 197*7 M ortuaae N ote there ià no printed nam e under
                                     .
                             $                           G <'                       x                .
                                                                    '
           o

         the N otary Public signaturb in violation of the fake A ssignm ent to M ER S.

         Is void of see Exh. 389. Page 2. F.S. 695.24 (1) (D) (E). New Jersey'
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                                                                                  19

        notary stam p rules is the sam e gs Florida rules the N ew Jersey notary of'
                                               .   k

        2005 looks totally different from the Fraudulent one on our


        M ortgage note, Exh.
                           .
                             390. and 391.The Staté of N ew Jrrsey N otary stam p .

        0n Our m ortgage assignm ent is a C OG PLETLY V YD E U P FM U D !Exh.
    '



        392. page 2. and is a p'
                               unijhable felony, s.775.082 775.083 or 5.715.84.
                                   .

        Fake N ota!y done by pConspirator Partner REBECCA
          .                                                                    GONZALEZ

        ILLEGAL FAKE xoli
                        u v ptm l-lc volos ow xsRsulp ox
                                           â   .




        M ORTGA G E A SSIGN M EN T M ust have at least one w itness. There is no.

        with witness on our M ortgage Assignment in VtOlation of,F.s. 117'.:5 (b)
.
        1.a.b.c.d.e. see Ex'
                           h.393. page 2. the A ssigpm ent is voi
                                                               . d The N ot
                                                                         * ary on
                                                                           .




        the A ssignm ent is ar féke. The N otary stam p m ust contain com m ission or

        ID num ber, to identify the person if needed to verify or in court, (Our
                                                                   '
                                                           .


        M ortgage N ote for 1977address has no com m ission or ID num ber to hide
                                           '                   .       '
                          g,


        thëir thievery in vivlation of F.S. 117.05 (3)(A) and F.S.695.26 (1).see.
        Exh.394. PA GE 2.The nam e of eaeh person w ho executed suèh instrum ent

        is lçgibly printed, type w ritten, or stam ped upon such instrum ent'
                                                       .




        im m ediately beneath the signature of such person and the post- office

        address of each such persoli is legibly prilked, typewritten, or stampèd
                               *


        upon such instrument in violation of F.S.695.01 (1)ANt'
                                                              l F.S.695.26 (1)

        (a) and F.S.494.0075 (5) >nd F.S.701.02(1)(2)j3) Exh.395.
                                   .   J
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                                                                           19




                          SEVXk sEm xo ox lwvMEx'
                                                rs
        W e w ere m aking paym ents to EM C M ortgage see: Ex11.396 - 397, w hat

        w as the A lexander M orera M ortgage N ote because the buyer L eroy

        W illiap s from seller A'
                                lexander M orera closing did not happen and then
*
        EM C M ortgage Transferred ihe N ote to lpdy M ac Bank, Exh.398. W e             '
                                                                                     .
                           @


        m ade paym ents to lndy M àc B ank Exh. 399 - 400.W e w ere m aking those

        paym ents far after D eutschç.Bank filed the no D ue Process of Services

        Notice Foreclosure h up until they got the D efault Judgem ent against us
        w e . paid EM C, Exh. 401 - 402 then the new    bank D eutsche bank Som e

    .   how stop taking our on tim e Paym ents A nd refused to take

        Paym ents 9om us after they secretly gùt a j.And now this new Balzk

o
        who have harassed us, helped sink m y boat
                                               ' '
                                                   in m y back yard, G odsz-com

        #10 A . and broke .intp m y house and stole from us, see police report.

        Exh.403. And now this .Fraudulent D eutsche Bartk is now Evicting us
               .                                                                .   *'

                                   .

        from the house Exh.404. sjtjy the help of the Clerk of the Courts. See
                               .       @                      .

        video of Clerks have 'allowed unsigned N otes like ours to be illegally
                   *               .                      .
                           :                                      :

        recbrded and then banks .forecloje on u with no N ote eveq if you are

        paying on time with the help of the judge who Fithout seeing the Note .
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                                           $                                                                             19
                        *                                                                                                     .
                                                                                                  ,

                 that is Compleiely FRAIJDIJLEMT.Blâcked out signatures from the Dade
                     County Records Dept. W OW Godsz.com at the top of the w eb site # AA .'

                 and A B.. Thev m ust be stopped!!!! this E VICTIOM S ILLEG AL AN D l     .




                 DJST TO THE FTC TO PRMSIDENT TRUSV 'S NEW BANK FRAUD
                 TA SK FORCE !!! I
                        .        flsroRv olzTuls FRYUD Ar                                                         HOW THEY DlD
                 lT ! The property w as quit claim ed by ow ner A lexander M orera over to
'



                 Tarma Carter,James Buck@man and to himself (AI,EXANDER M OREM )
                                               .
                                                                                                      '
                                                       g
                       .                           '
                                       *
        .
                     10/01/04, Exh.405.V e iad a lease with an option to buy for 14,000.00
                        *
                 .



                       month,Exh.406.A11.before fan'caster Bank Fraudulently Recorded an
                 unsigned blacked out M ortgage N ote Exh. 407. A nd before the so called
                                                                                                                                      '
                                                                                                          .

                                                                                                          '
                                                           .

                 sale to Leroy W illiam s, and Alexander M orera, Tanna Carter and Jam es
            v                                                      *                          '
                                                                                                                                          '
                       x,


                 Littlejohn quit claimed it over to James Littlejohn and Leroy W illiams
                                           .           .
                                                                                                              '




                     12/U6/04*
                             5 Exh.408. Then Leroy W illiam s quit claim ed it solely to Jam es
                                                               .




    .
                 Littlejohn 07/08/06, Exh.409; .lames Littlelohn then Quit claimed it back
                 to him self, Robert.Clark ahd Leroy W illiam s on 02/05/2008, Exh.410.A nd
                       @'              .




                 JamesLittlejohn,RobertClàrk and Leroy W illiams quitclaimed itto J>mes
                                                                              $   .
                                                                                                                                  *

                'Littlejohn,Exh.411.lastly JamesLittlejolm quit it to M aurice Symonette,.
                                                                                                                                          '
                                   .                                                  .


                 James Littlejohn and M icahielNichloson 01/01/07, .Exh.412.There was

            *
                 suppos
                   .A
                       ed to be a Sale C losing on the house but Leroy W illiam s'did not
                            ..*.                                   . '*''e'                   .
                                                                                                                                          .

                 show up and A lexander M orera did not show up because he quit
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                                                                        -:.9
@

    Claim ed the property before the go called closing date and could not be
                        e
                                                     g'k
    fouhd. A fter arguing. A lexander M orera and Leroy W illiam s did not sign

    the N otes and the clbsing D ocs, but som ehow the title com pany or som e

    one kept the m oney. ThedProof of this is Attorney Title lnsurance Fund

    (ATIF) sued Flamingo Ti.tle Services lnc. who was supposed to dq the
    closing on the house.ATIF Accused them of keeping the money from thJ

    closing that did not happen w ith Leroy W illiam s, Exh 413    419.W IIICH
                                                                               '
                                            .                                  .


    W A S SOM EH OW RESOLV ED between Flam ingo Title and Title lùsurànce
                                            ''             *
        .



    C om pany, see Exh--420. & 421. On the sam e day of O ct. 20, 2005,and '

    a letter had cam e to tell us that they w ould not be accepting paym ents.

    from us to our form er bank and that it w ould be going to lndy M ac Balzk
                                        @                      .

    and we were maklny the payments to lndy M ac and then three
    m onths later D eutsche Bab.k filed a foreclosure against us that w e didn't

    know they had filed w hich is no D ue Process and then suddenly D eutsche'

    Bank sent a paym ent m oney back to us and then told us that

    they w ould not be accepting paym ents from us anym ore because they w ere
                        @       '   ,

    forrclosing on us but w e w ere paying EM C and lndy M ac B alak and w e

    replied to them to prqve their dept.E xh.422.W e had no idea w ho D eutsche'

    B ank w as and that they w ere foreclosing on us, w e found out D eutsche
                            '           :                      .
    '
        e      .

    bank w as assigned 1he n'ote by M ER S Exh.423. and w ithout
                                                 #
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                                                                                   19

     Noticing tlze buyér:as'mquifed by R/SP
                                        .
                                           A 12 U.S. CODE 5 2605 and-

     According to F.S. 701.0241)42443).and also in the original fraudulent
     m ortgage note PAGE 11 num ber 20 which states Shat the sale of the.

     note or change of servicer the borrow m ust be giken notice according to
                                    .




     RESPA 1aw 15 to 30 days.Florida Statute. M ER S got the N ote from

     Lancaster bank but Lancaster never had a closing w ith Leroy W illiam s.

     N otice requirem ent           The borrow er m ust be giving
                                             *                    '
                                                                      15-30 days nottce'
                                        ..




     before note is sold or as@signed to another entity. (RESPA Law 12 U.S.
                                .




     CUDE j 2à05),F.S$701.U2 (1)and also in the originalfraudulentmortgage'
     note PAGE 11 num ber 20 staïej that the sale of note or change of
     services the borrow m ust be given notice according to RESPA 1aw w hich

     is 15 .to 30 days. But the fraudulent A ssignm ent w as signed O ct. 20th .




     2045, Exh.424. the same day as the fraudulent clpsing, written on the              .
                            @



     froflt paje of the M ortgage Assignment, Exh.425. which makes this
     Assignmentvoid.(1) No'instrument ày which the title to realproperty or
     any interest thereiq conveyed, assigned, encum bered, or otherwise disposed

     of .shall be recorded by the clerk of the clerk unless TIIIS M ORTGA GE

 '
     NOTE IS FRAUD because in #20 OF The m ortgage N ote it says id
                                                                                            *
          .


     accordance w ith RESPA D isclosure after settlem ent 1aw they m ust give

     buyer 15 days before selling the N ote. But they're saying they söld
                                                     '
                                             .           .'




                                                 '            .
                                                 .
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                               '

       assigned N ote the sam e day as sett
                                          lemçntWhich voids outAssigrlmentV.S.
                                                            '
                                                                                     .
                                             , ,
                                             '
                                             .5 I
                                                                                          ,


       701.02(1)(2)(3). Tc         M ORTGAGE NOTE IIAS NO SIGNATURES.
       w làcu Is ALSO DAD: COUNTY RECORDS CLERK FRAUD AN D
*
       DADE COUNTY DUCKET CLERK FRAUD.F.S. 701.04 YOU M UST
       RECORD A SSIGN G N T 'W I'l'H 60 D AY S, our A gsignm ent w as signed
          *'       .




       Oct. 20, 2005 but recorded 03/21
                                      â
                                        /07
                                          .
                                            = Void their is no address or Legal
                                                                                     *

       description on the N ote. W herefore Plaintiff seeks relief as accorded by.

       the applicable Statute, including, but not lim ited to: Statutory Com pensatory

       damages foreach separate violation according to proof;Vxemplary jam ages
                                        .                       .




       for each separate vlolation based on the net w orth of the D efendants on

       their own behaltl and ori behalf of the co-defendants; Declaratory relietl-

       ipcluding permanent injunctive relietl prohibiting these
                                    d
                                                                    '
                               g                    .

       defendants,'or any qf their agents or assigns, from any fuhher breaches of.

       the statute; R easonable attorney's' fees and court costs according to proof,
                                                                        .            Q



       Such other and further relief as the court deems just and proper..Pursuant*
                                                        .




       to j768.72 (2002), SLA.STAT.,Plaintiff reserves the right to amend this
       com plaint to add a prayer 'for punitive dém ages upon a show ing by

       evidence in the record providing a basis for recovery of such dam ages.



    TW ENTIFIR ST CAUSE OF ACTION DAM A GES AND DECLAR ATORY
     RELIEF PURSUANI ID 1à U.S.C.1961 18 V.S.C.1962AND 18 U.S.C.
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 148 of 160
     '




         'relief as accorded by the applicablç jtatutb, including, but not limited tof
            z                                                                            .

                                  .                       ;   e
                                                              .
          Statutory Com pensatory dam ages for each separate violation according to

          proof; Exem plary dam ages for each separate violation based on 'the net

          worth of the Defendants on their own behaltl and on behalf of the co--
@         defendants; D eclaratory .relief, inçluding permanent i
                                                                njunctive reliefx
                                                  *               '
                                              .

          prohibiting these defendants, or any of their agents or assigns, from any
                                          d                           .


          fupther breaches ol-the'statute; Reasoriable attornev's fees and court costs
                              $                                   -                      -

          according to prootl Such 'other and.further relief as the courtdeems'just

          and proper.Pursuantto j768.72 (2002),SLA.STAT.,Plaintiff reserves the'
          right to am end this com plaint to add a prayer for punitive dam ages upon

    - a showing of evikence in the record providing a basis for recovery of
          such damages.ThekbcpA was enacted to protect a11 consum ers from
          debt coilectors who seek to çollect debts through illegal ln Câns and who
                                      .




          engage in unfair or out right thievery and/or deceptiye practices during the
                             *        *
          collection of a debt
                             e. Plaintiffj are defending them sélve, from D eutsche '
                                                      N           .       '.

          Bank or Lancaster w ho is Foreclosing on us às ttconsum ers'' w ithin the

         m eaning of FD CPA , 15 U .S.C. j1692a(3).These defendants have qngaged

          in collection of çidebts'' as this phrase is desned by 15 U .
                                                                      S.C. j16924(5)
          and Fla. Stat. j559:55 allegedly owed by PlaintiE Defendants, Deutsche.
         Baâk, M ERS,Indy M ac & Lancaster who foreclosed upon this fake
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 149 of 160



        M èrtgage and N ote after a i-
                                     ake default and are Gtdebt collectors'' . The
                          .   *         .


        collection activity foreclosed the fake M ortgage and N ote, to collect m onies

        falsely ow ed pursuant to a .fake pröm issory note including a deficiency'

        judgment. lt is Plaintiffs,good faith belief that the Dory Goebel fake
                              $                                                            -
        A sgignm ent, created by D efendants w as created through collusion between
            ,                                                                         ''
                                                                                  .



        defendants D eutsche B ank, M ER S, & Lancaster to support the claim ed

        indebtedness and to support that there ls <çno genuine issue of m aterial

        fact'' in this case as of the date that the A ssignm ent w as executed. These
    @                                                       .



        D efendants continuq tp intentionally m islead the court in an eflbrt to .

        unjustly emich themselves in taking Plaintiff's home when they know,or
        should have known,at tée in'ception of this sutt that Lancaster and/or its
                                  .             #
        prqdecessor in fake interest has never ow ned the note. D efendants'
                    .
                              :             *                    .

        collection activities described herd n .violate the Florida Consum er Colleciion

        Practices Act (Fla. Stat, j 559.72) and the Fèderal Fair Debt Collection-
        PracticesAct(15 U.S.C:j 1692a etseq.
                                           ) in thatdefendants'were claiming,
    * attem pting and threatening to.collect and enforce this consum er m ortgage
                              g       ' .

        debt by foreclosure action w here they how or should have known that the
        '


        right to pursue foreclosure does not exist under the 1aw because: Lancastef
                                            *           *
                                                    .




        did not have standing to pursue the 2007 action and U S BA N K did not
                                                i                    1
                *   .
*
        have standing to pe sue 'the 2007 action; Failure
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 150 of 160

                                                                                   19

            to engage pre-forecloyure settlem ent discussions w ith Plaintiff; D efendants'

            unconscionable, decyptive m ethods and practices in collecting this loan            .




            should preclude them go'
                                   m seeking judicial enforcement of the alléged.
            The yssignment of mortgage from Axiom Bank to US Bank, Exh. (426)*

            came 2 years after the Complaint, Exh. (427) was filed iù violation of
            M clean v. JP M organ w hich '
                                         says you m ust öw n the N ote before you c@n
                                 +

            Foteclose! Lancaster post-dated the filling of the 2007 suit and the A OM

            from Fannie M ae fake M oqgage was never sigped Exh.
                                          .                    (428), the Note
            was never signed, Exh. (429) and the Warranty Deed Fas never signed
        '



            and 2 However,inNhe i007 and the 2010 Lawsuits these Banks alleged'
               *
                                                      '
                                                                                        .
                                              o



            thatthey were the çGowner and holàer ofthe subject note and mortgage':
            in their com plaints.A s such, D eutsche B alzk and U S Bank obtained the
                                                                                   .




            defaulted m ortgage w ell after the alleged default and is considered ççdebt

            collector'' under the. l
                                   aw.Any denialtotheèontrary mustbesupported V '
                       '
               .

            strict and convincing evidence.Further,m erely labeling oneself as a servicer
                   .                                           .                            *



            w hen, in fact, a large perceùtage of your businesj is collecting a debt also
                                     .        d           ''           .   .

*           qualises a1l defendants 'as ûçdebt collectors''under the law . Further,Plaintiff
                           *             .;

                                                                   '
                                                  ,


            wai subjected to tGdefault'?fees ynd charges including,but nQt limited'to,
            attorney fees, legal fees, foreclosure Costs, late charges,property inspection.

            fees, title search expenses, filing fees, broker price opinions,

    @
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         appraisal fees, forced placed insurance, and other charges and advances,
                                                                                '

         and predatory lending fees and charges a11 of w hich are not authorized by

    * pr in conformity with the terms of the subject note and m ortgàge. För
            .
                           -
                                                         .
                                                                        -
                                                                        .




         statute of limitations purpose it was impossible for èlaintiFs to pyove the-

         conduct herein until A pril, 2007 w hen these Banks and LPS entered into                 .


                      .                    *       . @                       ..


         consent orders regarding the specifc m iscondud in this case. Specifk ally
                                               d
         dOctlm ent .EfCreatio'1133 'by             individuals lacking authority      and specific

         know ledge about the dodum entG such as the D ocs. that w ere çxecuted

         and presented to the Courts a11 in furtherancb of the defendants' illegal'

         schem e to divest Plaictiff of his Propeo . These acts as well as the

         Prosecution ol thts case are wrongful, intentional, reckless, willful and
         wapton,negligent,Jeceptive,and predatoly Defendants knew they should

         not falsify docum çnts particqlarly sw ol'n docum entj m eant to prove
                                           .




         a materialfact such as Aols and AOM s.These perjured 'documents violate
                               e       .
                     *
o
                                   1                                                                  -
         15 .ILS.C. jl 6S2e(10) and                          5 (LS.C. j1692f. 81,As a result of.the
                                                             :   ,

     .
         aforesaid FDCPA and FCCPA violations, Plaintiff has been subjected tö                    *



         false and illegalcollection activities,and has therefore been harmed due to

         the slénder to her credit and em otional/physical health issues proxim ately

         caused by these defemdants.Plaintiff has retained cophsel and is entitled to .
                                    @


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        @


    *

                 1964 AS TO FANNIE V AE,US BANK,DEUTSCHE BANK LPS
                    ENTITIES THE JUDGES CLERKS AND THE LAW YERS
               Plaintiff incorporate a11 paragraphs inèlusive, hetein, as though set forth

               herein. ln 2007, and continuing, through the pm sent, a11 D efendants did

               cooperate jointly and severally in the commission of two (2) or more of
               the RICO predicatç acts that are item ized in the RICO law s at 18 U .S.C .

               jj 1961(1)(A) and .(B), and did so ln violation of the RICO 1aw at i8-
               U.S.C. 1962(b) (Prohibited activities). Plaintiff further alleges that
                             .

                                                                              (
                                                      '

               Defendants on their own béàalf, and on behalf o? the co- defendants, in
                                        '                 d                               .

               conjunction.with and: in'f-urtherance ofthe conspiracy wi
                                                                      ..
                                                                         th a11the remaining-
               Defendants, did commit two (2) or more of the offenses itqmized above
                                                                      :   .           ,       .




               in a m anner w hich they calculated and prem editated intentionally to

               threaten continuity, i.e. a continuing threat of their respective racketeering
                                                  .




            p activities,also in violation of the RICO 1aw 'at 18 U.S.C. 1962(b) supra.
                                   .        ' .

               At al1 tim es herein, defendants, on their ow n behalf, and on behalf of the

               co- defindants, and çach of them , conspired w ith rem aining defendants, to'
                                                      @           *
                                                              .




               interfere with the quiet en@joyment of PlaintiFs home
                                        '                          .
                                                                     ; steal the equity in
*

               the Plaintitts home thfo'ugh the use of sham pleàdings, manufactured'
               ûEevidence'' such as fraudulent afsdavi
                                                 # . ts in a civil court action in order tu
                                                                                  '
                                                  .




               fraudulently obtain a judgment of foreclosure,W herefore PlaintiF seeks
            Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 153 of 160



                  reimbursement of her costs 'and attom eys tees pprsuant to 15 U .S.C.
                                       @


                  916921c(3) and Fla. Stat. 5559.77.



                                            AS T O ALL DEFENDANTS
                                       :         *

                  w ICIEREFORE plaintig prays that this honorable Court aw ard her dam a'ges
                                                                         .




                  for the claim s set forth herein including litigation lees and costs. On A pril'

                  13,2007,and continuing,through the present, a11D efendants did coopeyate

                  jointly and severally in the eommission of two (2) or more of the RICO                '
                                                                                                    .
                                       .   ' .

                  predicate acts that are itemized in the RICO laws at 18 U.S.C. jj

                  1961(1)(A) and (B),>nd did so ln violation ofthe RICO 1aw at 18 U.S.CJ
                         ,
                                                 *
                                                         .
                                                             *




                  1962(b) (Prohibited activitiesl.plaintiff further alleges thgt D efendants, the
                    @'       .
        *
                  LPS entities, SF onstheir'own behalfl and on behalf of the co- defendants,'
                                                                                           .
                                                                                  .


                  in conjunction with and in furihérance of the conspiracy Qith a11 thq

                  remaining Defendants,did commit two (2) or more of the offenses itemized
                  above. in a m anner W hich they calculated and threat of prep editàted

                  inientionally to threaten continuits i.e. a continuing their respective
                  racketeefing activities, also in violation of the RICO 1aw at 18 U .S.C.

                  1962(b) supra. At al1times'herein, defendants, on their own behaltl and
    .
                  on behalf of thq co- defendants, and each of theni, conspired w ith
                                             .
*                   *        .



                  rem aining defendants, to interfere wi
                                                     . th the quiet enjoyment of Plaintiffs
                                                                 .   $

              œ                    ,
         Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 154 of 160
     *


                                            .           .. *


                 hom e; steal the equity in the Plaintiffs hom e through the use of sham
                                                    @                    . .

                 P1eadings, m anufac'tkred lGevidence'' such as fraudulent affidavits in a civil    .




                 court action in order to 'gaudulently obtain a judgment of foreclojure,
                 W herefore Plaintiff seeks relief as accorded by the applicable Statute,'

                 including, but not lim ited to: Statutory Com pensatory dam ages for each
         *
                 separate violation according to proof;Exem plary dam ages for each separ>te
                                        e

                 viqlation based on the net w orth of the D efendants on their ow n behalf,

                 and on behalf of the co-defendantsim eclaratory relief,including permanenf,

                 injunctive relief, prohibitipg these defendants, or any of their agents or
                                    *           .
i*                 *         .

                 aSSignsy from any Furthe'r breaches of the statute; Reasonable attorney's'

                 fees and court costs according to
                                                 : pr
                                                   , oof, Such other and further relief as

                 the courtdeemsjustand proper.Pursuantto j768.72 (2002),SLA.STAT.,
         '

                 P1aintiff reserves the rig'ht to am end this com plaint to add a praygr foy
         @                                                 .


                 punitive dam ages upon a show ing of evidence in the record providing a.

                 bas1s for recovery of such dam ages. Plaintiff w ill have no other Plain,

                 speedy or adequate remedy 'than the injunctive relief prayed for below is
                 necessary' and appropriate'at this tim e to prevent irreparable loss to

                 plaintiff. Plaintiff has suffçred and w ill continue to suffer in the future
                                                               #   .

             '
                 unless defendants w rongful conduct is restrained and enjoined because real*

                 property is inherently unique it w ill be im possible for Blaintiff to detennine
    Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 155 of 160

                                                         *   ,
                      .   '

        the precise am ount of dam age it w ill?suffer. MEMORANDUM OF O W
                                             .   %               ..   '




        The Defendants m aintains tim ely Cohstitutional due process civil

        rights'for Fl
                    orida Rule 2.160 (H) and Federal Rule 60 Relief.to
                                  original     .'
        close this case w ith the          Dism issal with Prejudice in our-
                          *
                  g

        Defendpnts favor w ith qequirem ent of Valerie Schurr Recusal based
                                         '

        on exposed financial coiilicts of interests Fla. Stat.112.312 (8)49).

        Rule 2.160 (H)aqd FRYP Rule 60,relieffrom JudgmentOrOrder
        anà to Vacate Order.There iq to be no conflict of interest w ith'the
                                                                                  '
                                                                                      .

        Judge and the Plaintis against D EFEND A NTS. LIKE 3. Fraud .         '
                                                                 .




        w hether previously cplled intrinsic or extrinsic, m isrepresentation or

        misconduct by an Oppoéing pady A Judje is expected to Recuse
                              g   ' .
        herself according to Fl
                              a. Code Jud. Conduçt, Canon 3E (1), Fla.
        Rule 2.160 (A) (H), Fia. Statute 112.312 (8) and pursuant to 28'
        U.S,C. j 455 Under #j 455(a), Recusal is m andatory in llany
                                                                   '
         ''                        . .
              *

        proceeding. in w hich ' Judgejs im partiality m ight reasonably be .

        questioned.'' Under Fla. Code'J'ud. Conduct, Canon 3E (1) and 1
        455(b), a judge is expected to disqualify herself whenever any of
        the fiye statutorily prescribed criteria can be show n to exist in fact;
    @                                        .                            .

        ev'
          en if no motion or a#iéavit seeking such relief has been filed,
                              @


        and regardless of w hether a reasonable person w ould question the
                                                     '
                                         .                                .
1
        Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 156 of 160
                                                                                         19

           judge's impadiality. Fla.Code Jud.Conduct,Canon 3E(1), Fla. Rule
                                                    .       ..         . '        .

                               *

           2.1.60 (A) (H), Fla.Statute 112.312 (8) and Section 4554b) he shall
           also disqualify him self in the follow ing circum stances. R EQ U IR ED

           RELIEF Pursuant to Flj. Code Jnd. Conduct, Canon ,348 (1), Fla.
    @
           Rul
             e 2.166 (A) (/), Ffa.statute 112.312 (8) and FederalR ules of'
                                                :       .
           C ivil Procedure Rule 60, Plaintiff requires Relief from the June. Final

           judgment Order Exh. (430).based upon the stated facts,just.terms,
           cited .m isconduct, Rule 60 grounds and newly discovered banking
                                       court officers. S               '.         .
           real estate fraud by                                      aid Reopqning Relief w ould .
                               e   .

                                                                                  '
                                                                                  )
           reiuire the vacating of his order and Recutal 6f Judge Valerie
           schurr from this ànd 'any future related U.S. BANK banking real

           estate cases in this D istfict. The Dism issalO rder Relief also requires
                               %                                              .
           that aII padies be rein@tated to their prior positions in this açtion

           (Dism issal with Prejudice) requiring Clerk issuance of Sum mops.
                                            .                    4


           upon the D efendants and allow the filing of a M otiop to dism iss

           the Final Judgm ent for Cause, grounds and reasons stated' herèin

           filed.




                                        d
*




                                                â
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                                                  d


                       N ENTISECOND CAUSE OF ACTION VIOLATION UFTHE 1958
                                                      %   .

                        FO REIGNS AGENTS REGISTRATIO N ACT F.A.R.A.FCDERAL

                        RESERV E FO REIG N BA N KIN G G W S



                                          e



                     In the    1958       Federal Reserve     Board   ruling       ''Bank Holding

                 Companieslti.e.u.s.Bank'and W ells Fargo),and NationalBanking U.S.
                                                  d
             .       Bank isqw ned by Chin? through the China Investm entCorporation,Exh.

             ,   172-175 Regulated by FARA aad çan't Foreclose in State Court only in

                 Federal Court Associations,are not perm itted to invest in,nor ow n a

                 ''m ortgage com panyvthat deals directly w ith the general public.
             '
                 Additionally, the Board darified that ''bànking activities- such as

                 receiving deposits,paying checks,extending credit,conducting a ''trust
                 '




                 departm ent''; finding investors to purchase m ortgage Ioans from the
         '

                 bank and seekihgtojavesuch i
                                      .     nvestorscontractwiththe bankforthe
                                              '
             e                .,
@                                         %                                    .
             '
                 servicing ofsuch Ioans.#hd the Iike,are financialin nature,restricted to'
                                                      $                                 '


                 m em ber bank'branch b4nking''lz U.S.C. 615, outside the united

                 states.permissible acsvisesfor'zloanservicirsz,otherthan mem berbank

                 transaction are''auditing,appraising,investm entcounseling''and
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                  ''advertising, public relations, developing new business, organization,

              '
                  operations#preparing tax re
                                            'turns#and personnel;''subjectto 12 U.S.C.

                  .
                      1843,outside the united states.

    o




                                               d


                                      1                  SO U RCE


                  12 C.F.R. j 225.122 Bank holding com pany ow nership of m ortgage

                  com panies..aE)..''The two exceptionsprincipally involved in the question
                                                                                             ' ..
                                                            .

             .
                  presented are with respect.
                                            to (1)stockthatiseligible forinvestmentby

                  a nationalbank (section 4(c)(5)oftheAct)and (2)sharesofa company
                  :'furni
                       'shing services to or ''perform ing servicqs''for such bank holding
                                           *       . @                .




                  company or its bankjng subsidiaries'' (section 4(c)(1)(C) of the
*
                                      %
                  Act)''....(l..There is no specificstatutory provision authorizing a national.

                  bankto purchase stock in a ''m ortgage com pany''#and inthe Board'sview

                  such purchase m ay ''not''properly be regarded asauthorized underthe

                  ''incidentalpowers''clause--.-l)..
                                                   The basicpurposeofsection 4 ofthb Act'

                  isto confine a bank holding com pany's activities to the ''m anagem ent''

                  and ''control'' of baliks....l l..the Board has concluded that the

                  appropriate testfordeterm ining w hethera m ortgage Com pany m aY be

                  considefed as w ilhin the servicing exem ption is w hetherthe com pany
     Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 159 of 160



               W iII perform as principal any ''banking activities'l- such as receiving

               deposits, paying cheqks, extending credit, conducting a ''trust
           '



               departm ent'',an?theI
                                   lke.Inotherwords,ifthemortgagecompanyisto
                                    '
                                                                                      .
                                            o,
                                                 â   .


               act m erely as an adjunctto a bank forthe purpose offacilitating the

               ''banks operations''#the com pany m ay appropriately be considered as

               w ithin the scope ofthe servicing exemption....l)..On the otherharid,in'

               the Board'sview,e bank holding com pany m ay not acquire,on the basis

               of the servicing exem'ption, a m ortgage Com pany W hose functions
*

               include such activitiesasextending creditforitsow n account,arranging

               interim financingpentering into m ortgage servlce contractson afee basis,

               or otherwise perform ing funcbohs other than solely on behalf of a

               bank....(j..The 1933 enactmentof12 U.S.C.335,12 U.S.C.371d,prohibit

               any ''financialtransaition,''orinvestment,otherthan a ''m em ber.
                                                                               bank       .




               transaction.'' Subject'
                                     . No jurisdiction    No investm ent in ''private
                                @       .



               residentialrealproperty''in the United States,12 C.F.R.1500,nö deposit

*.
               taking from anAmerican
                                    ' éitizen,12 U.S.C.378,12 U.S.c.1862,12 U.s.c.

           .   3loz,no forecldsure of.3private residentialrealproper
                       .
                                                                  . ty''3in the United

               States,12 C.F.R.225.28,'no 'Iieps''on realproperty in the United State'
                                                                                     s

               12 C.F.R.211.4,no banking in the United States Public Law 89-485
*   Case 0:23-cv-61804-AHS Document 1 Entered on FLSD Docket 09/20/2023 Page 160 of 160
                                  1
                                                                                  19   '
                                               #   .

                 section 3,no realestate Ioans in the United States,Public Iaw 89-485

                 séction 6(h),12 U.S.C 29, 12 U.S.C.37S b..no branching in the United

                 Stites 12 U.S.C,36,extension of credit has to secured by a collateral'

                 depositof100% in cash 12 C.F.R.215,no hom e Ioansto individuals HOLA

                 of1933,no securities orhedge fund investm entin the United States 12

                 U.S.C. 1850, no credit interm ediaries in the United States 12 C.F.R.

          '225.28,no bankqoldingcompaniesintheUnitedStates,12U.S.C.1843,
                 no savingsand Ioan association:in the United States 12 C.F.R.225.28,no

                 studentIoansfrom anInéustrialLoan company,(Sallie Mae),12 C.F.R.
                 225.28, no housing loans in the United States, 12 U.S.C. 1432b, no

                 evictions from   private residential repl property in the United
                                  e

                      *
              .

              states underHUD,IOvçrseas Private InvestmentCorporation)22 U.S.C.
              2183,no state courtprèceédings12 U.S.C.632,thè realparty ofinterest

          *   is the Bank for'InternaûonalSettlement, Rothschild owned 12 U.S.C.
                          .   $
                                  :   *

              3105912CFR Part1500- M ERC4ANT BANKING INVESTM ENTS-AUthOriW:

                 12 U.S.C.1843(k).cat aIIattorneysworking for US Bank must have a

              foreign agents License w hich is w hat w e are requesting right now

         .
              (foreign agent License F.A.R.A.)from theirAttoneys.U.S.Bank,the CIC

             .and their Attorneys are breaking aII the Iaw especially against our
